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     Washington, DC 20036
 5   Tel: 202-847-4030                          BRYAN CAVE LEIGHTON PAISNER LLP
     Fax: 202-847-4005                          K. Lee Marshall (CA Bar No. 277092)
 6                                              (klmarshall@bclplaw.com)
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     (elasker@hollingsworthllp.com)             Tel: 415-675-3400
 8   1350 I St. NW                              Fax: 415-675-3434
     Washington, DC 20005
 9   Tel: 202-898-5843                          Jed P. White (CA Bar No. 232339)
     Fax: 202-682-1639                          (jed.white@bclplaw.com)
10                                              120 Broadway, Suite 300
                                                Santa Monica, CA 90401
11                                              Tel: 310-576-2100
                                                Fax: 310 -576-2200
12
     Attorneys for Defendant Monsanto Company
13
                               UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: ROUNDUP PRODUCTS LIABILITY          MDL No. 2741
16   LITIGATION,
                                                Case No. 3:16-md-02741-VC
17
     Angelo Bulone v. Monsanto Company,         DECLARATION OF JED P. WHITE IN
18   3:20-cv-03719-VC                           SUPPORT OF MONSANTO COMPANY’S
                                                NOTICE OF MOTION AND MOTION TO
19                                              STRIKE EXPERT REPORT OF LUOPING
                                                ZHANG, PH.D.
20
                                                Hearing:
21                                              Date: December 14, 2023
                                                Time: 10:00 a.m.
22                                              Place: Courtroom 4
23

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                  DECLARATION IN SUPPORT OF MONSANTO’S NOTICE OF MOTION AND
                    MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
     Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 2 of 74



 1                                    DECLARATION OF JED P. WHITE
 2          I, Jed P. White, declare as follows:
 3          1.      I am an attorney at law admitted to practice before all of the courts in the state of
 4   California. I am an attorney with the law firm Bryan Cave Leighton Paisner LLP, counsel of
 5   record for Defendant Monsanto Company (“Monsanto”) in the above-referenced action. I am over
 6   eighteen years of age and am fully competent to make this Declaration in support of Monsanto’s
 7   Notice of Motion and Motion to strike the Expert Report of Luoping Zhang, Ph.D. Except where
 8   otherwise stated, I have personal knowledge of the following, and if called upon to testify as a
 9   witness, I could and would competently testify to the matters stated herein.
10          2.      Attached hereto as Exhibit A is a true and correct copy of the affidavit of Luoping
11   Zhang, Ph.D. and the List of Prior Testimony, sent on October 18, 2023.
12          I hereby declare under penalty of perjury under the laws of the State of California that the
13   foregoing is true and correct.
14          Executed November 7, 2023, at Santa Monica, California.
15

16

17                                                 Jed P. White

18                                      CERTIFICATE OF SERVICE
19          I hereby certify that on November 7, 2023, I electronically filed the foregoing with the
20   Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
21   (NEF) to all counsel of record who are CM/ECF participants.
22
                                                   /s/ Jed. P. White
23                                                 Jed P. White

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                                                       1
                    DECLARATION IN SUPPORT OF MONSANTO’S NOTICE OF MOTION AND
                      MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
       Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 3 of 74




                               EXHIBIT A




EXHIBIT A
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                   Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 4 of 74

            STATE OF &DOLIRUQLD
                                                ss.
            COUNTY OF $ODPHGD



            I, LUOPING ZHANG, Ph.D., M.S., declare and state as follows:

                     1.      I am over the age of 18 and make this statement based on personal knowledge.

                     2.      I have been retained as an expert by the Plaintiffs in the Angelo Bulone matter.

                     3.      My professional qualifications are set out in the curriculum vitae attached hereto as

                             Exhibit A.

                     4.      My opinions in this matter, and the bases for them, are set out in the following:

                             a. Zhang, L., et al., “Exposure to Glyphosate Based Herbicides and Risk for Non-

                                 Hodgkin Lymphoma: A Meta-Analysis and Supporting Evidence,” July-

                                 September 2019, Mutation Research/Reviews in Mutation Research, Volume

                                 781, pp. 186-206, https://doi.org/10.1016/j.mrrev.2019.02.00, which is

                                 attached hereto as Exhibit B; and

                             b. Rana, I., et al., “Mapping the key characteristics of carcinogens for glyphosate

                                 and its formulations: A systematic review,” dated July 17, 2023, Chemosphere,

                                 which is attached hereto as Exhibit C.

                     5.      Further affiant sayeth not.


                                                                     ________________________________
                                                                       LUOPING ZHANG, Ph.D., M.S


                     The foregoing Affidavit was subscribed and sworn to before me this WKday of
                                                                                     Digitally signed by Martha I
            2FWREHU, 2023.                                                           Espinoza
                                                                                     Date: 2023.10.18 16:28:55
                                                                     ________________________________
                                                                                     -05'00'

                                                                     Notary Public

                                          My commission Expires: ________________________________


                                                                                                  Exhibit A Page - 1
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                     EXHIBIT A




                                                        Exhibit A Page - 2
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                                                       Curriculum Vitae

                                                    Luoping Zhang, Ph.D.

                                                       Adjunct Professor
Division of Environmental Health Sciences                                                                 510-643-5189 (phone)
School of Public Health                                                                                      510- 642-0427 (fax)
University of California                                                                                 luoping@berkeley.edu
Berkeley, California 94720-7356                                                         http://sph.berkeley.edu/luoping-zhang



EDUCATION
                             1993               Ph.D. Biochemical Toxicology
                                                Degree received from Simon Fraser University (SFU), Burnaby, B.C.
                                                Canada, with research done both at SFU and at University of California,
                                                Berkeley, California (1993).
                             1985               M.S. Biochemistry
                                                Huazhong University of Science and Technology, Wuhan, P.R. China
                             1982               B.S. Physical Chemistry
                                                Wuhan University, Wuhan, P.R. China
PROFESSIONAL
EXPERIENCE
                             July 2021 - Pres   Adjunct Professor VI (Researcher 6)
                                                School of Public Health, University of California, Berkeley, USA
                             July 2018 –        Adjunct Professor V (Researcher 5)
                             June 2021          School of Public Health, University of California, Berkeley, USA
                             July 2015 –        Adjunct Professor IV (Researcher 4)
                             June 2018          School of Public Health, University of California, Berkeley, USA
                             July 2012 –        Adjunct Professor III (Researcher 3)
                             June 2015          School of Public Health, University of California, Berkeley, USA
                             July 2009 -        Associate Adjunct Professor V (Associate Researcher 5)
                             2012               School of Public Health, University of California, Berkeley, USA
                             July 2006- June    Associate Adjunct Professor IV (Associate Researcher 4)
                             2009               School of Public Health, University of California, Berkeley, USA
                             2000 - 2006        Specialist 2-3
                                                School of Public Health, University of California, Berkeley, USA
                             1996 - 2000        Associate Specialist 2,4
                                                School of Public Health, University of California, Berkeley, USA
                             Dec 1992 - 1996    Assistant Specialist 2, 3
                                                School of Public Health, University of California, Berkeley, USA
                             Apr.-Nov. 1992     Postgraduate Research 1
                                                School of Public Health, University of California, Berkeley, USA
                             1989-90            Research & Teaching Assistant
                                                School of Kinesiology, Simon Fraser University, Burnaby, B.C. Canada
                             1988-89            Visiting Scientist
                                                Department of Biochemistry, University of Padova, Padova, Italy
                             1987-88            Visiting Scientist
                                                Department of Experimental Medicine & Biochemical Science, University
                                                of Perugia, Perugia, Italy

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                                                                                                 Exhibit A Page - 3
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                  1985-87        Research & Teaching Associate
                                 Department of Chemistry, Huazhong University of Science and
                                 Technology, Wuhan, China
                  1982           Research Associate
                                 Department of Chemistry, Zhongnan National College, Wuhan, China
HONORS
                  2019-2020      U.S. Fulbright Fellow to University of Udine, Italy (Delay to Spring 2022
                                 due to COVID-19)
                                 J.W. Fulbright Scholarship Board, Washington DC, USA
                  2018           Committee on Teaching Excellence (CoTE) Honor for Spring 2018
                                 University of California, Berkeley, CA, USA
                  2016           Distinguished Chinese Toxicologist Lectureship Award
                                 Society of Toxicology, Reston, VA, USA
                  2015, 2014     School of Public Health Award for Teaching Excellence, University of
                                 California, Berkeley, CA, USA
                  2000 - Pres    Honored Professor in the College of Life Science and Technology at
                                 Huazhong University of Science and Technology, Wuhan, P. R. China
                  1992 - 1993    University of California Toxic Substances Program Scholarship
                                 University of California, Berkeley, CA, USA
                  1991 - 1992    Steel Memorial Graduate Scholarship
                                 Simon Fraser University, Burnaby, B.C. Canada
                  1989 - 1990    Graduate Fellowship
                                 Simon Fraser University, Burnaby, B.C. Canada
                  1987 - 1988    Research Fellowship for Outstanding Scientists
                                 The Third World Academic Science, Trieste, Italy
                  1986 & 1988    Awards of Academic Excellence for Publications
                                 Chinese Chemical Society, Hubei, P. R. China
                  1986           Outstanding Teaching Award
                                 Huazhong University of Science and Technology, Wuhan, P. R. China
NATIONAL AND
INTERNATIONAL
SERVICES
                  2019-Present   Served as the Editor-in-Chief on the Board of Editors for Advances in
                                 Biomarker Sciences and Technology.
                  Nov 14, 2019   Served on the NIEHS Special Emphasis Panel (ZES1 LWJ-S R3) to
                                 review RIVER grant proposals. Durham, North Carolina.
                  2017-2018      Appointed as a member of the Organizing Committee on “Emerging
                                 Genome Editing Tools to Advance Environmental Health Research: From Cells
                                 to Populations” by the National Academies of Sciences.



                  2016-2017      Served as a member of the Working Group for IARC Monographs on the
                                 Evaluation of Carcinogenic Risks to Humans, Volume 120: Benzene. Lyon,
                                 France.



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                                                                                 Exhibit A Page - 4
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                2016-2017      Served on the Food Quality Protection Act Science Review Board for the
                               Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) Scientific
                               Advisory Panel on Glyphosate, EPA. Arlington, Virginia.
                2016           Invited by the UK Medical Research Council to review a Career
                               Development Award: Transition to Independence grant titled,
                               “Understanding the mechanism of cellular formaldehyde toxicity, tolerance,
                               and sensing,” for a total of £970,962 ($1.27m).
                2016           Chairperson of platform session on Exposure and Diseases Resulting from
                               Environmental Exposure at the 8th Princess Chulabhorn International Science
                               Congress on Environmental Health in Bangkok, Thailand.
                2012-Present   Reappointed by former Governor Brown as a member on Carcinogen
                               Identification Committee, Science Advisory Board, OEHHA, Cal EPA

                2012-Present   Served on the Board of Editors for Environmental and Molecular
                               Mutagenesis.
                2011 - 2015    Served on the Board of Editors for Journal of Clinical Toxicology.
                2011 - 2013    Served on the Board of Society of Toxicology, Northern California.
                2011           Served on the Technical Program Committee and as a plenary speaker
                               at International Conference on Environmental Pollutants and Public Health
                               (EPPH 2011) in Wuhan, China.
                2010 - 2014    Selected and served as an expert on the Environmental Health Sciences
                               Review Committee (EHSRC) at NIEHS, North Carolina.
                2010 - 2013    National Academy of Science (NAS-IOM) Committee for the Review of
                               the Health Effects in Vietnam Veterans of Exposure to Herbicides.
                2010           Served as an expert at the Expert Consultation Meeting in the Federal
                               Institute for Risk Assessment, June 14-15, Berlin, Germany 2010.
                2009           Served as a technical expert on formaldehyde for National Toxicology
                               Program: 12th Report on Carcinogens, Sept–Nov, 2009, NIEHS, NC.
                2009           Organizing Committee Member of International Conference on “Benzene
                               2009: Health Effects and Mechanisms of Bone Marrow Toxicity Implications
                               for t-AML and the Mode of Action Framework” Munich, Germany.
                2008-2009      Proposal reviewer for Gillings Innovation Laboratory (GIL) Honorarium
                               at Gillings School of Public Health, University of North Carolina at
                               Chapel Hill, North Carolina.
                2008—2009      National Academy of Science Committee for “Review of EPA's
                               Toxicological Assessment of Tetrachloroethylene”.
                2008 – Pres    Served on the Board of Editors for China Occupational Medicine.
                2008           Invited Reviewer of STAR fellowship of Molecular Biology in US EPA.
                2008           Chair of the Symposium of “Formaldehyde and Leukemia” at the 2008 EMS
                               Annual Conference.
                2004           Organizer and Co-Chair of Program Committee of Special Conference
                               on “Recent Advances in Benzene Toxicity,” Munich, Germany.
PROFESSIONAL
AFFILIATIONS
                2007 - Pres    Member of American Association of Chinese in Toxicology (AACT)



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                                                                                  Exhibit A Page - 5
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                   2007 - Pres       Member of Society of Toxicology (SOT)
                   2005 - Pres       Member of Northern California Society of Toxicology (NorCal SOT)
                   2001 - Pres       Member of Environmental Mutagenesis and Genomics Society (EMGS)
                   2001 - 2014       Member of Molecular Epidemiology group of the American Association
                                     for Cancer Research (AACR)
                   1992 - 2014       Member of American Association for Cancer Research (AACR)
RESEARCH
INTERESTS

                   For the past three decades, my research has focused on understanding the molecular
                   mechanisms of bone marrow toxicity caused by benzene (BZ) and other toxic chemicals
                   including butadiene (BD), formaldehyde (FA), tricholoroethylene (TCE) and arsenic (As).
                   Our investigations have mainly involved the detection of biomarkers associated with
                   these chemical exposures in molecular epidemiological studies conducted with national
                   and international collaborators. My group investigated specific chromosomal
                   aneuploidies and rearrangements in many of these studies, as well as in mature and
                   progenitor human cells in vitro by a molecular cytogenetic method named FISH
                   (fluorescence in situ hybridization). We have developed and applied the innovative
                   OctoChrome FISH method that simultaneously detects specific rearrangements of all 24
                   human chromosomes, including common genetic changes associated with leukemia
                   and/or lymphoma. In order to identify additional biomarkers and disease-related
                   mechanisms associated with these chemical exposures, we have developed and continue
                   to employ many high-throughput technologies, such as single-cell genetic analysis
                   (SCGA) and array-based toxicogenomic (genomics, transcriptomics, proteomics, and
                   metabolomics) and epigenomic (DNA-methylation, histone modification, and
                   microRNomics) tools. These advanced omic methodologies and RNAi (RNA interference)
                   are also applied to in vitro human cell culture studies of chemical exposure. Besides my
                   long-term involvement and contributions to the Northern California Childhood Leukemia
                   Study (NCCLS), I have been a co-project leader and/or co-principal investigator in the
                   Center for Interdisciplinary Research on Childhood Leukemia and the Environment
                   (CIRCLE), the Superfund Basic Research Program (SBRP) and the Center for Exposure
                   Biology (CEB) at Berkeley. Currently, I am applying the novel functional genomic editing
                   approach (CRISPR)-Cas9 in human cells, including stem/progenitor cells or other types, to
                   systematically identify functionally important genes, cellular targets, biological pathways,
                   and human susceptibility genes.

SELECTED
LECTURES
            2021   “Weeding out the Risk of Non-Hodgkin Lymphoma from Exposure to Glyphosate-Based
                   Herbicides.” Invited speaker at Institute for Translational Epidemiology Seminar, Icahn
                   School of Medicine, Mount Sinai, New York. January 14, 2021.
            2019   “Exposure to Glyphosate-Based Herbicides and Risk for Non-Hodgkin Lymphoma: A
                   Meta-Analysis and Supporting Evidence.” Invited speaker and Symposium Chair at the
                   50th Annual Meeting of Environmental Mutagenesis and Genomics Society (EMGS),
                   September 19-23, 2019, Washington DC, USA.
                   “Genotoxicity Biomarkers: The 50-Year Revolution in Molecular Epidemiology.” Invited
                   speaker at the 50th Annual Meeting of Environmental Mutagenesis and Genomics Society
                   (EMGS), September 19-23, 2019, Washington DC, USA.



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                                                                                     Exhibit A Page - 6
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            “A Vision for CRISPR Applications in Toxicology and Environmental Health Research.”
            Invited speaker at the 15th International Congress of Toxicology (ICTXV), July 15-18, 2019,
            Honolulu, Hawaii, USA.
     2018   “Applying CRISPR to Identify Determinates of Arsenic Trioxide Cellular Toxicity.”
            Invited speaker at the First International Conference on Innovations in Population Health
            and Personalized Medicine (IPHPM), December 12-13, 2018, Tirgu Mures, Romania.
            “Applying CRISPR in Environmental Health Research (EHR): From Cells from Human
            Populations”. Invited speaker at the NASEM Workshop: The Promise of Genome Editing
            Tools in HER, January 10-11, 2018, Washington DC, USA.
     2017   “Toxicogenomics and Mechanisms of Environmental Pollutants: Benzene and
            Formaldehyde.” Invited speaker at the 2nd International Caparica Conference on Pollutant
            Toxic Ions & Molecules, November 6-9, 2017, in Caparica, Portugal.
            “Emerging Application of CRISPR in Toxicology and Environmental Health Sciences.”
            Invited speaker at the 48th Annual Meeting of Environmental Mugatenesis and Genomics
            Society, September 9-13, 2017, in Raleigh, North Carolina.
     2016   “Bone marrow and stem cell toxicity of mixed exposure to the chemical leukemogens
            benzene and formaldehyde.” Invited speaker at The 8th Princess Chulabhorn International
            Science Congress on Environmental Health: Inter-Linkages Among the Environment, Chemicals
            and Infectious Agents, November 13-17, 2016, Bangkok, Thailand.
            “Using New Approaches to Study Toxic Chemicals.” Invited speaker at the College of Life
            Sciences, Central China Normal University, November 8, 2016,
            “Using New Approaches to Study Environmental and Occupational Exposures to Toxic
            Chemicals.” Invited speaker at the Genetic and Environmental Toxicology Association of
            Northern California (GETA) Spring Symposium on Environmental Contributors to Cancer,
            May 19, 2016, Oakland, California, USA.
            “Chemical Exposures to Toxic Chemicals and Adverse Health Effects.” Invited award
            lecture for Distinguished Chinese Toxicologist Lectureship Award at the 55th Annual National
            Society of Toxicology (SOT) Meeting, March 13-17, 2016, New Orleans, Louisiana, USA.
     2015   “Applying Biomarkers, Systems Biology, and Exposome Approaches to Study
            Environmental and Occupational Exposures to Toxic Chemicals.” Invited speaker at the
            46th Annual Environmental Mutagenesis and Genomics Society (EMGS) Meeting on Research
            Education, and Policy in Concert, September 26-30, 2015, New Orleans, Louisiana, USA.
     2014   “Career Path in Academic Settings.” Career Workshop organized by American Association
            of Chinese in Toxicology (AACT) at National Society of Toxicology (SOT) Annual Conference,
            Phoenix, AZ, March 23-27, 2014.
     2013   “Previous, Current and Future Studies of Environmental and Occupational Exposures to
            Toxic Chemicals: Biomarkers, Systems Biology and Exposome Approaches.” Invited
            speaker as the US AACT delegation at the 6th China SOT, Nov. 13-15, 2013.
            “Application of Genome-Wide Profiling to Evaluate Effects of Benzene and Its Metabolites
            from Yeast to Human.” Invited speaker at The New York Academy of Sciences meeting:
            The Bone Marrow Niche, Stem Cells, and Leukemia: Impact of Drugs, Chemicals, and the
            Environment. New York, USA. May 29-31, 2013.
            “Functional and Comparative Genomics: Systematic Screening for Genes and Pathways
            Involved in Human Susceptibility to Chemical Exposures”. Invited speaker at the 43rd
            Annual Environmental Mutagen Society (EMS) Meeting on EMS: The Next Generation,
            September 8-12, 2012, Bellevue, Washington, USA.


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                                                                                Exhibit A Page - 7
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            “Systemic Effects of Formaldehyde Exposure and Potential Mechanisms”. Invited speaker
            at the Formaldehyde Science Conference - FormaCare, April 19-20, 2012, Madrid, Spain.
     2011   Chair of Symposium: Site of Contact and Systemic Effects of Formaldehyde Exposure, and
            invited speaker on “Reproductive and Developmental Toxicity of Formaldehyde: A Systematic
            Review” at the 42nd Annual Environmental Mutagen Society (EMS) Meeting on Environmental
            Impacts on the Genome and Epigenome: Mechanisms and Risks, October 12-19, 2011, Montreal,
            Canada.
            “Systems Biology of Human Benzene Exposure”, Invited speaker at BIT Life Sciences’ 2nd
            World DNA and Genome Day (Track 3: System Biology), April 25-29, 2011, Dalian, China.
     2010   “Chromosome-Wide Aneuploidy Study (CWAS) in Benzene-Exposed Workers”, Invited
            speaker at Benzene Litigation and Lymphoid Cancers: New Scientific Evidence, December 9-10,
            2010, Marina del Rey, California, USA.
            “Systems Biology of Human Benzene Exposure”. Invited speaker at the 41st Annual
            Environmental Mutagen Society (EMS) Meeting on Complex Systems in Biology and Risk
            Assessment, October 23-27, 2010, Fort Worth, Texas, USA.
            “Ubiquitous formaldehyde exposure and public health concerns in China”, Invited
            keystone speaker at International Conference on Environmental Pollution and Public Health
            (EPPH2010), June 21-23, 2010, Chengdu, China.
            “Formaldehyde and Leukemia: Potential mechanisms and supporting evidence”, Invited
            speaker at Formaldehyde and Systemic Cancer - Expert Consultation Meeting in Federal
            Institute for Risk Assessment, June 14-15, 2010, Berlin, Germany.
            “Towards Toxicity Testing in the 21st Century: A new global and systematic paradigm to
            identify potential human carcinogens” Human Health Hazard Indicators Workshop at Cal
            EPA, March 15-16, 2010, Sacramento, California, USA.
     2009   “Formaldehyde and Leukemia: Biologically probable or implausible?” Invited technical
            expert as a solo speaker at National Toxicology Program: 12th Report on Carcinogens (RoC),
            November 2-4, 2009, NIEHS, North Carolina, USA.
            “Benzene Induced Hematotoxicity: Susceptibility genes and DNA repair mechanisms”.
            Invited speaker at the 40th Annual Environmental Mutagen Society (EMA) Meeting on
            Genomics in the Environmental Century, October 24-28, 2009, St. Louis, Missouri, USA.
            “Spectrum of chromosomal aneuploidy, benzene exposure and leukemia risk”. Invited
            speaker at the 40th Annual Environmental Mutagen Society (EMS) Meeting on Genomics in
            the Environmental Century, October 24-28, 2009, St. Louis, Missouri, USA.
            “Systems biology of human benzene exposure”. Invited speaker at International
            Conference on Benzene 2009: Health Effects and Mechanisms of Bone Marrow Toxicity
            Implications for t-AML and the Mode of Action Framework, September 7-11, 2009, Munich,
            Germany.
            “Biomarker studies of occupational exposure to chemicals in China”. Invited speaker at
            the Environmental Toxicology Seminar, February 2009, University of California, Santa
            Cruz, California, USA.




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     2008   Chair & Organizer for Symposium 8: Formaldehyde and Leukemia: Epidemiology,
            Potential Mechanisms, and Implications for Risk Assessment, and Invited Speaker on “An
            overview of formaldehyde exposure and leukemia” at the 39thAnnualEnvironmental
            Mutagen Society(EMS)Meeting on Genes and the Environment: From Molecular
            Mechanisms to Risk, October 18-22,2008, Puerto Rico.
            “Spectrum of chromosomal alterations in lymphocytes in workers exposed to benzene.”
            Invited speaker for the Annual American Association for Cancer Research (AACR) Meeting
            2008, April 11-16, 2008, San Diego, California, USA.
            “Benzene exposure, aneuploidy, and leukemia risk”. Invited speaker at Second
            Conference on Aneuploidy and Cancer: Clinical and Experimental Aspect, January 31-February
            3, 2008, Oakland, California, USA.
     2007   “Genotoxic effects of formaldehyde on human blood stem and progenitor cells”. Invited
            speaker at 38th Annual Environmental Mutagen Society (EMS) Meeting on Mutational and
            Epigenetic Mechanisms of Susceptibility and Risks for Genetic Diseases, October 20-24, 2007,
            Atlanta, Georgia, USA.
            “Biomarkers of human cancer risk”. Invited speaker at 38th Annual Environmental Mutagen
            Society (EMS) Meeting on Mutational and Epigenetic Mechanisms of Susceptibility and Risks for
            Genetic Diseases, October 20-24, 2007, Atlanta, Georgia, USA.
     2006   “Gene expression profiling of peripheral blood mononuclear cells from benzene-exposed
            workers”. Invited speaker at 37th Annual Environment Mutagenesis Society (EMS) Meeting
            on Genetic and Environmentally Induced Genotoxicity: Causes and Impact, September 16-20,
            2006, Vancouver, Canada.
     2005   “Hematotoxicity in workers exposed to low levels of benzene in China”. Invited speaker
            at a special Workshop organized by EPA and SBRP at UCB on Relationships for Chemicals
            Associated with Non-Cancer Effects and Their Policy Implications, January 27-28, 2005,
            Oakland, California, USA.
     2004   “Using new technologies to discover novel biomarkers for benzene”. Invited speaker at
            The Third International Academic Conference on Environmental and Occupational Medicine,
            November 10-12, 2004, Shanghai, China.
            “Molecular cytogenetics of benzene exposure”. Invited speaker at International
            Conference on Recent Advances in Benzene Toxicity, October 9-12, 2004, Munich, Germany.
            “Aneuploidy in leukemia development”. Invited speaker at First Conference on
            Aneuploidy and Cancer, January 23-26, 2004, Oakland, California, USA.
     2002   “Biomarkers of benzene and leukemia risk”. Invited speaker at Guandong Poison Control
            Center (GDPCC), July 2002, Guanzhou, China.
            “The development and methods of chromosomal technology”. Invited speaker at Chinese
            Academy of Preventive Medicine, February 2002, Beijing, China.
     1998   “Molecular cytogenetics of benzene”. Invited speaker at the Third National Symposium in
            Industrial Toxicology, October 9-12, 1998, Xiamen, China.
     1995   “Benzene-induced chromosomal damage detected by FISH”. Invited speaker at
            International Conference on The Toxicity, Carcinogenesis, and Epidemiology of Benzene, June
            17-20, 1995, Piscataway, New Jersey, USA.




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                                                                                Exhibit A Page - 9
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CLASS LECTURES
AT UC BERKELEY
                       “Health Risk Assessment”. Co-instructor for PH220C – Spring 2018-2022 course at School
                       of Public Health.
                       “Practical Toxicology”. Instructor for PH270C – Spring 2007-2021 course at School of Public
                       Health and Department of Nutritional Sciences and Toxicology.
                       Various Topics. Invited speaker for PH270B Advanced Toxicology – Spring 2005-2016 course
                       at School of Public Health.
                       “Genetic and Molecular Epidemiology and Human Health in 21st Century.” PH256 at
                       School of Public Health (Molecular cytogenetic lab section and tour)
                       “Formaldehyde Exposure and Leukemia”. Invited lecturer for PH150B Introduction to
                       Environmental Health Sciences – Spring and Fall, 2009-2011 at School of Public Health.
                       “Nutrition and Toxicology Laboratory”. Co-instructor for NST171 Nutrition and Toxicology
                       Laboratory – Fall 2006, 2007 and 2008 courses at the Department of Nutritional Sciences and
                       Toxicology.
                       “Gene Expression Studies in Human”. Co-instructor for NST290 Toxicogenomics Seminar –
                       Spring 2006 course at Department of Nutritional Sciences and Toxicology.
                       “Hematotoxicity in Workers Exposed to Low levels of Benzene in China”. Invited speaker
                       for NST11 Toxicology – Spring 2005 course at Department of Nutritional Sciences and
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                     EXHIBIT B




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Review

Exposure to glyphosate-based herbicides and risk for non-Hodgkin                                                                                            T
lymphoma: A meta-analysis and supporting evidence
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AR TICLE INFO                                              ABSTRACT

Keywords:                                                  Glyphosate is the most widely used broad-spectrum systemic herbicide in the world. Recent evaluations of the
Glyphosate                                                 carcinogenic potential of glyphosate-based herbicides (GBHs) by various regional, national, and international
Pesticide                                                  agencies have engendered controversy. We investigated whether there was an association between high cu-
Roundup                                                    mulative exposures to GBHs and increased risk of non-Hodgkin lymphoma (NHL) in humans. We conducted a
Ranger pro
                                                           new meta-analysis that includes the most recent update of the Agricultural Health Study (AHS) cohort published
Carcinogenesis
Meta-analysis
                                                           in 2018 along with five case-control studies. Using the highest exposure groups when available in each study, we
                                                           report the overall meta-relative risk (meta-RR) of NHL in GBH-exposed individuals was increased by 41% (meta-
                                                           RR = 1.41, 95% confidence interval, CI: 1.13–1.75). For comparison, we also performed a secondary meta-
                                                           analysis using high-exposure groups with the earlier AHS (2005), and we calculated a meta-RR for NHL of 1.45
                                                           (95% CI: 1.11–1.91), which was higher than the meta-RRs reported previously. Multiple sensitivity tests con-
                                                           ducted to assess the validity of our findings did not reveal meaningful differences from our primary estimated
                                                           meta-RR. To contextualize our findings of an increased NHL risk in individuals with high GBH exposure, we
                                                           reviewed publicly available animal and mechanistic studies related to lymphoma. We documented further
                                                           support from studies of malignant lymphoma incidence in mice treated with pure glyphosate, as well as potential
                                                           links between glyphosate / GBH exposure and immunosuppression, endocrine disruption, and genetic alterations
                                                           that are commonly associated with NHL or lymphomagenesis. Overall, in accordance with findings from ex-
                                                           perimental animal and mechanistic studies, our current meta-analysis of human epidemiological studies suggests
                                                           a compelling link between exposures to GBHs and increased risk for NHL.




1. Background                                                                                   sixteen-fold between 1992 and 2009 [1]. Most of this increase occurred
                                                                                                after the introduction of genetically modified glyphosate-resistant
1.1. Global usage of glyphosate-based herbicides                                                “Roundup-ready” crops in 1996 [1]. In addition, there have been sig-
                                                                                                nificant changes in usage. In particular, the practice of applying GBHs
   Glyphosate is a highly effective broad spectrum herbicide that is                            to crops shortly before harvest, so-called “green burndown,” began in
typically applied in mixtures known as glyphosate-based herbicides                              the early 2000s to speed up their desiccation; as a consequence, crops
(GBHs) and commonly sold under the trade names of Roundup® and                                  are likely to have higher GBH residues [2]. By the mid-2000s, green
Ranger Pro®. Use of GBHs has dramatically increased worldwide in re-                            burndown became widespread, and regulatory agencies responded by
cent decades (Fig. 1). In the United States alone, usage increased nearly                       increasing the permissible residue levels for GBHs [3,4].



  Abbreviations: AHS, Agricultural Health Study; c-NHEJ, canonical non-homologous end joining pathway; CI, confidence interval; EDC, endocrine disrupting
chemical; EFSA, European Food Safety Authority; EPA, Environmental Protection Agency; ETS, environmental tobacco smoke; GBHs, glyphosate-based herbicides;
IARC, International Agency for Research on Cancer; IFN-γ, interferon gamma; IL-2, Interleukin-2; JMPR, Joint Meeting on Pesticide Residues by the Food and
Agriculture Organization of the United Nations and World Health Organization; meta-RR, meta-analysis relative risk; mg/kg/day, milligrams per kilogram per day;
MM, multiple myeloma; NHL, non-Hodgkin lymphoma; OR, odds ratio; ppm, parts per million; PRISMA, Preferred Reporting Items for Systematic Reviews and Meta-
Analysis; RR, relative risk
  ⁎
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https://doi.org/10.1016/j.mrrev.2019.02.001
Received 22 September 2018; Received in revised form 2 February 2019; Accepted 5 February 2019
Available online 10 February 2019
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Fig. 1. Timeline of glyphosate use milestones in relation to cohort and case-control study events.
1
  Glyphosate active ingredient usage includes agricultural and non-agricultural applications.
2
  Abbreviations: m = millions; lbs = pounds; ppm = parts per million; RR = Roundup Ready.
3
  Completed by 63% of AHS participants.


1.2. Ubiquitous exposure in humans                                                   exposed individuals [12]. Average urinary glyphosate levels among
                                                                                     occupationally exposed subjects range from 0.26-73.5 μg/L, whereas
    Glyphosate and its metabolites persist in food [5–7], water [8], and             levels in environmentally exposed subjects have been reported between
dust [9], potentially indicating that exposure in the general population             0.13–7.6 μg/L [12]. Two studies of secular trends have reported in-
is ubiquitous. Non-occupational exposures occur primarily through                    creasing proportions of individuals with glyphosate in their urine over
consumption of contaminated food, but may also occur through contact                 time [13,14]. Given that more than six billion kilograms of GBHs have
with contaminated soil [9], dust [9] and by drinking or bathing in                   been applied in the world in the last decade [2], glyphosate may be
contaminated water [8]. In plants, glyphosate may be absorbed and                    considered ubiquitous in the environment [15].
transported to parts used for food; it has been detected in fish [5],
berries [6], vegetables, baby formula [7], and grains [10], and its use as
                                                                                     1.3. Controversy surrounding the carcinogenic potential of GBHs
a crop desiccant significantly increases residues. GBH residues in food
persist long after initial treatment and are not lost during baking [11].
                                                                                        Exposure to GBHs is reportedly associated with several types of
    Limited data exist on internal glyphosate levels among GBH-
                                                                                     cancer, among which the most well-studied in humans is non-Hodgkin


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                                         Fig. 2. Study selection process for meta-analysis using PRISMA guidelines.


lymphoma (NHL). Some epidemiological studies have reported an in-                   similar but separate individual studies so that an overall conclusion
creased risk of NHL in GBH-exposed individuals [16–18]; however,                    about the effects of exposure can be drawn. Here, we conducted a meta-
other studies have not confirmed this association [19,20]. GBHs have                analysis using published human studies to better understand whether
recently undergone a number of regional, national, and international                the epidemiological evidence supports an association between ex-
evaluations for carcinogenicity [21–24], resulting in considerable                  posures to GBHs and increased NHL risk. Although three previously
controversy regarding glyphosate and GBHs’ overall carcinogenic po-                 published meta-analyses have examined the same association and re-
tential. Hence, addressing the question of whether or not GBHs are                  ported positive meta-risks for GBH-associated NHL [23,26,27], our
associated with NHL has become even more critical. Here, we evaluated               analysis differs from earlier ones by focusing on an a priori hypothesis
all published human studies on the carcinogenicity of GBHs and present              targeting exposure magnitude and by including the newly updated AHS
the first meta-analysis to include the most recently updated Agricultural           study [25].
Health Study (AHS) cohort [25]. We also discuss the lymphoma-related
results from studies of glyphosate-exposed animals as well as mechan-
istic considerations to provide supporting evidence for our analysis of             2.2. A priori hypothesis
the studies of human exposures to GBHs.
                                                                                        Our a priori hypothesis is that the highest exposure to GBHs, i.e.,
                                                                                    higher levels, longer durations and/or with sufficient lag and latency,
2. Current meta-analysis of GBHs and NHL                                            will lead to increased risk of NHL in humans. The hypothesis is based on
                                                                                    the understanding that higher and longer cumulative exposures are
2.1. Meta-analysis objective                                                        likely to yield higher risk estimates, given the nature of cancer devel-
                                                                                    opment [28]. Hence, when cumulative exposure is higher, either due to
    Epidemiological studies may vary in several ways, such as by study              higher level or longer duration exposures, an elevated association with
design, sample size, and exposure assessment methods. Results among                 the cancer of interest is more likely to be revealed if a true association
individual studies vary and may appear to conflict, which poses chal-               exists. This a priori approach has been employed to estimate meta-risks
lenges in drawing an overall conclusion. Meta-analysis is a quantitative            for benzene [29] and formaldehyde [30,31], but not in any of the
statistical tool that is frequently applied to consolidate the results from         previous meta-analyses exploring the GBH-NHL association [23,26,27].


                                                                                                                         Exhibit A Page - 32
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                      Table 1
                      Epidemiologic studies of GBHs and NHL included in the main meta-analysis.a
                       Author/location         Subject ascertainment      Participation        Exposure assessment        Exposure level                  Results for NHLb           Weaknesses                  Adjustments                        Notes
                                                                                                                                                                                                                                                                                L. Zhang, et al.




                       Andreotti et al. [25]   Who: 54,251 pesticide      Exclusions:          Collection: Self-          Exposed: Quartiles 1-4          Adjusted Intensity         1. Possible fairly short    Matched: N/A                       1. Censored on
                          (Agricultural        applicators recruited      3059 excluded        administered and take      calculated by multiplying       Weighted Cumulative           follow-up for some       Adjusted: adjusted for                date the subjects
                          Health Study)        between 1993-97            (mostly missing      home questionnaire at      lifetime exposure days by       Exposure (Days):              people                   age, state of recruitment,            left the state.
                          Where: Iowa and      Cases: N/A                 data)                time of recruitment: 22    an intensity score.             RRs for Q1: 1–598.9; Q2:   2. Somewhat weak            education, cigarette smoking       2. Increased RR for
                          North Carolina       Source of cases: Iowa      Percent proxy        specific pesticides        Intensity based on              599–1649.9; Q3:               validation               status, alcohol per month,            AML (RR = 2.6,
                          Design:              and North Carolina         interviews: None     application methods,       (mixing + application           1650–4339.9; and Q4:       3. Imputed exposure data    family history of cancer,             0.7-9.4); highest
                          Prospective          Cancer Registries, state   Missing Follow-Up    PPE, years of use, and     method + equipment              ≥4340.0, = 1.0 (Ref),         for participants who     atrazine, alachlor, metolachlor,      exposure group
                          cohort               and national death         Questionnaire:       days per use.              repair) * PPE in Coble et al.   0.83 (0.59-1.18), 0.83        did not complete the     trifluralin, 2,4-D.                   (RR = 2.44, 0.94 -
                          Years: 1993-97       registries                 37% (Pesticide use   Review: No                 2011 [45]                       (0.61-1.12), 0.88 (0.65-      follow-up                Other: N/A                            6.32). 79.3% of all
                          to 2012-13           Histologic verification:   imputed)             Blinded: Prospective       Unexposed: No glyphosate        1.19), 0.87 (0.64-1.20);      questionnaire.                                                 cases ever used
                          Percent exposed:     Not mentioned                                   design                     use                             p-trend = 0.95;                                                                              glyphosate.
                          82.8%                Controls: N/A                                   Validation: Similar        Lagged: 5, 10, 15, and 20       n = 54,251 total, 111                                                                     3. Used updated
                                               Source of controls: N/A                         questions asked 1 year     years                           cases in the high                                                                            Surveillance
                                               Similar demographics                            apart in 4088 subjects,                                    exposure group                                                                               Epidemiology End
                                               (exposed and                                    agreement on glyphosate                                    Similar results                                                                              Results (SEER)
                                               unexposed): Similar                             ever use = 82%, days per                                   comparing highest to                                                                         coding scheme for
                                               age, sex, race, and                             year mixed = 52% [125]                                     lowest quartile.                                                                             NHL which
                                               smoking. Exposed                                                                                           Lagged with Adjusted                                                                         includes multiple
                                               higher education,                                                                                          Intensity Weighted                                                                           myeloma [68]
                                               alcohol consumption,                                                                                       Cumulative Exposure:                                                                      4. Update of De Roos
                                               and family history of                                                                                      RRs for 20-year lag                                                                          et al. [20]
                                               cancer                                                                                                     quartiles: Q1: 1–281.3;
                                               Final size: 575 NHL                                                                                        Q2: 281.4–895.9; Q3:
                                               cancers, 53,760                                                                                            896–2609.9; Q4:
                                               subjects without                                                                                           ≥2610.0 = 1.00 (Ref),




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                                               missing data                                                                                               1.22 (0.91-1.64), 1.15
                                               Follow-up: from                                                                                            (0.86-1.55), 0.98 (0.71-
                                               enrollment through                                                                                         1.36), 1.12 (0.83-1.51)
                                               December 31, 2013 in                                                                                       Lagged with Adjusted
                                               Iowa and December                                                                                          Lifetime Cumulative
                                               31, 2012 in North                                                                                          Exposure:
                                               Carolina (16-20 years)                                                                                     RRs for 20-year lag
                                                                                                                                                          quartiles: Q1: 1-8.74;
                                                                                                                                                          Q2: 8.75-21.24; Q3:
                                                                                                                                                          21.25-59.4; Q4:
                                                                                                                                                          ≥59.5 = 1.00 (Ref),
                                                                                                                                                          1.52 (1.16-2.00), 0.95
                                                                                                                                                          (0.68-1.32), 0.97 (0.71-
                                                                                                                                                          1.33), 1.13 (0.85-1.52)
                                                                                                                                                          Change with adjustment:
                                                                                                                                                          No

                       De Roos (2005) [20]     Who: 54,315 pesticide      Exclusions:          Collection: Self-          Exposed: Ever or upper          Ever exposed:              1. Possible fairly short    Matched: N/A                       1. Censored on
                           (Agricultural       applicators recruited      20,802 excluded      administered and take      tertiles                        Age adjusted: RR = 1.2        follow-up for some       Adjusted: Age, education,             date the subjects
                           Health Study)       between 1993-97            (mostly missing      home questionnaire at      Intensity based on              (0.7-1.9)                     people                   smoking, alcohol, family cancer       left the state.
                           Where: Iowa and     Cases: N/A                 data) (36.3%)        time of recruitment: 22    (mixing + application           Adjusted: RR = 1.1 (0.7-   2. Large numbers of         history, state, 10 other           2. Increased RR for
                           North Carolina      Source of cases: Iowa      298 people lost to   specific pesticides        method + equipment              1.9)                          people excluded from     pesticides most strongly              multiple myeloma
                           Design:             and North Carolina         follow-up            application methods,       repair) * PPE in Dosemeci       Intensity-weighted            dose-response analysis   correlated with glyphosate (if        (OR = 2.6, 0.7-
                           Prospective         Cancer Registries, state   Percent proxy        PPE, years of use, and     et al. 2002 [46]                exposure days:                due to missing data      RR changes by > 20%)                  9.4) but with large
                                                                                                                                                                                                                                                                                                                                                 Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 36 of 74




                           cohort              and national death         interviews: None     days per use.              Unexposed: Never or lower       For exposures of 0.1-      3. Somewhat weak            Other: N/A                            change after
                           Years: 1993-97      registries                                      Review: No                 tertile                         79.5, 79.6-337.1, and         validation                                                     adjustment
                           to 2001             Histologic verification:                        Blinded: Prospective       Lag: Not mentioned              337.2-18241, 1.0 (Ref),                                                                      (unadjusted
                           Percent exposed:    Not mentioned                                   design                                                     0.6 (0.3-1.1), and 0.8                                                                       OR = 1.1, 0.5-2.4)
                           75.5%               Controls: N/A                                   Validation: Similar                                        (0.5-1.4);                                                                                3. 75.5% ever used
                                               Source of controls: N/A                         questions asked 1 year                                     p-trend = 0.99;                                                                              glyphosate
                                                                                                                                                                                                                                                                             Mutation Research-Reviews in Mutation Research 781 (2019) 186–206




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                                                                                                                                                                                                                                               (continued on next page)
                      Table 1 (continued)

                       Author/location        Subject ascertainment      Participation          Exposure assessment           Exposure level            Results for NHLb            Weaknesses                   Adjustments                        Notes
                                                                                                                                                                                                                                                                                 L. Zhang, et al.




                                              Similar demographics                              apart in 4088 subjects,                                 n = 36,823 total, 22
                                              (exposed and                                      agreement on glyphosate                                 cases in the high
                                              unexposed): Similar                               ever use = 82%, days per                                exposure group
                                              age, sex, smoking,                                year mixed = 52% [125]                                  Similar results
                                              alcohol. Exposed                                                                                          comparing highest to
                                              higher education and                                                                                      lowest tertile.
                                              family history of                                                                                         Adjusting for other
                                              cancer                                                                                                    pesticides did not change
                                              Final size: 92 NHL                                                                                        RR by more than 20%
                                              cancers, 36,509                                                                                           Change with adjustment:
                                              subjects without                                                                                          No
                                              missing data
                                              Follow-up: from
                                              enrollment through
                                              Dec. 2001 (5-8 years,
                                              median = 6.7 years)

                       De Roos (2003) [16]    Who: White men only.       Exclusions:            Collection: Telephone         Exposed: Any reported     Unadjusted (calculated):    1. Unknown whether           Matched: Race, sex, age, and       1. Farmers: 59.9%
                           Where: US          Combines data from          > 25% (missing        (Kansas, Nebraska) or in-     use, no further details   OR = 1.80 (1.18-2.74)          there was full case       vital status                          among controls
                           Design: Case-      three NCI case-control     data and worked on     person (Iowa/Minn)            Unexposed: No use of      Adjusted: OR = 2.1 (1.1-       ascertainment in some     Adjusted: Age study site, and 47   2. Exclusions:
                           control            studies: Hoar et al.       farm before 18 years   interviews: SES, medical      glyphosate                4.0), 36 exposed cases         areas. For example,       pesticides. Hierarchical models       Subjects who did
                           Years: 1979-86     [34], Zahm et al. [35],    old)                   history, smoking, and         Lag: Not mentioned        Hierarchical adjustment:       incidence rates in        included pesticide class, and         not work on farms
                           Percent exposed:   and Cantor et al. [38].    Interview rates:       family history                                          OR = 1.6 (0.9-2.8), 36         Nebraska were 77% of      prior knowledge on                    after age 18;
                           5.5%               Cases:                     Kansas                 Nebraska: Specific                                      exposed cases                  those in SEER [35].       carcinogenicity from IRIS and         subjects with
                                              Nebraska [35]: White       Cases: Unclear but     pesticides, number years                                Change with adjustment:        Few details provided      IARC                                  missing data on
                                              subjects ≥ 21 years, 66    likely > 90%           used, average days used                                 Yes                            on Minnesota case         Other: Family cancer history,         any of 47
                                              counties in eastern        Controls: 93%          per year, PPE                                           Other results:                 surveillance system       education, and smoking had            pesticides (about




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                                              Nebraska, diagnosed        Iowa/Minn              Iowa/Minn: Specific                                     Iowa/Minn [38]:             2. Only includes White       little impact on results              25% of subjects)
                                              1983-86                    Cases: 89%             pesticides, first and last                              OR = 1.1 (0.7-1.9), 26         male subjects                                                3. In Nebraska, larger
                                              Iowa/Minn [38]:            Controls: 76-79%       year used, method of use,                               exposed cases               3. Large number of proxy                                           percentage of
                                              White men ≥ 30 years,      Nebraska               personal application, and                               Kansas: No glyphosate          interviews                                                      farmers reported
                                              diagnosed 1980-83.         Cases: 91%             PPE                                                     data in Hoar et al. [34]    4. No details regarding                                            no pesticide use
                                              Iowa: entire state.        Controls: 85%          Kansas: Open ended                                      Nebraska: No glyphosate        timing of pesticide use                                      4. Overlapping study
                                              Minnesota: entire state    Percent proxy          question about pesticides                               data in Zahm et al. [35]       in relation to disease                                          with Cantor et al.
                                              except four large cities   interviews: 30.9% in   used, duration and days                                 In non-asthmatics              onset                                                           [38]c and Lee et al.
                                              Kansas [34]: White         cases and 39.7% in     per year only for pesticide                             OR = 1.4 (0.98-2.1) in                                                                         [37]d; both of
                                              men ≥ 21 years             controls               groups, and PPE                                         Lee et al. [37]                                                                                which were
                                              diagnosed 1979-81,                                Review: No                                                                                                                                             evaluated in the
                                              entire state, 200 of 297                          Blinded: Partial (see                                                                                                                                  sensitivity
                                              randomly selected                                 individual studies)                                                                                                                                    analysis.
                                              Source of cases:                                  Validation:
                                              Nebraska: Nebraska                                Kansas: Sought to confirm
                                              Lymphoma Study                                    purchases in 110 subjects,
                                              Group and area                                    suppliers usually reported
                                              hospitals,                                        fewer purchases, no
                                              Iowa/Minn: Iowa State                             consistent differences
                                              Health Registry,                                  between cases and
                                              surveillance system of                            controls, few details
                                              Minnesota hospitals                               given
                                              and pathology                                     Iowa/Minn: No
                                                                                                                                                                                                                                                                                                                                                  Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 37 of 74




                                              laboratories (not                                 Nebraska: No
                                              described)
                                              Kansas: State wide
                                              registry run by the
                                              University of Kansas
                                              Cancer Data Service,
                                                                                                                                                                                                                                                                              Mutation Research-Reviews in Mutation Research 781 (2019) 186–206




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                                                                                                                                                                                                                                               (continued on next page)
                      Table 1 (continued)

                       Author/location        Subject ascertainment       Participation         Exposure assessment         Exposure level              Results for NHLb          Weaknesses                   Adjustments                         Notes
                                                                                                                                                                                                                                                                              L. Zhang, et al.




                                              mandatory cancer
                                              reporting in the state
                                              Histologic verification:
                                              Yes, in all three studies
                                              (Kansas 90%)
                                              Controls: Randomly
                                              selected from the same
                                              areas
                                              Source of controls:
                                              Random digit dialing,
                                              Medicare, and state
                                              mortality records for
                                              deceased cases
                                              Similar demographics:
                                              Similar education;
                                              family history higher
                                              in cases; few other
                                              variables described
                                              Final size: 650 cases
                                              and 1933 controls

                       Eriksson et al. [17]   Who: Population             Exclusions:           Collection: Mailed          Exposed: One full day, or   Unadjusted: Not           1. Deceased cases not        Matched: Age and sex                1. Authors state
                           Where: Sweden      based, men and women        134 of 1163 (11.5%)   questionnaire on work       median number of days       provided                     included                  Adjusted: Age, sex, and year of        that all
                           Design: Case-      Cases: Age 18-74            with medical          history, specific           exposed in the controls.    Adjusted:                 2. True participation        diagnosis. Adjusted for other          lymphoma
                           control            diagnosed 1999-2002         conditions or         pesticides, number of       Unexposed: Unexposed to     ≥1 day (univariate):         rates may be lower        pesticides in some analyses            treating clinics
                           Years: 1999-       Source of cases: 4 of 7     deceased              years, days per year,       any included pesticide      OR = 2.02 (1.10-3.71)     3. Use of PPE not            (MCPA, mercurial seed                  and all
                           2002               health service regions      Interview rates:      hours per day, with         Lag:                        ≤10 days: OR = 1.69          assessed                  dressing…)                             lymphoma




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                           Percent exposed:   in Sweden associated        Cases: 91%            follow-up telephone         Exposures in the year of    (0.70-4.07)               4. Population based: not     Other: N/A                             pathologists in
                           1.8%               with four University        Controls: 92%         interviews as needed        and the year before          > 10 days: OR = 2.36        a high exposure group                                            the study
                                              Hospitals, from             Percent proxy         Review: No                  diagnosis disregarded       (1.04-5.37, n = 17        5. Adjustments for other                                            regions were
                                              physicians and              interviews:           Blinded: Partial,                                       exposed cases)               pesticides not                                                   covered by the
                                              pathologists                Deceased cases were   interviewers blinded to                                 ≥1 day adjusted for          completely clear                                                 study.
                                              Histologic verification:    not included          case-control status                                     other pesticides                                                                           2. Also gives RR by
                                              Yes                         (n = 88)              Validation: No                                          (multivariate):                                                                               subtype
                                              Controls: Randomly                                                                                        OR = 1.51 (0.77-2.94)                                                                      3. Percent farmers
                                              selected from the same                                                                                    Lag (≥1 day)                                                                                  unknown, but only
                                              health regions,                                                                                           1-10 years: OR = 1.11                                                                         51 controls (5.0%)
                                              matched on age and                                                                                        (0.24-5.08)                                                                                   used herbicides
                                              sex                                                                                                        > 10 years: OR = 2.26
                                              Source of controls:                                                                                       (1.16-4.40)
                                              Sweden population                                                                                         Change with adjustment:
                                              registry for the same                                                                                     Yes
                                              health service regions
                                              Similar demographics:
                                              Data not provided
                                              Final size: 910 cases
                                              and 1016 controls

                       Hardell et al. [18]    Combines two                Exclusions:           Collection: Mailed          Exposed: Minimum            NHL and HCL combined:     1. Large change in ORs       Matched: Age, county, and year      1. Percent farmers
                          Where: Sweden       published studies, one      Deceased HCL cases    questionnaire: complete     exposure of 1 day           Unadjusted: OR = 3.04        with adjustments, and     of death (in deceased)                 unknown. 184/
                          Design: Case-       of NHL [39] and one of      excluded, numbers     working history, exposure   (8 hours)                   (1.08-8.52)                  changes were in           Adjusted: Study (NHL vs. HCL),         1141 controls
                                                                                                                                                                                                                                                                                                                                               Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 38 of 74




                          control             hairy cell leukemia         unknown. No other     to specific chemicals       Unexposed: No reported      Adjusted: OR = 1.85          opposite directions for   study area, vital status,              (16.1%) used
                          Years: 1987-90      (HCL) [40]                  obvious major         (years and total number     pesticide exposure          (0.55-6.20), 8 exposed       NHL only vs. NHL and      (unclear, but it seems likely the      insecticides so
                          Percent exposed:    Who: Population             exclusions            of days).                   Lag: At least one year      cases                        HCL combined              multivariate analysis adjusted         probably low
                          0.7%                based, males ≥25            Interview rates       Supplemented with                                       NHL only: [39]            2. Adjustment factors not    for 2-methyl-4-
                                              years old                   NHL Cases: 91%        phone interviews as                                     Unadjusted OR = 2.3          listed in some analyses   chlorophenoxyacetic acid, 2,4-
                                                                                                                                                                                                                                                                           Mutation Research-Reviews in Mutation Research 781 (2019) 186–206




                                                                                                                                                                                                                                              (continued on next page)




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                      Table 1 (continued)

                       Author/location        Subject ascertainment      Participation         Exposure assessment         Exposure level           Results for NHLb            Weaknesses                  Adjustments                       Notes
                                                                                                                                                                                                                                                                          L. Zhang, et al.




                                              NHL cases (n = 404):       Controls: 84%         needed.                                              (0.4-1.3), 4 exposed        3. Cut-off for defining     dichlorophenoxyacetic
                                              All male cases, living     HCL Cases: 91%        Review: No                                           cases                          exposure is very low     acid and 2,4,5-
                                              or deceased, diagnosed     Controls: 83%         Blinded: Subjects blinded                            Adjusted OR = 5.8 (0.6-     4. Population based: not    trichlorophenoxyacetic acid,
                                              1987-1990 from 7           Percent proxy         to hypothesis,                                       54). Adjustment factors        a high exposure group    and other herbicides)
                                              Swedish counties           interviews:           interviewers blinded to                              and sample sizes not        5. Small numbers of
                                              HCL cases (n = 121):       Approximately         case status                                          given                          exposed cases
                                              All living male cases in   43.4% of NHL cases    Validation: None                                     HCL only: [40]              6. Demographic data not
                                              whole country 1987-92      and controls. HCL                                                          Unadjusted OR = 3.1            provided
                                              Source of cases:           study only living                                                          (0.8-12), 4 exposed cases   7. Large number of proxy
                                              Regional cancer            subjects used.                                                             Adjusted results not           interviews
                                              registries (compulsory                                                                                given. Age adjustment
                                              reporting)                                                                                            decreases OR for
                                              Histologic verification:                                                                              “herbicides” (2.9 to 1.8)
                                              Yes                                                                                                   Change with adjustment:
                                              Controls: 2-4 per case                                                                                Yes
                                              matched on age,
                                              county, and year of
                                              death (if deceased).
                                              Those closest in age of
                                              birth to case were
                                              selected
                                              Source of controls:
                                              National Population
                                              Registry and National
                                              Registry for Causes of
                                              Death




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                                              Similar demographics:
                                              Data not provided
                                              Final size: 515 cases
                                              and 1141 controls

                       McDuffie et al. [43]   Who: Population            Exclusions:           Collection:                 Exposed: Not provided    Any exposure                1. Unclear if full case     Matched: Age and province          1. Farmers: 44.7%
                          Where: Canada       based, males 19 years      68 cases in pilot     Mailed questionnaires:      Unexposed: No reported   Unadjusted: OR = 1.26          ascertainment in         Adjusted: Age, province,              in controls had
                          Design: Case-       and older                  study, all deceased   demographics, medical       exposure to glyphosate   (0.87-1.80), n = 51            Quebec                   measles, mumps, cancer allergy        residence on
                          control             Cases: ICD9 200, 202       cases (% unknown)     history, family cancer      Lagged: Not mentioned    exposed cases (age and      2. Is registry compulsory   shots, and family cancer.             farm
                          Years: 1991-94      newly diagnosed 1991-      Interview rates:      history, lifetime job                                province adjusted)          3. Fairly low               Factors with p ≤ 0.05 retained     2. Similar rural/
                          Percent exposed:    94                         Cases: 67.1%          history, exposure to                                 Adjusted: OR = 1.20            participation rates,     in the models. Unclear what           urban make-up
                          8.8%                Source of cases:           Controls: 48.0%       specific substances,                                 (0.83-1.74)                    and difference seen      factors included in the high          between
                                              Provincial cancer          Percent proxy         accidental spills, and                               Dose-response:                 between cases and        exposure analysis                     respondents and
                                              registries, except         interviews:           protective equipment.                                ORs for 0, > 0-≤2, and         controls                                                       non-respondents
                                              Quebec (hospitals)         Deceased cases        Phone interviews in those                             > 2 days per               4. Average exposure in                                            but other
                                              Histologic verification:   excluded              with ≥10 hours/year of                               year = 1.00 (Ref), 1.00        the highest group not                                          differences not
                                              Partial (84%)                                    cumulative exposure to                               (0.63-1.57), and 2.12          given. Duration of                                             assessed.
                                              Controls: Men age 19                             all pesticides combined.                             (1.20-3.73; n = 23             exposure not given                                          3. See Kachuri et al.
                                              or older randomly                                Asked about exposure to                              exposed cases) (adjusted    5. Deceased cases                                                 [36] for multiple
                                              selected matched on 2-                           pesticides and number of                             only for age and               excluded                                                       myeloma data
                                              year age groups                                  days per year                                        province) Unadjusted in                                                                    4. Overlapping study
                                              Source of controls:                              Review: No                                           high exposure group                                                                           with Hohenadel
                                              Randomly selected                                Blinded: Not mentioned                               (calculated) OR = 1.88                                                                        et al. [41]e which
                                              from provincial health                           Validation: In a pilot                               (1.01-3.21)                                                                                   was excluded from
                                                                                                                                                                                                                                                                                                                                           Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 39 of 74




                                              insurance records,                               sample of 27 farmers,                                Change with adjustment:                                                                       the main meta
                                              telephone listings, or                           compared questionnaire                               No                                                                                            analysis.
                                              voter lists                                      data to pesticide                                    Other: Glyphosate only:
                                              Similar demographics:                            purchases. “Excellent                                OR = 0.92 (0.54-1.55)
                                              Yes for age, farm,                               concordance” but no                                  Glyphosate and
                                              smoking, and missing                             actual numbers given                                 malathion: OR = 2.10
                                                                                                                                                                                                                                                                       Mutation Research-Reviews in Mutation Research 781 (2019) 186–206




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                                                                                                                                                                                                                                           (continued on next page)
                      Table 1 (continued)

                       Author/location        Subject ascertainment        Participation         Exposure assessment         Exposure level               Results for NHLb          Weaknesses                   Adjustments                       Notes
                                                                                                                                                                                                                                                                               L. Zhang, et al.




                                              data. Cases less likely                                                                                     (1.31-3.37) Hohenadel
                                              to have mumps,                                                                                              et al. [41]
                                              measles, and allergy
                                              shots/tests; more likely
                                              to have previous
                                              cancer
                                              Final size: 517 cases
                                              and 1506 controls

                       Orsi et al. [19]       Who: Population-             Exclusions: History   Collection: Self-           Exposed: Any, possible or    Unadjusted:               1. Deceased cases            Matched: Center and age           1. Also has multiple
                           Where: France      based, males age 20-75       of immuno-            administered                definite; duration greater   OR = 0.89 (0.44-1.81)        probably not included     Adjusted: Age and center             myeloma results
                           (6 cities)         years old                    suppression (%        questionnaire: all jobs,    than the median in the       Adjusted:                 2. Private clinics not       Other: Rural vs. urban, type of      (OR = 2.4; 0.8-
                           Design: Case-      Cases: Diagnosed in          unknown)              years, tasks and products   exposed                      OR = 1.0 (0.5-2.2), 12       included                  housing, education, infection,       7.3)
                           control            one of the main              Interview rates:      handled (open-ended);       Unexposed: Never exposed     exposed cases for any     3. Unknown if control        family history, skin              2. Results for a few
                           Years: 2000-04     hospitals in the 6 cities,   Cases: 95.7%          followed by structured      to glyphosate, similar       exposure                     selection is population   characteristics, smoking, and        subtypes also
                           Percent exposed:   ICD-0-3 codes (listed in     Controls: 91.2%       personal interview          results with “never used     Change with adjustment:      based                     alcohol had little impact on         given but with
                           5.5%               their Table 1)               Percent proxy         including non-              any pesticide”               No                        4. Population based: not     results                              small numbers
                                              Source of cases:             interviews: Not       occupational and            Lag: Not mentioned or                                     a high exposure group                                       3. Farm, agriculture,
                                              Hospitals                    mentioned             occupational use (in        assessed for glyphosate                                   or high risk group                                             or forestry work in
                                              Histologic verification:                           farmers) of pesticides,                                                                                                                              92 of 426 controls
                                              Yes                                                mixing or spraying,                                                                                                                                  (21.1%)
                                              Controls: Hospital                                 number and duration of
                                              controls                                           applications
                                              Source of controls:                                Review: Questionnaires
                                              Men from the same                                  reviewed by occupational
                                              hospitals, mostly                                  hygienist and agronomist
                                              orthopedic and                                     Blinded: Interviewer and




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                                              rheumatology. Unclear                              subject blind to
                                              if randomly selected.                              hypothesis, and reviewer
                                              Similar demographics:                              blind to case status.
                                              Similar for SES,                                   Unclear if interviewer
                                              education, rural vs.                               was blinded
                                              urban                                              Validation: Partial (see
                                              Final size: 244 cases                              “Review”), pesticides
                                              and 436 controls                                   compared to annual
                                                                                                 directories that list
                                                                                                 recommended pesticides
                                                                                                 by crop and pest

                      Abbreviations: HCL, Hairy Cell Leukemia; IARC, International Agency for Research on Cancer; ICD, International Classification of Disease; IRIS, US Environmental Protection Agency Integrated Risk Information System;
                      Minn, Minnesota; N/A, not applicable; NCI, National Cancer Institute; OR, odds ratio; PPE, personal protective equipment; Ref, reference; RR, relative risk; SEER, Surveillance Epidemiology End Results; SES, socio-
                      economic status.
                        a
                          Although there is no overlapping study used in the main analysis, Cocco et al. [42] was excluded because only results for all B-cell lymphomas combined were reported (two cases of NHL, one case of multiple
                          myeloma, and one unspecified B-cell lymphoma; n = 4). It is evaluated in the sensitivity analysis.
                        b
                          95% confidence intervals in parentheses.
                        c
                          Cantor et al. [38] was excluded because it was combined with two other U.S. case-control studies in De Roos et al. [16].
                        d
                          Lee et al. [37] was excluded because it presents results comparing asthmatics to non-asthmatics and results are not adjusted for other pesticide use. It is evaluated in the sensitivity analysis.
                        e
                          Hohenadel et al. [41] was excluded because it presents results in subjects exposed and unexposed to malathion, which has not been consistently linked to NHL; the OR for glyphosate only was used in the sensitivity
                          analysis.
                                                                                                                                                                                                                                                                                                                                                Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 40 of 74
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    Risk estimates, including relative risks (RRs) and odd ratios (ORs),          analyses. The impact of selecting these studies was evaluated in sensi-
in high exposure groups are less likely to be dominated by confounding            tivity analyses (Section 3.2).
or other biases compared to RRs or ORs from groups experiencing
average or low exposure [32]. Furthermore, including people with very             2.5. Review and assessment of selected human studies
low exposure in the exposed group can dilute risk estimates. Studying
the most highly exposed group is also useful to ensure an adequate                2.5.1. Data collection and extraction
exposure contrast, given the potential that most people have been ex-                 In total, six studies (one cohort [25] and five case-control control
posed either directly or indirectly to GBHs. Because our main goal is to          studies [16–19,43]) with nearly 65,000 participants were eligible for
determine whether there is an exposure effect and not to conduct a                inclusion in the meta-analysis. Two studies were conducted in the
precise dose-response assessment or to evaluate risks in people with low          United States, one study was from Canada, two studies were from
exposures, we assert that this a priori hypothesis is appropriate for             Sweden, and one study was from France. All six studies reported NHL
testing whether or not a GBH-NHL association exists.                              risks (RRs or ORs) above or close to 1.0, three of which were statisti-
                                                                                  cally significant in the original analyses (Table 1). From each study, we
2.3. Agricultural Health Study (AHS) update                                       abstracted information on study design, location, dates, sample size,
                                                                                  participation rates, age, sex, case/control source, diagnosis, histologic
    A recently published update [25] from the large AHS cohort of                 verification, exposure assessment, results, and statistical adjustments.
pesticide applicators (N > 50,000) has been included for the first time           Table 1 summarizes key aspects of the design and exposure assessment,
in our primary meta-analysis. Although the original AHS report [20]               the results, strengths, and weaknesses of all the studies evaluated in this
was used in previous meta-analyses [23,26,27], the 2018 AHS update                meta-analysis, including both versions of the AHS report (n = 6 + 1).
[25] contributes 11–12 additional years of follow-up with over five               As described above, the early AHS data [20] were also evaluated in
times as many NHL cases (N = 575 compared to N = 92 in the original               Table 1 and in the secondary comparison meta-analysis described later.
study [20]), and > 80% of the total cohort was estimated to be exposed
to GBHs. As the largest and most recently published study, it adds                2.5.2. Study quality evaluation
substantial weight to the new meta-analysis [25]. We also performed a                 The methodological quality of the cohort (Table 2) and case-control
secondary comparison analysis using our a priori hypothesis with the              studies (Table 3) included in the meta-analyses was assessed in-
original AHS report [20] for the purpose of comparing results with: 1)            dependently by two co-authors using the Newcastle Ottawa Scale (NOS)
our primary analysis (using AHS 2018); and, 2) other meta-analyses                [44]. Studies were evaluated based on selection, comparability, and
published previously.                                                             outcome or exposure (in nine categories).
                                                                                      Cohort studies were evaluated based on (1) representativeness of
2.4. Identifying relevant human studies                                           the cohort, (2) selection of non-exposed, (3) ascertainment of exposure,
                                                                                  (4) demonstration that the outcome of interest was not present at the
    The literature search was conducted according to the guidelines of            start of study, (5) comparability of cohort on the basis of controlling for
the Preferred Reporting Items for Systematic Reviews and Meta-Analysis            other pesticide use and (6) age, (7) assessment of NHL outcome, (8)
(PRISMA) [33]. The screening process and results are shown in Fig. 2.             sufficiency of follow-up length, and (9) response rate.
We conducted a systematic electronic literature review using PubMed                   Case-control studies were evaluated on (1) the validation of cases,
in November 2017, and we updated it in March 2018 and again in                    (2) representativeness of cases, (3) selection of controls, (4) absence of
August 2018. We used the following keywords: (glyphosat* OR pesti-                disease in the controls, (5) whether the study controlled for other
cide [MeSH] or herbicides [MeSH]) AND (lymphoma, non-Hodgkin                      pesticide use and (6) age, (7) exposure assessment, (8) concordance of
[MeSH] OR lymphoma [tiab] OR non–Hodgkin [tiab] OR non–hodgkins                   method among cases and controls, and (9) similarity of response rate
[tiab] OR lymphoma[tiab] OR lymphomas[tiab] OR NHL OR cancer OR                   among both groups. Each study was awarded a maximum of one point
cancers) AND ("occupational exposure"[MeSH] OR occupational ex-                   for every item that was satisfied, with a total of 9 available points.
posure[tiab] OR occupational exposures[tiab] OR farmers [MeSH] OR                     According to our quality assessment (Tables 2 and 3), the highest
farmer OR applicators OR applicator OR agricultural workers OR                    quality study in either design category was the AHS 2018 cohort [25].
agricultural worker or workers or worker).                                        The highest quality case-control study was Eriksson et al. [17], while
    Searches included all cohort, case-control, and cross-sectional stu-          the lowest quality studies were McDuffie et al. [43] and Orsi et al. [19].
dies. No language restrictions were applied, although non-English lan-
guage articles needed to be obtained in full and translated completely in         2.6. Selection of the most highly exposed category
order to be eligible for inclusion. From the PubMed search, we identi-
fied 857 studies. Additionally, we identified 52 studies from the IARC                Based on our a priori hypothesis, when multiple RRs or ORs were
[23] evaluation of the carcinogenicity of glyphosate, the U.S. EPA [21]           given in the original studies, we selected estimates in the following
review of glyphosate, and the WHO JMPR [22] report on glyphosate,                 order: (1) highest cumulative exposure and longest lag (the time period
for a total of 909 studies.                                                       preceding NHL onset, which is excluded from the exposure estimate) or
    After 43 duplicates were excluded, 866 studies were initially                 latency (time between first lifetime exposure and NHL diagnosis); (2)
screened by title and abstract, of which 850 were excluded because they           highest cumulative exposure; (3) longest exposure duration and longest
were reports, correspondence, reviews, irrelevant studies (animal, me-            lag or latency; (4) longest exposure duration; (5) longest lag or latency;
chanistic, para-occupational), or did not include the exposure or out-            and (6) ever-exposure. The definition of cumulative exposure includes
come of interest (Fig. 2). When the final 16 qualified epidemiological            duration and intensity. As we discuss in more detail later in Section 5.2,
studies of GBHs and NHL were identified, 10 studies were further ex-              cumulative exposure in both AHS reports [20,25] was calculated as an
cluded because (1) they did not report RRs, ORs, or the data needed to            intensity-weighted exposure (lifetime exposure days multiplied by an
calculate either [34–36], (2) the cohort overlapped with another study            intensity score) [45,46].
[20,37–41], or (3) they did not specify whether the lymphomas were                    We prioritized highest cumulative exposure based on evidence of
specifically NHL [42]. For studies including overlapping cohorts, we              glyphosate’s persistence in the environment [47–49] and because
used results from the most complete and updated analysis with the                 chronic disease, including cancer, is usually the result of cumulative
greatest number of participants. Although overlapping, we kept the                exposures [50]. We selected the longest lag or latency because decades
earlier AHS (2005) [20] for comparison with our primary meta-analysis             may be needed for the health effects of many environmental toxicants
(using the updated AHS 2018 publication) and with previous meta-                  to manifest as detectable cancers. If no high exposure data were


                                                                                                                       Exhibit A Page - 38
                                                                            194
                      Table 2
                      Quality assessment of the cohort studies in meta-analysis.a
                                                                                         Selection                                                    Comparability                                           Outcome
                                                                                                                                                                                                                                                                 L. Zhang, et al.




                                                                                                                                                                                                                                            Overall Quality
                       Study                       Representativeness        Selection of                Exposure         NHL Absent       Controls for              Controls for        Assessment       Follow-up     Adequacy of         Scores
                                                   of Exposed                Non-Exposed                 Assessment       at Start         Other Pesticides          Age                 of Outcome       Length        Follow-up

                       Andreotti et al. [25]       1                         1                           1                1                1                         1                   1                1             0                   8
                       De Roos (2005) [20]         1                         1                           1                1                1                         1                   1                0             0                   7

                        a
                            The study quality was assessed according to the Newcastle Ottawa Quality assessment scale for cohort studies [43]. One point was awarded for yes, and zero points were awarded for no, unable to determine, or
                            inadequate.




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                      Table 3
                      Quality assessment of the case-control studies in meta-analysis.a
                                                                                     Selection                                                       Comparability                                        Exposure
                                                                                                                                                                                                                                        Overall Quality
                       Study                   Adequate Case        Representativeness               Control          Definition       Controls for            Controls             Exposure          Method             Non-response   Scores
                                               Definition           of Cases                         Selection        of Controls      Other Pesticides        for Age              Assessment        Consistency        Rate

                       De Roos (2003) [16]     1                    1                                1                0                1                       1                    0                 1                  0              6
                       Eriksson et al. [17]    1                    1                                1                0                1                       1                    0                 1                  1              7
                       Hardell et al. [18]     1                    1                                1                0                1                       1                    0                 1                  0              6
                       McDuffie et al. [43]    1                    1                                1                1                0                       1                    0                 0                  0              6
                       Orsi et al. [19]        1                    1                                0                1                0                       1                    0                 0                  1              2

                        a
                            The study quality was assessed according to the Newcastle Ottawa Quality assessment scale for case-control studies [44]. One point was awarded for yes, and zero points were awarded for no, unable to determine, or
                            inadequate.
                                                                                                                                                                                                                                                                                                                                  Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 42 of 74
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Table 4
Description and weight of studies selected for the current meta-analyses.
  Study                                Case Number                                                                                                  Weight (%) b
                                                                    Exposure Category               Risk Estimate a (95% CI)
  (Author, Year)                       (Exposed/Total)                                                                                   AHS 2018                  AHS 2005

  AHS Cohort
  Andreotti et al., 2018 [25]          55/575                       ≥2610 d/l c,d                   1.12 (0.83, 1.51)e                   54.04                     –
  De Roos et al., 2005 [20]            22/92                        ≥337.2 d/l c                    0.8 (0.5, 1.4)f                      –                         28.43
  Case-Control
  De Roos et al., 2003 [16]            36/650                       Ever, log                       2.10 (1.10, 4.00)                    11.61                     18.08
  Eriksson et al., 2008 [17]           17/910                       > 10 d/y                        2.36 (1.04, 5.37)                    7.18                      11.18
  Hardell et al., 2008 [18]            8/515                        Ever                            1.85 (0.55, 6.20)                    3.30                      5.14
  McDuffie et al., 2001 [43]           23/517                       > 2 d/y                         2.12 (1.20, 3.73)                    15.05                     23.43
  Orsi et al., 2009 [19]               12/244                       Ever                            1.0 (0.5, 2.2)                       8.82                      13.73

Abbreviations: AHS, Agricultural Health Study; CI, confidence interval; d, days; l, lifetime; log, logistic regression; y, year.
  a
    Relative risk (RR) reported in both AHS analyses and odds ratio (OR) reported in all case-control studies.
  b
    Weight calculated for each study using the fixed-effects model.
  c
    Intensity-weighted lifetime exposure days (cumulative exposure days multiplied by intensity score).
  d
    20 years or more lag (time between study recruitment and NHL onset).
  e
    Reference group is unexposed.
  f
    Reference group is lowest exposed.

available, we used the ever-exposure estimate. Given the relatively few                   heterogeneity, defined as the X2-test statistic for heterogeneity being
human epidemiological studies published to date on the topic, we made                     greater than its degrees of freedom (number of studies minus one),
this decision because we did not want to exclude any potentially re-                      using the summary-variance method [52].
levant data, even though the inclusion of minimally exposed individuals                       We evaluated publication bias through funnel plots, Egger’s test,
in the “exposed” category could attenuate any potential association of                    and Begg’s test [53,54]. All statistical analyses were conducted with
interest.                                                                                 Stata IC 15.1 [55] and Microsoft Excel 2013 [56].
    Although there are different perspectives on the best way to account
for other pesticide exposures, we selected RR estimates that adjusted for                 3. Meta-analysis findings
other pesticide use over their unadjusted counterparts to mitigate po-
tentially substantial confounding. Five of the seven studies adjusted for                 3.1. Increased meta-relative risk of NHL
a combination of different pesticides [16–18,20,25]. However, if these
multiple pesticides acted synergistically or on different points along a                      Table 5 reports the results from our two meta-analyses, which in-
pathway, this approach to adjustment may no longer be the appro-                          cluded the primary analysis using the most recently updated AHS co-
priate, and alternatives such as interaction analysis should be con-                      hort [25] and the secondary comparison analysis using the original
sidered. Reanalysis of the raw data, which is beyond the scope of this                    study [20]. With the AHS results [25], we observed a meta-RR of 1.41
paper, would be helpful to address this possibility.                                      (95% CI: 1.13–1.75), which indicates a statistically significant in-
    We evaluated the impact of our a priori exposure selection criteria in                creased risk (41%) of NHL following high cumulative GBH exposure.
sensitivity analyses. We also conducted a separate meta-analysis of all                   Although our results focus on the fixed-effects model, using the
ever-exposed individuals to assess the magnitude of potential bias                        random-effects model resulted in a meta-RR of 1.56 (95% CI:
caused by adding subjects with low exposures (ever-RR from De Roos                        1.12–2.16) shown in Table 5. With the original AHS 2005 cohort re-
et al. [20] was used; the ever-RR estimate from Andreotti et al. [25] was                 sults, we observed a meta-RR of 1.45 (95% CI: 1.11–1.91) for NHL. The
not available). In Table 4 we summarize the risk estimates selected from                  results did not change appreciably when comparing the fixed-effects
each original study and the study weights used in the meta-analyses.                      model to the random-effects model.
                                                                                              Forest plots (Fig. 3A,B) and Funnel plots (Fig. 3C,D) from these two
                                                                                          major meta-analyses are reported in Fig. 3. We observed little evidence
2.7. Statistical methods
                                                                                          of publication bias in the Funnel plots (Fig. 3C,D), Egger’s (p = 0.185),
                                                                                          and Begg’s tests (p = 0.851).
    We calculated the meta-analysis summary relative risk (meta-RR)
and confidence intervals (CI) using both the fixed-effects inverse-
variance method [32] and the random-effects method [51]. In the                           3.2. Sensitivity analyses
fixed-effects model, the weights assigned to each study are directly
proportional to study precision, whereas in the random-effects                               We conducted several sensitivity analyses to evaluate the impact of
model, weights are based on a complex mix of study precision, re-                         excluding or including different studies as well as using different RRs/
lative risk (RR), and meta-analysis size. One benefit of the random-                      ORs from original studies (Tables 5 and 6). In general, results were
effects model is the ability to incorporate between-study variance                        similar across our sensitivity analyses, demonstrating the robustness of
into the summary-variance estimate and confidence intervals, which                        our findings.
may help prevent artificially narrow confidence intervals resulting
from use of the fixed-effects model in the presence of between-study                      3.2.1. Alternative exposure criteria
heterogeneity [52]. However, a feature of the random-effects model                            As a sensitivity analysis, we also conducted a meta-analysis using
is that study weighting is not directly proportional to study precision,                  the longest exposure duration results to compare with our primary
and greater relative weight is given to smaller studies, which may                        analysis using the highest cumulative exposure results. When RRs cor-
result in summary estimates that are less conservative than the fixed-                    responding to exposures with the longest duration were selected from
effects model [53]. For these reasons, our primary results focus on                       the AHS 2018, the meta-RR remained the same at 1.41 (95% CI:
the fixed-effects model, although the random-effects model estimates                      1.13–1.74). When the AHS 2005 report was included, the meta-RRs
are also reported. We further estimated between-study                                     increased to 1.56 (95% CI: 1.17–2.06) (Table 5).


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Table 5
Major findings from current meta-analyses.
                                                                    Fixed-Effects                       Random-Effects                            Heterogeneitya

  Analysis                                      N                 meta-RR (95% CI)                     meta-RR (95% CI)                  X2                        p

  Highest cumulative exposure
    AHS (2018) [25]                             6                 1.41 (1.13, 1.75)                    1.56 (1.12, 2.16)                 8.26                      0.14
    AHS (2005) [20]b                            6                 1.45 (1.11, 1.91)                    1.52 (1.00, 2.31)                 10.59                     0.06
  Longest exposure duration
    AHS (2018) [25]                             6                 1.41 (1.13, 1.74)                    1.56 (1.12, 2.16)                 8.21                      0.15
    AHS (2005) [20]b                            6                 1.56 (1.17, 2.06)                    1.57 (1.06, 2.26)                 7.81                      0.17
  Study design
    Case-control [16,17,18,19,43]               5                 1.84 (1.33, 2.55)                    1.86 (1.39, 2.48)                 3.36                      0.50
    Cohort (AHS 2018) [25]                      1                 1.12c (0.83, 1.51)                            –                           –                         –

Abbreviations: AHS, Agricultural Health Study; meta-RR, meta-relative risk; N, number of studies.
  a
    Heterogeneity is present when X2 heterogeneity statistic is greater than degrees of freedom (number of studies minus 1).
  b
    De Roos et al. [20] used instead of Andreotti et al. [25] for comparison. See Table 4 for clarifications about the risk estimates used.
  c
    Since there was only one cohort study, the RR is presented instead of a meta-RR.




    When evaluating studies with only the highest levels of exposure                      meta-risk estimate, we excluded the case-control studies one at a time
[17,25,43], the meta-RR was 1.36 (95% CI: 1.06–1.75, Table 6). In                         and found that they all nominally lowered the meta-RR, except for the
studies that combined all exposures as ever exposed [16–20,43], the                       exclusion of Orsi et al. [19], where the meta-RR increased to 1.46
meta-RR was 1.30 (95% CI: 1.03–2.64). Although the higher exposure                        (1.16–1.83) (Table 6).
group was used in the main analysis, Eriksson et al. [17] also provided
results for greater than 10 years latency, which contributed to a meta-                   3.2.3. NHL vs. cell-type specific lymphomas
RR of 1.40 (95% CI: 1.13–1.75). [Note: AHS 2018 did not provide ever-                         Although our primary meta-analysis included six studies, there was
exposure, so AHS 2005 was used to calculate this statistic and ever                       a possibility to include a seventh study [42]. We excluded this study
exposure above].                                                                          from the primary analysis because it included all B-cell lymphomas (4
                                                                                          cases), which account for approximately 85% of all NHL [57]; however,
3.2.2. Study inclusion                                                                    not all four cases were confirmed to be NHL. When we added Cocco
    When we limited our analysis to case-control studies (Table 5),                       et al. [42] to the meta-analysis (n = 7, Table 6), the resulting RR re-
there was little inter-study heterogeneity. We estimated a doubling of                    mained fairly similar at 1.43 (95% CI: 1.15–1.78).
the NHL risk (meta-RR = 1.84, 95% CI: 1.33–2.55) from 41% to 84%                              Similar to our inclusion of the Cocco et al. [42] study, another cell-
compared to the estimate that included the cohort study.                                  type specific study evaluated all cases of hairy cell leukemia (HCL), a
    To ensure that one individual study was not artificially inflating the                subtype of NHL [40]. It was one of two studies [39,40] included in the




Fig. 3. Findings from major meta-analyses. 3A-B: Forest plots for meta-analyses using AHS 2018 (3A) and AHS 2005 (3B); 3C-D: Funnel plots for meta-analyses using
AHS 2018 (3C) and AHS 2005 (3D).




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Table 6
Results from sensitivity analyses.
                                                                           Fixed-Effects                    Random-Effects                           Heterogeneity1

  Analysis                                            N                 meta-RR (95% CI)                   meta-RR (95% CI)                    X2                     p

  Alternate exposure categories
    High level2                                       3                 1.36 (1.06, 1.75)                  1.63 (0.97, 2.76)                5.70                      0.06
    Ever (AHS 2005)                                   6                 1.30 (1.03, 1.64)                  1.26 (1.07, 1.48)                3.73                      0.59
    Latency3                                          6                 1.40 (1.13, 1.75)                  1.54 (1.12, 2.13)                8.01                      0.16
  Cell type specific
    Add Cocco et al. [42]4                            7                 1.43 (1.15, 1.78)                  1.59 (1.16, 2.18)                9.10                      0.17
    Exclude HCL [18]5                                 6                 1.41 (1.13, 1.77)                  1.61 (1.11, 2.34)                9.58                      0.09
    Only use HCL [18]6                                6                 1.43 (1.14, 1.78)                  1.62 (1.14, 2.31)                9.36                      0.10
  Study location
    North America                                     3                 1.38 (1.08, 1.76)                  1.61 (0.99, 2.60)                5.70                      0.06
    Europe                                            3                 1.53 (0.93, 2.52)                  1.55 (0.88, 2.71)                2.43                      0.30
  Other pesticides7
    Adjusted (AHS 2005)                               4                 1.46 (1.05, 2.02)                  1.43 (1.06, 1.92                 2.61                      0.46
    Unadjusted (AHS 2005)                             4                 1.69 (1.29, 2.23)                  1.70 (1.26, 2.30)                3.47                      0.33
  De Roos et al.[16]
    Hierarchical OR8                                  6                 1.36 (1.09, 1.70)                  1.46 (1.08, 1.96)                6.80                      0.24
    Cantor et al. [38]9                               6                 1.29 (1.04, 1.59)                  1.36 (1.02, 1.80)                7.07                      0.22
    Lee et al. [37]10                                 6                 1.35 (1.11, 1.65)                  1.41 (1.09, 1.82)                6.63                      0.25
  Other
    Hohenadel [41] vs. McDuffie [43]11                6                 1.23 (0.99, 1.53)                  1.30 (0.96, 1.76)                7.34                      0.20
  Exclude one study12
    Andreotti et al. [25]                             5                 1.84 (1.33, 2.55)                  1.86 (1.39, 2.48)                3.36                      0.50
    De Roos et al. [16]                               5                 1.34 (1.06, 1.69)                  1.47 (1.02, 2.11)                6.59                      0.16
    Eriksson et al. [17]                              5                 1.35 (1.08, 1.70)                  1.47 (1.04, 2.07)                6.62                      0.16
    Hardell et al. [18]                               5                 1.40 (1.12, 1.75)                  1.56 (1.08, 2.24)                8.06                      0.09
    McDuffie et al. [43]                              5                 1.31 (1.03, 1.66)                  1.43 (1.01, 2.03)                5.90                      0.21
    Orsi et al. [19]                                  5                 1.46 (1.16, 1.83)                  1.69 (1.16, 2.45)                7.36                      0.12

Abbreviations: CI, confidence interval; HCL, hairy cell leukemia; meta-RR, meta-relative risk.
  1
     Heterogeneity is present when X2 heterogeneity statistic is greater than degrees of freedom (number of studies minus 1).
  2
     Risk estimates for the most highly exposed group available in the three studies that stratify by exposure level.
  3
     Eriksson et al. [17] results for any glyphosate exposure > 10 years latency was used instead of the higher exposure group used in the main analysis.
  4
     The study combined all B-cell lymphomas and is added to the analysis on highest cumulative exposure (AHS 2018).
  5
     Hairy cell leukemia cases excluded—results presented in Hardell and Eriksson [39].
  6
     NHL cases excluded; only HCL results used—results presented in Nordstrom et al. [40].
  7
     Studies that provided RRs that are both adjusted and not adjusted for other pesticide use for ever exposure, or reported that adjusting for pesticide use had little
     impact on the RR estimate. AHS (2018) did not report ever exposure, so AHS (2005) was used instead.
  8
     Hierarchical model RR used instead of the standard logistic regression model RR.
  9
     Cantor et al. [38] used instead of De Roos et al. [16]. Cantor et al. [38] was the only of the three studies combined by De Roos et al. [16] that presented data for
     glyphosate.
  10
      Lee et al. [37] used instead of De Roos et al. [16]. Lee et al. [37] used same subjects as De Roos et al. [16] but did not adjust for other pesticide exposure, did not
      exclude those with missing data on other pesticide use, and used only non-asthmatics.
  11
      Hohenadel et al. [41] used same subjects as McDuffie et al. [43] but presented results in subjects exposed to glyphosate but not malathion (OR = 0.92; 95% CI:
      0.54–1.55).
  12
      One study excluded at a time to evaluate the impact of each individual study on the overall meta-RR.



Hardell et al. [18] analysis, with the other study examining NHL only                       found that there was little impact of this selection (meta-RR = 1.36,
[39]. Excluding HCL cases had no effect on the meta-RR (1.41, 95% CI:                       95% CI: 1.09–1.70). The De Roos (2003) [16] study included pooled
1.13–1.77, Table 6). Similarly, using only hairy cell leukemia cases                        data from two separate studies [37,38]. When Cantor et al. [38] or Lee
from Hardell et al. [18] (reported in Nordstrom et al. [40]) did not                        et al. [37] was used instead of De Roos et al. [16], the meta-RR de-
impact the meta-RR (1.43, 95% CI: 1.14–1.78).                                               creased to 1.29 (95% CI: 1.04–1.59) and 1.35 (95% CI: 1.11–1.65),
                                                                                            respectively. Similarly, using Hohenadel et al. [41] instead of McDuffie
3.2.4. Study location and covariate adjustment                                              et al. [43] caused the meta-RR to decrease to 1.23 (95% CI: 0.99–1.53).
    Studies in North America [16,25,43] had a meta-RR of 1.38 (95%
CI: 1.08–1.76), whereas European studies [17–19] had a meta-RR of                           4. Comparison with previous meta-analyses
1.53 (95% CI: 0.93–2.52). On average, when studies were adjusted for
other pesticide use [16–18,20], the meta-RR for ever-exposure was                               Three meta-analyses of NHL in relation to GBH exposure have been
lower than unadjusted risk estimates from the same studies (meta-                           published [23,26,27], all of which report lower, albeit also positive, risk
RRadjusted = 1.46, 95% CI: 1.05–2.02; meta-RRunadjusted = 1.69, 95%                         estimates. In contrast to our work, these analyses did not focus on the
CI: 1.29–2.23).                                                                             highest exposed groups. Table 7 summarizes the major results from all
                                                                                            GBH-NHL meta-analyses conducted to date, including the current one.
3.2.5. Logistic vs. hierarchical regression                                                     Schinasi and Leon [26] first reported a meta-RR of 1.45 (95% CI:
    Consistent with the two previous meta-analyses by IARC [23] and                         1.08–1.95). Although their selection criteria stated that they used the
Schinasi and Leon [26] discussed in Section 4 below, we selected the RR                     most adjusted effect estimate for the dichotomously defined exposure
estimated using the more traditional logistic regression over hier-                         with the greatest number of exposed cases, they did not use adjusted
archical regression in the case-control study by De Roos et al. [16] and                    effect estimates in the two Swedish studies [17,18]. The IARC Working


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Table 7
Comparison of current meta-analysis to other published meta-analyses.
  Studies                       Schinasi and Leon [26]a     IARC [23]                  Chang and Delzell [27]a,b                Current Meta-Analysis [RR (95% CI)]

  (Author, Year)                RR (95% CI)                 RR (95% CI)                RR (95% CI)                        with AHS 2005 [20]          with AHS 2018 [25]

  Andreotti et al., 2018 [25]   N/A                         N/A                        N/A                                N/A                         1.12 (0.83-1.51)
  De Roos et al., 2005 [20]     1.1 (0.7, 1.9)              1.1 (0.7, 1.9)             1.1 (0.7, 1.9)                     0.8 (0.5, 1.4)              N/A
  De Roos et al., 2003 [16]     2.1 (1.1, 4.0)              2.1 (1.1, 4.0)             1.6 (0.9, 2.8)                     2.1 (1.1, 4.0)              2.1 (1.1, 4.0)
  Eriksson et al., 2008 [17]    2.0 (1.1, 3.7)              1.51 (0.77, 2.94)          1.51 (0.77, 2.94)                  2.36 (1.04, 5.37)           2.36 (1.04, 5.37)
  Hardell et al., 2002 [18]     3.0 (1.1, 8.5)              1.85 (0.55, 6.20)          1.85 (0.55, 6.20)                  1.85 (0.55, 6.20)           1.85 (0.55, 6.20)
  McDuffie et al., 2001 [43]    1.2 (0.8, 1.7)              1.20 (0.83, 1.74)          1.20 (0.83, 1.74)                  2.12 (1.20, 3.73)           2.12 (1.20, 3.73)
  Orsi et al., 2009 [19]        1.0 (0.5, 2.2)              1.0 (0.5, 2.2)             1.0 (0.5, 2.2)                     1.0 (0.5, 2.2)              1.0 (0.5, 2.2)
  meta-RR (95% CI)              1.45 (1.08, 1.95)c          1.30 (1.03, 1.64)          1.27 (1.01, 1.59)                  1.45 (1.11, 1.91)           1.41 (1.13, 1.75)

Abbreviations: AHS, Agriculture Health Study; CI, Confidence Interval; IARC, International Agency for Research on Cancer; N/A, not available; meta-RR, metar-
elative risk; RR, relative risk.
  a
     In their published reports, meta-RRs and their 95% confidence intervals were rounded to one digit right of the decimal point.
  b
     Findings from Model 1, the primary analysis, are reported here..
  c
     Random-effects model.


Group subsequently corrected this discrepancy in an otherwise identical               cohort study was consistent with a wide range of risks [25], while, by
meta-analysis [23], resulting in a meta-RR of 1.30 (95% CI: 1.03–1.65).               contrast, most of the case-control studies did suggest an increased risk
Although both studies are listed in Table 7 for completeness, we con-                 [16–18,43]. There were also important differences in the comparison
sider IARC 2015 to be the most accurate and updated version of this                   group utilized in the studies; some used the lowest exposure group as
meta-analysis.                                                                        the reference, while others used the unexposed group. Because of this
    Most recently, Chang and Delzell [27] reported a meta-RR of 1.27                  heterogeneity, and because no statistical tests can confirm elimination
(95% CI: 1.01–1.59) in their primary analysis (model one). For each                   of publication bias or heterogeneity in a meta-analysis [59], our results
included study, the authors selected the most fully adjusted RR from the              should be interpreted with caution. Finally, as depicted in Fig. 1 illus-
publication with the most recent and complete study population with                   trating key milestones related to glyphosate use in society and in epi-
the largest number of exposed cases. (In their publication, the meta-RR               demiological studies, none of the available studies capture the effects of
was rounded to one digit to the right of the decimal point.)                          the significant increased usage of glyphosate that began with the in-
    Whereas the three previous meta-analyses focused on general ex-                   troduction of “green burndown” in the mid-2000s.
posure (ever versus never), our new meta-analysis differs primarily
because of our a priori selection of risk estimates from the most highly              5.2. AHS cohort study
exposed groups when available (from three studies [17,20,43]). In our
secondary comparison meta-analysis with the same six studies (in-                         In general, cohort studies are considered the gold standard among
cluding AHS 2005), we document an additional 0.15-0.18 (or 15–18%)                    observational studies because of their ability to estimate exposure be-
higher NHL RR than previous meta-RRs [23,27] (not including Schinasi                  fore disease occurrence (which allows for clarity of temporality and can
and Leon, because it was corrected in IARC 2015). Similarly, in our                   minimize recall bias), to estimate incidence, to examine multiple out-
primary analysis with AHS 2018, our meta-RR estimate adds an addi-                    comes, and for some target populations, to study a large number of
tional 0.11-0.14 (11–14%) increase in NHL relative risk to the previous               exposed subjects. Our current meta-analysis is the first to include the
meta-RRs [23,27]. Overall, the meta-RR obtained using our a priori                    AHS 2018 update, which is the largest, newest, and most heavily
hypothesis, while generally consistent with previous analyses, gave                   weighted study (> 50%, Table 4). Given its importance and because it
somewhat higher estimates and suggested increased risk of NHL in in-                  was the only cohort study in our analyses, we discuss below several
dividuals highly exposed to GBHs.                                                     aspects of the AHS 2018 [25] and compare it with the results reported
                                                                                      in AHS 2005 [20]. Key differences between the AHS 2018 and AHS
5. Strengths and limitations                                                          2005 are summarized in Table 8.

    In this section, we evaluate the strengths and limitations of our                 5.2.1. Exposure assessment and quantification
meta-analysis, as well as of the cohort and the case-control studies                      Exposures were self-reported using questionnaires. AHS 2005 used
utilized.                                                                             the exposures reported at baseline only, whereas AHS 2018 supple-
                                                                                      mented this information with responses to a follow-up questionnaire
5.1. Current meta-analyses                                                            returned by 63% of AHS participants.
                                                                                          The risk estimates generated from the follow-up AHS 2018 report
    The strengths of this meta-analysis are the inclusion of the updated              depended on a “multiple imputation” approach with multiple steps to
AHS 2018 study and our novel a priori hypothesis. By using the highest                generate GBH exposure information for the 37% of participants who did
exposure group in each study when it was reported, we maximized the                   not complete the follow-up questionnaire [25]. A standard imputation
ability to detect the presence of an exposure-disease association. The                model captures the full distribution of the exposure by relying on two
current meta-analysis is also the first study to include the newly up-                parts of a model: the regression or predictable part and the residual
dated AHS.                                                                            error part. The validity of the imputed exposures and the resulting risk
    There are several weaknesses of our analysis that should be noted,                estimates relies on the validity of both parts of the imputation model.
however. First, there were only limited published data available for                  The AHS imputation method for ever/never pesticide use conditioned
inclusion. Although meta-analysis prevents overemphasis on any single                 on the reported pesticide use and other data, including demographics,
study [58], we cannot exclude the potential for publication bias, given               medical history at baseline, and farming characteristics at enrollment,
the relatively few published studies to date. Second, there was im-                   with some covariates chosen by stepwise regression (see Table 2 in
balance in study design: among the six included studies, five were case-              Heltshe et al. [60]). Based on their analysis of a 20% holdout dataset,
control and one was a cohort. The collection of NHL findings from the                 the prevalence of glyphosate use was underreported by 7.31%,


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                      Table 8
                      Key differences between AHS 2005 and AHS 2018, with an emphasis on exposure quantification.
                       Exposure assessment                                                 AHS 2005 [20]                                                                                         AHS 2018 [25]
                                                                                       Self-report at baseline                                                    Self-report at baseline & follow-up questionnaire with exposure simulation1

                       Exposure quantification       Ever/never          Cumulative exposure days         Intensity-weighted exposure days2   Ever/never3       Cumulative exposure days3         Intensity-weighted exposure days2

                       Lag period                    Unlagged            Unlagged                          Unlagged                           Unlagged          Unlagged                          Unlagged                5-year lag            20-year lag4
                       Reference group               Unexposed           Lowest exp. (T1)                 Lowest exp. (T1)                    Unexposed         Unexposed                         Unexposed               Unexposed             Unexposed
                                       5                                                                                                      Ever exposed
                       Exposed groups (day)          Ever exposed        T1: 1–20;                        T1: 0.1–79.5;                                         T1: 1–19.9;                       Q1: 1–598.9;            Q1: 1–530.9;          Q1: 1–281.3;
                                                                         T2: 21–56;                       T2: 79.6–337.1;                                       T2: 20.0–61.9;                    Q2: 599–1649.9;         Q2: 531.0–1511.9;     Q2: 281.4–895.9;
                                                                         T3: 57–2678                      T3: 337.2–18,241                                      T3: > 62.0                        Q3: 1650–4339.9;        Q3: 1512.0–4063.4;    Q3: 896–2609.9;
                                                                                                                                                                                                  Q4: ≥4340.0             Q4: ≥4063.5           Q4: ≥2610.0
                       Exposure duration6 (year)     Max range: 20–24;7                                                                       Max range: 26-32;9                                                          Max range: 21–27;9    Max range: 6–12;9
                                                     Actual max: 7.38;                                                                        Actual maximum: N/A;                                                        Actual max: N/A;      Actual max: N/A
                                                     Median: N/A;                                                                             Median: 8.5;                                                                Median: 4.1;10        Median: 2.5;10
                                                     IQR: N/A                                                                                 IQR: 5–14                                                                   IQR: N/A              IQR: N/A




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                       Potential misclassification   Differential misclassification unlikely; Non-differential misclassification likely       Differential misclassification possible; Non-differential misclassification likely
                       Follow-up (years)             Median: 6.7; Maximum possible: 911                                                       Median: N/A; Maximum possible: 2011
                       Outcome inclusion             Multiple myeloma not included in NHL cases                                               Multiple myeloma included in NHL cases

                      Abbreviations: AHS, Agricultural Health Study; IQR, interquartile range; max, maximum; N/A, not applicable; NHL, non-Hodgkin lymphoma; T1, tertile one.
                       1
                          This was referred to as “multiple imputation” by study authors; see manuscript text for further details.
                       2
                          The algorithm for calculating “intensity-weighted exposure days” was updated between 2005 and 2018. Key differences include rescaling of scores by a factor of 10 and altering the weights for mixing, certain
                          pesticide application techniques, and the use of chemically resistant gloves [45]. Therefore, these metrics cannot be directly compared.
                       3
                          Ever/never and cumulative exposure days were only presented in the AHS 2018 supplement but are presented here to facilitate comparisons with AHS 2005.
                       4
                          Results and quartiles for 10- and 15-year lags are presented in the AHS 2018 supplement.
                       5
                          Exposure group abbreviations are as follows: Tertiles = “T”; Quartiles = “Q”.
                       6
                          The values provided in this row are based on the subset of individuals who reported using glyphosate.
                       7
                          This theoretical maximum duration value was calculated based on the year that glyphosate entered the market (1974) and the end of AHS enrollment (1993–1997), since AHS 2005 used only baseline exposure
                          information.
                       8
                          This value was calculated based on the upper bound of the cumulative exposure days tertiles.
                       9
                          These theoretical maximum duration values were calculated based on the year that glyphosate entered the market (1974) and the end of AHS follow-up exposure questionnaire (1999–2005), with the appropriate
                          adjustments for the lag times as indicated.
                       10
                           These medians were calculated using the information provided in the footnote in Table 3 of the AHS 2018 publication.
                       11
                           These follow-up times were calculated based on timing of study enrollment and follow-up.
                                                                                                                                                                                                                                                                                                                                        Case 3:16-md-02741-VC Document 17474-1 Filed 11/07/23 Page 47 of 74
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suggesting some lack of validity in the predictable part of the imputa-                  exposures in this cohort similar to general concerns with case-control
tion model that may in turn affect the NHL risk estimates. The im-                       studies. Furthermore, noting large societal trends in GBH exposure
putations of days of use per year and most recent year of farming ac-                    between initial exposure ascertainment and the follow-up ques-
tivity relied upon a stratified sampling with replacement approach,                      tionnaire, and the 7.3% under-prediction of glyphosate exposures in the
with values sampled from Phase 2 respondents based on strata defined                     holdout dataset [60], the prediction part of the imputation modeling
using Phase 1 information.                                                               may be differentially under-predicting exposures.
     The imputations did not use the NHL or any other cancer outcome                         Non-differential misclassification occurs when exposure status is
information reported by Andreotti et al. [25]. This approach is problematic              equally misclassified among exposed cases and unexposed controls [65].
because of how the residual error part of the imputation model is handled.               The approach in AHS 2018 to exposure imputation is one theoretically
It is known that multiple imputation of a covariate (i.e., glyphosate ex-                well-understood source of non-differential misclassification. In addition, it
posure) in a model that omits the outcome variable to be used in the in-                 may be more problematic in the context of a ubiquitous exposure because it
ference leads to attenuation of the effect estimate for that covariate due to            is hard for participants to know to what extent or how long they have been
lack of correlation with the outcome in the residual error part of the im-               exposed. Glyphosate’s ubiquity in the environment leads to profound
puted exposures [61]. As we discuss further in the next paragraph, this                  concerns that even “unexposed” individuals in the cohort are likely to have
approach effectively “bakes into the results” the null hypothesis of no in-              been exposed to GBHs; consequently, the magnitude of any potential as-
creased risk of NHL exposure due to glyphosate risk.                                     sociation relative to the unexposed group may be attenuated due to this
     Because the NHL outcome information was not used in the im-                         misclassification. This problem is encountered with other environmental
putation procedure, the exposure “imputation” method used in the AHS                     exposures such as environmental tobacco smoke (ETS): never smokers with
2018 report can be better named “exposure simulation” as described by                    ETS exposure carry some cancer risk and are not the ideal true reference
Gryparis et al. [62]. This term gives a much more accurate under-                        group in studies of smoking and tobacco-related cancers [66]. As we noted
standing of the impact of the imputation of the data on the risk esti-                   above, non-differential misclassification is likely to attenuate measures of
mates because when exposure is simulated in a model that does not take                   association, biasing the RR towards the null of 1.0 [67]. Although it is
the outcome into account, the uncertainty in the “imputed” exposure                      difficult to ascertain exactly, the extent of this source of non-differential
behaves like classical measurement error and, thus, will bias the effect                 misclassification can be estimated through smaller-scale validation studies
estimate towards the null [63].                                                          [67].
     AHS 2018 authors argue that their imputation approach “likely did not
materially impact risk estimates” [64]. However, their argument has to do                5.2.3. Disease classification and latency
with the impact on the average change in the number of predicted events in                    The updated AHS 2018 included multiple myeloma (MM) in their
an outcome-augmented imputation model and not the role of classical                      NHL cases, but the previous AHS 2005 did not. Although MM tradi-
measurement error in the imputed exposure estimates.                                     tionally did not belong to NHL, WHO recently revised the classification
     There was also a subtle yet important difference in the categorization              of lymphoid neoplasms and suggested some types of MM (e.g., IgM
and quantification of exposure data between AHS 2005 and 2018. As de-                    mutation-related MM) are related more closely to lymphomas, in-
picted in Table 8, both studies classified exposure based on (1) ever/never,             cluding NHL, than to myelomas [68].
(2) cumulative exposure days, and (3) intensity-weighted exposure days.                       There is much uncertainty surrounding the latency period for NHL. The
However, the algorithm utilized to calculate intensity-weighted exposure                 latency period for short-term high-dose exposures to carcinogens may be as
days was updated between 2005 and 2018. Key differences include re-                      short as two years, but it may also be as long as 15 years or more. Low-dose
scaling of scores by a factor of 10 and altering the weights for mixing,                 long-term exposures are expected to have longer median latencies between
certain pesticide application techniques, and the use of chemically resistant            15 to 20 years for NHL [69,70]. It is possible that different NHL subtypes
gloves [45]. Therefore, these metrics cannot be directly compared.                       may also have different latencies. Given the uncertainty surrounding NHL
     Additionally, it is crucial to highlight the difference in reference groups         latency, it is possible that the follow-up period (median = 6.7 years) in the
between these two studies, which further limits the comparability of their               2005 AHS study [20], which was unlagged, may have been too short for a
estimates. AHS 2005 utilized the lowest exposed tertile as the comparison                sufficient number of exposure-related cancer events to manifest. Given that
group for risk estimation. They justified this decision as an attempt to                 participants had been exposed to GBHs prior to enrolling in the study
control residual confounding, because of the presence of significant dif-                (median = 8 years; mean = 7.5 years; SD = 5.3 years), participants could
ferences in key characteristics between the never-exposed and lowest-ex-                 have had an exposure duration ranging from as low as 0 years to as high as
posed groups. By contrast, AHS 2018 utilized the unexposed group as the                  18 years at the time of enrollment, assuming a normal distribution. Hence,
reference group even though our comparison of the demographics reported                  although some AHS members may have had sufficient exposure durations
in each paper does not suggest there is substantially better comparability               to develop NHL, many fell short of the median 15–20 years of expected
between groups in AHS 2018. Furthermore, because the exposure in-                        NHL latency.
formation by which these groups were classified was based on their im-                        The 2018 AHS publication added 11–12 further years of follow-up for
putation procedure, the limitations of which are highlighted above, the                  all study participants, an additional 483 cases of NHL, and considered five,
actual comparability between groups may differ from the values reported.                 ten, fifteen, and twenty year exposure lags, which was not possible in AHS
Not only would it be helpful to be able to compare directly the risk esti-               2005 due to its short follow-up duration. Epidemiologic studies often lag
mates across the two papers, it would also be useful to investigate whether              exposures to account for disease latency under the assumption that recent
there was residual confounding introduced into the AHS 2018 analysis by                  exposures have little impact on disease development. Theoretically, longer
the use of the “unexposed” group as the reference.                                       exposure durations and/or lags would present more biologically plausible
                                                                                         associations with NHL. For AHS 2018 specifically, not only are the risk
5.2.2. Exposure misclassification                                                        estimates associated with longer lag times more plausible than unlagged
    Differential misclassification is unlikely in a cohort study when                    risk estimates in AHS 2005 and 2018, but the twenty-year exposure lag,
exposure is assessed prior to the disease occurrence. In AHS 2018,                       specifically, may also be free of the bias caused by exposure imputation
however, we suspect there is some potential for differential mis-                        described above, given that at this lag exposure information may have been
classification. Sixty-three percent of the original cohort provided up-                  derived exclusively from the baseline questionnaire.
dated exposure information by questionnaire one time between the
years of 1999 and 2005. Although details are not provided, it is likely                  5.2.4. Summary
that some of the cases reported their exposure after disease occurrence,                     Overall, the cohort study features highlighted above related to ex-
allowing for potential differential misclassification in the self-reported               posure assessment and quantification, misclassification, and latency


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and lag suggest caution in direct comparisons between AHS 2005 and                   hypothesis and including the updated AHS 2018 study (1) demonstrate a
2018. Additionally, the limitations with AHS 2018 with regard to ex-                 statistically significant increased NHL risk in highly GBH-exposed in-
posure simulation, potential residual confounding, and misclassifica-                dividuals (meta-RR = 1.41, 95% CI: 1.13–1.75; Table 5 and Fig. 3A), (2)
tion may have accounted for the weaker meta-RR estimate that we                      are aligned with findings from previous meta-analyses [23,26,27]
obtained when incorporating this study into the meta-analysis.                       (Table 7), and (3) reveal an additional 11–14% and 15–18% increase in
                                                                                     NHL relative risk due to high levels of GBH exposure (Table 7) when using
5.3. Case-control studies                                                            the AHS 2018 and the AHS 2005 cohort, respectively.
                                                                                         Together, all of the meta-analyses conducted to date, including our
    Although cohort studies are the gold standard in observational epide-            own, consistently report the same key finding: exposure to GBHs are
miology, they are often challenging to conduct due to the small number of            associated with an increased risk of NHL.
incident cases for rare diseases such as NHL. Case-control studies can be                Because most people in these epidemiological studies were not ex-
more efficient for evaluation of rare diseases. For example, the AHS had to          posed to pure glyphosate, but rather glyphosate-based formulations
recruit tens of thousands of participants (N = 53,760) and follow them for           (e.g. Roundup® or Ranger Pro®) with a number of adjuvants, it could be
more than a decade in order to gather 575 new cases of NHL, whereas the 5            argued that the NHL manifested as a result of exposure to the mixture or
case-control studies assembled 2836 NHL cases among all participants                 an ingredient other than glyphosate in the formulation. To investigate
(N = 8868) in a much shorter period of time (Tables 1 and 4). Though the             causal inference regarding the association between glyphosate exposure
case-control studies are smaller and carry less weight than the large cohort         and NHL, we discuss briefly whether or not the association identified
study, it is worth noting that results from multiple case-control studies            from epidemiological studies could be supported further by experi-
displayed little heterogeneity (Table 5) and reported similar findings               mental animal and mechanistic studies related to lymphoma.
pointing away from null (Table 4).
    However, there are other challenges and concerns relevant to the
case-control studies utilized in our meta-analysis, which we briefly                 7. Animal data: lymphoma prevalence in glyphosate-exposed mice
discuss below.
                                                                                         The animal study outcome most closely linked to human NHL is
5.3.1. Control selection and exposure quantification                                 malignant lymphoma. We identified six unpublished glyphosate and
    Four of the five case-control studies utilized here are population-              lymphoma studies in mice that are in the public domain from two
based, while one is hospital-based [19]. There may be important dif-                 sources: a presentation by the European Food Safety Authority (EFSA)
ferences between hospital-based controls and population-based controls               [71] at the EPA FIFRA Scientific Advisory Panel on Carcinogenic Po-
that could impact the interpretability and comparability of the resulting            tential of Glyphosate and a report by The Food and Agriculture Orga-
risk estimates. Of relevance to this concern is that, as noted above in our          nization of the United Nations and World Health Organization Joint
sensitivity analyses, exclusion of Orsi et al. [19] (the hospital-based              Meeting on Pesticide Residues (JMPR) [22]. EFSA [71] reported results
case-control study) resulted in an increased meta-RR of 1.46 (95% CI:                from five unpublished studies: four in CD-1 [72–75] and one in Swiss
1.16–1.83) shown in Table 6, while sequential exclusion of each of the               albino mice [76], whereas JMPR [22] also reported data from an ad-
population-based case control studies produced decreased meta-RRs.                   ditional study in female CD-1 mice [77]. Each study reported four
    Exposure was also quantified differently between the selected case-              glyphosate doses and corresponding lymphoma incidence in males and
control studies, further impacting their comparability. While all the                females except for Takahashi [77], where the only data available in the
studies considered in our meta-analysis conducted exposure assessment                public domain was for female mice [22].
based on self-reported questionnaire data, some studies considered
ever/never exposure, while others evaluated exposure based on number
of days per year (see Tables 1 and 4). Some studies also relied on proxy             7.1. Results of mouse lymphoma studies
respondents such as next of kin.
                                                                                         Results from all studies (n = 6) of malignant lymphomas in mice
5.3.2. Exposure misclassification                                                    available in the public domain are presented in Table 9. Study durations
    It is always possible for the internal validity of case-control studies          ranged from 1.5 to 2 years. All studies administered glyphosate through the
to be threatened by recall bias, a form of differential exposure mis-                diet [72–77], and the concentrations tested ranged from 100 ppm to
classification that occurs when exposures are remembered differently                 50,000 ppm [22]. EFSA [71] and JMPR [22] reported slightly different
by cases (or their proxies) and controls. Cases may have been more                   doses, with JMPR [22] further stratifying by sex. Lymphoma incidence was
motivated to recall GBH exposure, and the exposures may be more vivid                abstracted from EFSA [71], with slightly different numbers for one study
or meaningful due to awareness of the risk factors for their disease.                [72]. Table 9 provides the dietary concentration of glyphosate (reported in
While differential misclassification can bias the OR in either direction,            ppm), the doses (reported in mg/kg/day) provided by EFSA [71] and JMPR
differential misclassification due to cases being more likely to report              [22], and lymphoma incidence in males and females. One study [74] re-
exposure tends to artificially inflate the OR.                                       ported food consumption, which was recorded for each treatment group,
                                                                                     and weekly mean achieved-dose levels were averaged to calculate actual
5.3.3. Latency and lag                                                               doses for males and females. Information on how doses were calculated for
    As discussed in Section 5.2.3, the latency for NHL is uncertain and              the other studies [72,73,75,73–77] was not available.
could be anywhere from 2 years to greater than 15 years. There were                      In summarizing these studies, EFSA [71] noted that Sugimoto [73] and
differences in how the case-control studies considered and incorporated              Wood et al. [74] showed statistically significant dose-response in males
latency and lag into their analyses. For example, De Roos et al. [16] and            according to the Cochran-Armitage test for linear trend, whereas Kumar
McDuffie et al. [43] do not mention these considerations; by contrast,               [76] showed a statistically significant Z-test for both males and females. In
Hardell et al. [18], Orsi et al. [19], and Eriksson et al. [17] each in-             agreement, JMPR [22] noted that Sugimoto [73] and Wood et al. [74]
corporate latency and lag, albeit differently. These differences suggest             showed a statistically significant trend in males and that Kumar [76] re-
caution in the integration of these results.                                         ported statistically significant increases in malignant lymphoma in high-
                                                                                     dose groups of both males and females. JMPR [22] further reported Ta-
6. Summary of the GBH and NHL association in humans                                  kahashi [77] had a statistically significant increased incidence in lym-
                                                                                     phoma among females by their trend test. The remaining two studies did
    Overall, the results from our new meta-analysis employing the a priori           not report evidence of a statistically significant dose-response effect.


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Table 9
Data from publicly available studies of malignant lymphomas in mice exposed to glyphosate.a
                                                                                                       Dose (mg/kg/day)                       Incidenceb (%)

  Study                        Strains     Study Duration      Concentration in Diet (ppm)     EFSA [71]          JMPR [22]c          Male               Female

  Wood et al. [74]             CD-1        1.52 years          0                               0                  0, 0                0/51 (0)           11/51 (22)
                                           (79 weeks)          500                             71                 71.4, 97.9          1/51 (2)           8/51 (16)
                                                               1500                            234                234.2, 299.5        2/51 (4)           10/51 (20)
                                                               5000                            810                810, 1081.2         5/51(10)*          11/51 (22)

  Kumar [76]                   Swiss       1.5 years           0                               0                  0, 0                10/50 (20)         18/50 (36)
                               Albino
                                                               100                             15                 14.5, 15.0          15/50 (30)         20/50 (40)
                                                               1000                            151                149.7, 151.2        16/50 (32)         19/50 (38)
                                                               10000                           1460               1453, 1466.8        19/50 (38)*        25/50 (50)*

  Sugimoto [73]                CD-1        1.5 years           0                               0                  0, 0                2/50 (4)           6/50 (12)
                                                               1600                            153                165, 153.2          2/50 (4)           4/50 (8)
                                                               8000                            787                838.1, 786.8        0/50 (0)           8/50 (16)
                                                               40000                           4116               4348, 4116          6/50 (12)*         7/50 (14)

  Atkinson et al. [75]         CD-1        2 years             N/A                             0                  0                   4/50 (8)           14/50 (28)
                                                               N/A                             100                100                 2/50 (4)           12/50 (24)
                                                               N/A                             300                300                 1/50 (2)           9/50 (18)
                                                               N/A                             1000               1000                6/50 (12)          13/50 (26)

  Knezevich and Hogan [72]     CD-1        2 years             0                               0                  0, 0                2/48 (4)           6d/50 (12)
                                                               1000                            157                157, 190            5d/49 (10)         6/48 (13)
                                                               5000                            814                814, 955            4/50 (8)           7d/49 (14)
                                                               30000                           4841               4841, 5874          2/49 (4)           11d/49 (22)

  Takahashi [77]               CD-1        1.5 years           0                                                  0, 0                                   3/50 (6)
                                                               500                                                67.6, 93.2                             1/50 (2)
                                                                                               N/A                                    N/A
                                                               5000                                               685, 909                               4/50 (8)
                                                               50000                                              7470, 8690                             6/50 (12)*

Abbreviations: EFSA, European Food Safety Authority; JMPR, Joint Meeting on Pesticide Residues; N/A, not available.
  a
    Data sources: EFSA [71] and JMPR [22] for both males and females.
  b
    Number of lymphomas / total mice in group.
  c
    Data for male, female mice.
  d
    Reported slightly differently in JMPR [22] (N ± 1).
  * ptrend < 0.05 reported by at least one test for trend in EFSA [71] or JMPR [22].

7.2. Additional considerations and recommendations                                 representative exposure of humans.

    One challenge with these studies is that at face value they appear to          8. Potential mechanistic context
be inconsistent because some show statistically significant findings
whereas others do not. However, based on EPA’s Cancer Guidelines,                      There are several possible mechanistic explanations for the in-
evidence of increased lymphoma incidence should not be discounted                  creased NHL risk in humans and lymphomas in animals. The etiology of
due to lack of statistical significance in trend and/or pairwise com-              NHL remains largely unknown; however, potential risk factors include
parison tests. Additional factors that should not be used to exclude               autoimmune diseases, infection with viruses and/or bacteria, im-
study findings are the use of high doses and/or incidence rates that are           munosuppressant medications, and exposures to some pesticides
consistent with levels seen in historical controls [78].                           [83,84]. Although not a formally recognized risk factor for NHL, en-
    Another consideration is that the study lengths in these animal ex-            docrine disruptors have been associated recently with risk of B-cell
periments may have been insufficient for development of lymphoma.                  neoplasms [85], most of which are NHL [57]. Furthermore, a genetic
There are proposals that the standard timeframe of two years for a                 hallmark of NHL is the recurrence of chromosomal translocations, such
cancer bioassay to approximate long-term cancer incidence in humans                as t(14;18), involving the immunoglobulin heavy chain gene fusion
should be extended to account for potentially longer latencies. Eighty             (BCL2-IGH), which are frequently detected in subgroups of NHL pa-
percent of all human cancers occur after the age of sixty. A two-year-old          tients [86] and in pesticide-exposed farmers [87,88]. Hence, we discuss
rat approximates a human of 60–65 years, indicating a traditional two-             immunosuppression/inflammation, endocrine disruption, genetic al-
year bioassay may not be sufficient for late-developing tumors [79].               terations, and oxidative stress as potential underlying mechanisms for
    Future work should combine the results from these six studies into             the development of lymphoma. Genetic alterations (genotoxicity) and
an overall pooled analysis to give a more robust assessment of the                 oxidative stress were previously identified as two glyphosate-related
evidence. A pooled analysis would take into account the varying study              key characteristics of carcinogens [126]. Although not specifically
durations (of 18 or 24 months) as well as other between-study differ-              linked to NHL, oxidative stress is a general mechanism of carcinogen-
ences in dose regimens and mouse strains.                                          esis that could contribute to lymphomagenesis.
    These studies, in which mice were exposed to only glyphosate, may
have underreported incidence of malignant lymphoma given evidence
                                                                                   8.1. Immunosuppression/inflammation
of increased toxicity of GBHs compared to glyphosate alone [80–82].
GBH mixtures, which contain a number of adjuvants, have been re-
                                                                                       The strongest factors known to increase NHL risk are congenital and
ported to exert synergistic toxic effects in mechanistic studies (dis-
                                                                                   acquired states of immunosuppression [89]. Several studies suggest that
cussed below). Therefore, we also recommend the evaluation of GBHs
                                                                                   glyphosate alters the gut microbiome [80,90] and cytokine IFN-γ and
in chronic animal carcinogenicity studies to better capture
                                                                                   IL-2 production [91]. These changes could impact the immune system,


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promote chronic inflammation [92], and contribute to susceptibility of            population exposures. The totality of the evidence from six studies of
invading pathogens, such as H. pylori [93].                                       glyphosate-exposed mice support this association in humans. Although
                                                                                  the underlying mechanisms remain unknown, mechanistic studies of
8.2. Endocrine disruption                                                         glyphosate-induced immunosuppression/inflammation, endocrine dis-
                                                                                  ruption, genetic alterations, and oxidative stress suggest plausible links
    Disruption of sex hormones may contribute to lymphomagenesis/                 between GBH exposure and NHL development. The overall evidence
NHL [94]. Glyphosate may act as an endocrine disrupting chemical                  from human, animal, and mechanistic studies presented here supports a
(EDC) because it has been found recently to alter sex hormone pro-                compelling link between exposures to GBHs and increased risk for NHL.
duction. Several in vivo studies of male rats exposed to glyphosate have
reported significantly lower testosterone levels [95–97], spermatid               Declaration of interest
numbers [95], altered sperm and testicular morphology [95,96],
greater development of the mammary gland [98], and a surge in mast                    All authors have no financial conflicts of interest to declare. We
cell infiltration and proliferation accompanied by increased estrogen             disclose Drs. Zhang, Taioli, and Sheppard served as Science Review
receptor (ESR1) [98]. In ovarian granulosa cells, glyphosate exposure             Board Members of the US EPA FIFRA Scientific Advisory Panel (SAP)
resulted in decreased cell proliferation and estradiol production [99],           Meeting that evaluated glyphosate in December 2016.
which may contribute to lymphomagenesis [94].
                                                                                  Acknowledgements
8.3. Genetic alterations
                                                                                      The authors thank Christina Gillezeau, MPH from Icahn School of
    Several studies report that glyphosate can induce single- and                 Medicine at Mount Sinai, New York for carefully checking epidemiological
double-strand DNA breaks [100–103], purine and pyrimidine oxidation               data and Phum Tachachartvanich, PhD for intellectual review and discus-
[101], increased comet tail moment [104], and activation of the ca-               sion on mechanisms of endocrine disruption. We also thank the anonymous
nonical non-homologous end-joining pathway (c-NHEJ) [102] that                    reviewers for their helpful comments. R.M.S. was supported by National
stimulates DNA repair. Glyphosate was also reported to induce micro-              Institutes of Environmental Health Sciences (NIEHS) award T32ES015459
nuclei [105–111], sister chromatid exchanges [110], and chromosomal               and the University of Washington Retirement Association Aging
aberrations [112], but other studies found no change in these para-               Fellowship. The authors would like to thank Bill Freese for his helpful in-
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                     EXHIBIT C




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Mapping the key characteristics of carcinogens for glyphosate and its
formulations: A systematic review




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ARTICLE INFO                                                 ABSTRACT

Handling Editor: Frederik-Jan van Schooten                   Glyphosate was classified as a probable human carcinogen (Group 2A) by the International Agency for Research
                                                             on Cancer (IARC) partially due to strong mechanistic evidence in 2015. Since then, numerous studies of
Keywords:                                                    glyphosate and its formulations (GBF) have emerged. These studies can be evaluated for cancer hazard identifica-
non-Hodgkin lymphoma                                         tion with the newly described ten key characteristics (KC) of carcinogens approach. Our objective was to assess
human exposures                                              all in vivo, ex vivo, and in vitro mechanistic studies of human and experimental animals (mammals) that compared
lymphomagenesis                                              exposure to glyphosate/GBF with low/no exposure counterparts for evidence of the ten KCs.
                                                                         D
key characteristics
                                                                A protocol with our methods adhering to PRISMA guidelines was registered a priori (INPLASY202180045).
Roundup
                                                             Two blinded reviewers screened all in vivo, ex vivo, and in vitro studies of glyphosate/GBF exposure in humans/
                                                             mammals reporting any KC-related outcome available in PubMed before August 2021. Studies that met inclusion
                                                             criteria underwent data extraction conducted in duplicate for each KC outcome reported along with key aspects
                                                          TE

                                                             of internal/external validity, results, and reference information. These data were used to construct a matrix that
                                                             was subsequently analyzed in the program R to conduct strength of evidence and quality assessments.
                                                                Of the 2537 articles screened, 175 articles met inclusion criteria, from which we extracted >50,000 data
                                                             points related to KC outcomes. Data analysis revealed strong evidence for KC2, KC4, KC5, KC6, KC8, limited evi-
                                                             dence for KC1 and KC3, and inadequate evidence for KC7, KC9, and KC10. Notably, our in-depth quality analyses
                                                             of genotoxicity (KC2) and endocrine disruption (KC8) revealed strong and consistent positive findings. For KC2,
                                          EC



                                                             we found: 1) studies conducted in humans and human cells provided stronger positive evidence than animal
                                                             studies; 2) GBF elicited a stronger effect in both human and animal studies when compared to glyphosate alone;
                                                             and 3) the highest quality studies in humans consistently revealed strong evidence of genotoxicity. Our analysis
                                                             of KC8 indicated that glyphosate's ability to modulate hormone levels and estrogen receptor activity is sensitive
                                                             to both exposure concentration and formulation. The modulations observed provide clear evidence that
                                                             glyphosate interacts with receptors, alters receptor activation, and modulates the levels and effects of endoge-
                                                             nous ligands (including hormones).
                         RR




                                                                Our findings strengthen the mechanistic evidence that glyphosate is a probable human carcinogen and provide
                                                             biological plausibility for previously reported cancer associations in humans, such as non-Hodgkin lymphoma.
                                                             We identified potential molecular interactions and subsequent key events that were used to generate a probable
                                                             pathway to lymphomagenesis.
       CO




   Abbreviations                                                                                        AHS           Agricultural Health Study
                                                                                                        AID           activation-induced deaminase
   8-OHdG        8-hydroxydeoxyguanosine                                                                AMPA          α-amino-3-hydroxy-5-methyl-4-isoxazole propi-
   ADI           acceptable daily intake                                                                              onic acid



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https://doi.org/10.1016/j.chemosphere.2023.139572
Received 24 February 2023; Received in revised form 16 July 2023; Accepted 17 July 2023
0045-6535/© 20XX




 Note: Low-resolution images were used to create this PDF. The original images will be used in the final composition.
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    AOP     adverse outcome pathway                                      NHL     non-Hodgkin lymphoma
    BAL     bronchoalveolar lavage                                       NLRP3   NOD-, LRR- and pyrin domain-containing protein 3
    BCL2    B-cell lymphoma 2                                            NO      nitric oxide
    CAIII   carbonic anhydrase III                                       NOAEL   no observed adverse effect level
    CAT     catalase                                                     NR1D1   nuclear receptor subfamily 1 group D member 1
    CCND1   cyclin D1                                                    NTP     National Toxicology Program
    CRP     c-reactive protein                                           OECD    Organization for Economic Cooperation and De-
    D       days                                                                 velopment
    DAF-2 DA diaminofluorescein-2 diacetate                              P16     cyclin-dependent kinase inhibitor 2A




                                                                                      F
    DCFDA dichlorofluorescin diacetate                                   P21     cyclin-dependent kinase inhibitor 1
    DCFH    diacetyldichlorofluorescein                                  CYP450 cytochrome P450
    DNMT1 DNA methyltransferase 1                                        P53     tumor protein p53




                                                                       OO
    DNMT3A DNA methyltransferase 3alpha                                  PBMC    peripheral blood mononuclear cells
    E2      estrogen                                                     PECO    Population, Exposure, Comparator, and Outcomes
    EFSA    European Food Safety Authority                               PI      principal investigator
    EHMT    euchromatic histone lysine methyltransferase                 PRISMA Preferred Reporting Items for Systematic Reviews
    EPA     U.S. Environmental Protection Agency                                 and Meta-Analysis
    EPSPS   5-enolpyruvylshikimate-3-phosphate synthase                  RNS     reactive nitrogen species
    ER      estrogen receptor                                            ROS     reactive oxygen species




                                                              PR
    ERCC8   ERCC Excision Repair 8, CSA Ubiquitin Ligase                 SCE     sister chromatid exchange
            Complex Subunit                                              SCFA    short-chain fatty acid
    ERE     estrogen response element                                    SOD     superoxide dismutase
    ESR1    estrogen receptor alpha                                      StAR    steroidogenic acute regulatory protein
    FSH     follicle stimulating hormone                                 TBARS   thiobarbituric acid reactive substances
    G       glyphosate                                                   TET    ten-eleven translocation methylcytosine dioxy-
    GBF     glyphosate-based formulations                                       genase
    GnRH    gonadotropin-releasing hormone                               TGs     test guidelines
                                                     D
    GR      glutathione reductase                                        TNF-a   tumor necrosis factor-α
    GRADE Grading of Recommendations Assessment, Develop-                TSLP    thymic stromal lymphopoietin
            ment, and Evaluation                                         US      United States
    GSDMD gasdermin D                                                    WBC     white blood cells
                                          TE

    GSH     glutathione                                                  WM      withdrawal medium
    GSSG    glutathione disulfide
    H2AX    H2A histone family member X
    H2DCFDA 2′,7′-Dichlorodihydrofluorescein diacetate
    H2O2    hydrogen peroxide                                         1. Introduction
                               EC



    H2R123 dihydrorhodamine 123
    HDAC    histone deacetylase                                           Glyphosate, commonly sold as a formulation under the trade name
    HMP     Human Microbiome Project                                  of “Roundup©,” is the most widely used herbicide in the world. In the
    HPF     hydroxyphenyl fluorescein                                 United States alone, usage of glyphosate-based formulations (GBF) be-
    IARC    International Agency for Research on Cancer               tween 1992 and 2009 increased nearly 16-fold from 13.9 to 219.7 mil-
    IFN     interferon                                                lion pounds, with most of this increase occurring after the introduction
    IL      interleukin                                               of Roundup-ready products in 1996 (Benbrook, 2016).
                   RR




    INPLASY International Platform of Registered Systematic Re-
            view and Meta-Analysis Protocols                          1.1. Carcinogenic hazard identification by international agencies
    IRIS    Integrated Risk Information System
    KCA     keratinocyte chemoattractant                                  Given its widespread use and consequent potential to adversely af-
    KCs     key characteristics                                       fect human health, glyphosate has undergone several risk and health
    LH      luteinizing hormone                                       evaluations for its carcinogenic potential with differing conclusions
        CO




    MALT    mucosa-associated lymphoid tissue                         (EFSA, 2015; IARC, 2015; JMPR, 2017; U.S. EPA, 2020). In 2015, a
    MAPK3 mitogen-activated protein kinase 3                          working group at the International Agency for Research on Cancer
    MCH     mean corpuscular hemoglobin                               (IARC) concluded that glyphosate was “probably carcinogenic to hu-
    MCHC    mean corpuscular hemoglobin concentration                 mans” (IARC, 2015). IARC noted that “a positive association has been
    MCP-1   monocyte chemo-attractant protein-1                       observed for non-Hodgkin lymphoma” (NHL) and that “there is suffi-
    MCV     mean corpuscular volume                                   cient evidence in experimental animals for the carcinogenicity of
    MDA     malondialdehyde                                           glyphosate” (IARC, 2015). They further noted that “the mechanistic
    MeSH    medical subject headings                                  data provide strong evidence for genotoxicity and oxidative stress” and
    MIP-2   macrophage inflammatory protein-2                         that “there is evidence that these effects can operate in humans” (IARC,
    MNPCEs micronucleated polychromatic erythrocytes                  2015).
    MSH4    melanocyte-stimulating hormone
    mtROS   mitochondrial ROS
    NFκB    nuclear factor kappa B
    NHANES National Health and Nutrition Examination Survey




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1.2. Key characteristics (KC) of carcinogens framework to evaluate                    mechanisms by which it may induce NHL and perhaps other cancers. In
mechanistic evidence                                                                  line with the Population, Exposure, Comparator, and Outcomes (PECO)
                                                                                      framework (Morgan et al., 2018), our review aimed to answer the ques-
    The ability to produce genotoxicity and induce oxidative stress are               tion, “Among human or experimental animal (mammalian) cells, tis-
two of the established key characteristics (KCs) of human carcinogens                 sues, or model systems with in vivo, ex vivo, or in vitro study design, does
that were first identified by a Working Group at IARC in 2012 and pub-                exposure to glyphosate/GBF increase outcomes related to the ten KCs
lished in the peer-reviewed literature in 2016 (Smith et al., 2016). All              when compared with low/no exposure counterparts?” Given wide-
known human carcinogens possess one or more of the ten KCs that are                   spread use of this ubiquitous herbicide, elucidating the underlying bio-
related to the mechanisms by which they cause cancer. These include                   logical mechanisms is of utmost importance.
whether the carcinogen 1) is electrophilic or can be metabolically acti-




                                                                                                       F
vated; 2) is genotoxic; 3) alters DNA repair/causes genome instability;               2. Methods
4) induces epigenetic alterations; 5) induces oxidative stress; 6) induces
chronic inflammation; 7) is immunosuppressive; 8) modulates receptor-                     The protocol for this review was registered with the International




                                                                                       OO
mediated effects; 9) causes immortalization; and 10) alters cell prolifer-            Platform of Registered Systematic Review and Meta-Analysis Protocols
ation, death or nutrient supply (Smith et al., 2016).                                 (INPLASY), INPLASY202180045, (Rana et al., 2021). Prior to conduct-
    The KCs of carcinogens have been applied in the evaluation of di-                 ing the systematic review, we developed an a priori comprehensive
verse carcinogens (Guyton et al., 2018) and are now used as the basis                 three-phase approach for literature search, data extraction, and analy-
for the evaluation of mechanistic data at IARC under their revised Pre-               sis of mechanistic studies. An overview of our methods is depicted in
amble (IARC, 2019; Samet et al., 2020). They have also been used by                   Fig. 1.
authoritative bodies and regulatory agencies, such as the National Toxi-                  In phase one, we used the electronic literature searching platform




                                                                          PR
cology Program (NTP) Report on Carcinogens (Atwood et al., 2019),                     SysRev to screen all studies by title and abstract for inclusion criteria by
the U.S. Environmental Protection Agency (EPA) Integrated Risk Infor-                 two reviewers blinded to each other's selections. In the second phase,
mation System (IRIS) Program (U.S. EPA, 2022), and the California EPA                 the full text of each article selected for inclusion was examined for any
(OEHHA, 2017).                                                                        KC-related outcomes that were reported. Two reviewers independently
                                                                                      recorded these outcomes along with key aspects of internal validity
1.3. New mechanistic studies of glyphosate warrant systematic review                  (testing system and species), external validity (experimental design),
                                                                                      results, and reference information. In the final phase, the outcome data
    Since IARC evaluated the carcinogenicity of glyphosate in 2015,                   were cleaned and used to construct a matrix. We performed data analy-
                                                               D
many new studies have been published. For example, a recent meta-                     sis using the program R (R Core Team, 2022) to conduct strength of evi-
analysis reported that GBF was associated with a 41% increased meta-                  dence and quality assessments.
relative risk of NHL among highly exposed individuals (Zhang et al.,
2019). Animal carcinogenicity studies have supported this link by                     2.1. Phase 1: literature search conducted in SysRev using PRISMA
                                                  TE

showing glyphosate's ability to cause multiple types of cancer, particu-              guidelines
larly, its association with malignant lymphomas (Portier, 2020). Fur-
thermore, a large amount of new mechanistic data has also become                         The complete details of our literature search conducted according to
available. Here, using IARC classification guidelines, we have con-                   the 2020 guidelines of the Preferred Reporting Items for Systematic Re-
ducted a comprehensive systematic review of the totality of the mecha-                views and Meta-Analysis (PRISMA) (Page et al., 2021) are provided in
                                    EC



nistic data available through August 2021 to understand which KCs are                 our protocol by Rana et al. (2021) and briefly summarized below.
exhibited by glyphosate and its formulations and explore potential
                      RR
        CO




Fig. 1. Systematic review process by which investigators analyzed and assembled results for the ten key characteristics of carcinogens associated with glyphosate
and GBF. Phase 1: Two blinded reviewers screened studies by title and abstract for inclusion eligibility. Conflicts were resolved following discussion with entire re-
search team. Phase 2: the complete texts of studies marked for inclusion were analyzed for all KC-related outcomes. Two reviewers independently recorded each out-
come along with key aspects of internal validity (testing system and species), external validity (experimental design), results, and reference information. Conflicts
were resolved by one of the principal investigators (PIs). Phase 3: Data were cleaned and analyzed using the program R to perform descriptive analyses.



                                                                                                                            Exhibit A Page - 54
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2.1.1. Eligibility criteria                                                       evidence and quality assessments. The analyses conducted in R were
    We included all in vivo, ex vivo, and in vitro mechanistic studies con-       descriptive in nature. Quality assessment for risk of bias was conducted
ducted in humans and mammals that examined glyphosate or GBF ex-                  at the individual study level using an adapted form of the Grading of
posure in relation to any of the 10 KCs. We defined in vivo studies as ex-        Recommendations Assessment, Development, and Evaluation (GRADE)
posures occurring within living organisms, ex vivo involved exposure to           method (Atkins et al., 2004).
primary cells or tissues, and in vitro studies exposed immortalized cell              We assessed the strength of the evidence for each KC using IARC's
lines. Only data published in peer-reviewed journals or edited books              approach described in detail in the Preamble (IARC, 2019) and summa-
were eligible for inclusion. No language restrictions were applied,               rized in our Supplement. Briefly, IARC ranks mechanistic evidence
though foreign language articles needed to be obtained in full and                within three tiers: strong, limited, and inadequate.
translated completely to be eligible for inclusion. We excluded com-




                                                                                                   F
mentaries, method papers, reviews, studies that had unrelated end-                  • Strong mechanistic evidence is defined as consistent results in a
points or irrelevant model organisms, and studies that had been re-                   substantial number of studies with relevant endpoints in one or
tracted. Complete inclusion and exclusion criteria are detailed in the                more mammalian species. For an agent that exhibits the KCs, the




                                                                                   OO
protocol (Rana et al., 2021).                                                         strong evidence can be 1) in exposed humans (in vivo study
                                                                                      design), 2) in human primary cells or tissues (ex vivo study
2.1.2. Information sources and search strategy                                        design), or 3) in experimental systems (human in vitro or animal
    We queried the PubMed database on August 10, 2021. Search terms                   study) that may include one or few studies in human primary cells
were compiled using the Medical Subject Headings (MeSH) database to                   or tissues.
capture synonyms for commercial formulations of glyphosate and GBF                  • Limited evidence indicates suggestive, narrow evidence, or
and outcomes related to each KC. The line-by-line search strategy is de-              unexplained inconsistency across studies with different species or




                                                                     PR
tailed in Rana et al. (2021). We also conducted a backward reference                  endpoints.
search of publications cited within the IARC Monograph Volume 112                   • Inadequate evidence focuses on few or no data available and
on glyphosate (IARC, 2015). We individually evaluated these studies                   includes unresolved questions or negative study results (IARC,
for eligibility criteria and identified additional keywords to further op-            2019).
timize the literature search results.
                                                                                  3. Results of literature search
2.1.3. Selection process
    The initial stage of the literature search was conducted using Sys-           3.1. Studies included in systematic review
                                                          D
Rev, an electronic systematic review tool for screening and abstracting
data from papers (Bozada et al., 2021). Studies were screened by title                Literature search results are detailed in Fig. 2 and in the Supple-
and abstract and labeled for either potential inclusion or exclusion by a         ment. Overall, we identified 4134 articles through our database search
minimum of two reviewers that were blinded to each other's answers.               of PubMed and hand-screened 269 publications from the 2015 IARC
                                               TE

Articles with conflicting tags, defined as non-exact matches among in-            Monographs Volume 112 reference list (IARC, 2015). A total of 2537
clusion labels, were discussed by the entire research team until a con-           articles, 2331 from PubMed and 206 from IARC references, were
sensus decision was reached. The full texts of potentially eligible arti-         screened by title and abstract by at least two individuals. Following
cles were then retrieved and assessed in-depth for inclusion criteria.            full-text review, we identified 175 studies that were eligible for inclu-
Studies subjected to a full-text review that did not meet inclusion crite-        sion and data extraction. An additional 52 studies that did not meet in-
                                  EC



ria were also assessed for sensitivity analyses. These included studies           clusion criteria were evaluated within sensitivity analyses.
where the reported outcomes were perturbations to the microbiome or
hematological parameters, the exposure was administered perinatally,              3.2. Outcome data extracted from included studies
the exposure was a metabolite of glyphosate, and/or where the model
organism was a zebrafish.                                                             In the second phase, the full text of the eligible N = 175 studies and
                                                                                  the N = 52 studies selected for sensitivity analysis were thoroughly ex-
2.2. Phase 2: data mining                                                         amined to identify any reported KC-related outcomes (n). We recorded
                    RR




                                                                                  a total of n = 2984 outcomes for primary and sensitivity analyses prior
    In the second phase, qualified papers selected for inclusion (N) were         to data cleaning (Table 1). Most outcomes were reported for KC2, KC5,
examined for any KC-related outcomes (n) that were reported. For each             KC6, KC8, and KC10. No outcomes were reported for KC9, and very few
outcome reported in the paper, two reviewers independently recorded               outcomes were reported for KC1 (n = 7) and KC3 (n = 29). For each of
the relevant KC and endpoint, study design, type of assay used, bio-              these n = 2984 outcomes, two reviewers independently recorded mul-
marker measured, species, cell/tissue type, whether the active ingredi-           tiple data points pertaining to key aspects of internal validity (testing
        CO




ent glyphosate or the formulation was tested, the number of dose                  system and species), external validity (experimental design), results,
groups, doses tested, positive control, exposure route, exposure dura-            and reference information. These data points totaled over 50,000.
tion, number of subjects, number of experimental replications, findings
of the study, statistical significance (including which test was used),           4. Strength of evidence analysis for the ten key characteristics of
presence of exposure-response relationship, whether responses were                carcinogens
detected in any and/or the highest exposure group, whether responses
were detected in a majority of the concentrations tested, percent differ-         4.1. KC1: is or can be metabolically activated to an electrophile
ence, figure/table in the text from which data were extracted, study au-
thor and year, PubMed ID and link. Conflicts among reviewers were es-                Many carcinogens are electron-deficient, also known as elec-
calated to a senior investigator.                                                 trophiles, that can interact nonenzymatically with nucleophilic sites
                                                                                  within the cell, including those on DNA, RNA, and protein. While some
2.3. Phase 3: quality analysis and data synthesis                                 can directly bind to and interact with cellular macromolecules, a sub-
                                                                                  stantial portion of mutagens require metabolic activation to be muta-
   In the final phase, we used our extracted data to generate a matrix            genic and/or electrophilic.
that was subsequently analyzed in the program R to conduct strength of



                                                                                                                      Exhibit A Page - 55
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                                                Fig. 2. Summary of literature search results using PRISMA guidelines.
                                                                 D
Table 1                                                                                damage does not change the nucleotide sequence and, instead, involves
KC outcomes (n) recorded within studies included in primary and sensitivity            modifications to the DNA, such as an adduct (a molecule bound cova-
                                                  TE

analyses.                                                                              lently to DNA) or a single- or double-strand break. Because some DNA
 Species                         Key characteristic (KC)                   Total       damage can be repaired, it is a less reliable indicator of potential car-
                                                                                       cinogenicity, whereas a mutation is a permanent, heritable change in
                  1   2     3    4    5     6      7       8     9   10
                                                                                       the DNA sequence and/or gene/chromosome copy numbers that may
  Humans          0   160   8    44   100   22     28      309   0   224   895         contribute to the carcinogenic process. Thus, mutagenesis assays,
  Mammals         7   120   21   14   433   490    155     627   0   202   2069        which measure the induction of gene and/or chromosomal mutations,
                                      EC



  Non-mammals     0   16    0    2    1     1      0       0     0   0     20          are more relevant to carcinogenesis than DNA adduct assays.
  Total           7   296   29   60   534   513    183     936   0   426   2984            Differences between genotoxicity, mutagenicity, and the assays
                                                                                       used to measure them have been standardized in the Genetic Toxicol-
    Under certain conditions, glyphosate can act as a strong elec-                     ogy Test Guidelines (TGs) created by the Organization for Economic
trophile. On a simple structural level, the phosphate group is readily                 Cooperation and Development (OECD, 2017b). The OECD has also cat-
protonated at acidic pHs below 5 (Herath et al., 2016). In mice exposed                egorized the quality of genotoxicity assays into three categories (high-
                      RR




to high doses in vivo, glyphosate was reported to be biotransformed to                 est, good and poor quality). Measures of chromosomal aberrations and
the metabolite glyoxylate, a highly potent electrophile that can react                 micronuclei are considered to be among the highest quality endpoints,
with cysteine and lysine residues on numerous target proteins broadly                  whereas the comet assay, DNA strand breaks and H2AX are considered
present across the cell (Ford et al., 2017). Independent of the active in-             of good quality. Sister chromatid exchanges (SCEs) are now considered
gredient, there is evidence that the adjuvants added to GBF are also                   to be poor quality assays, but were performed extensively in the past
electrophilic. One study reported that components of the GBF Roundup                   because of the simplicity of the assay. We renamed these three cate-
unrelated to the active ingredient were able to induce a dose-dependent                gories defined by the OECD as Category A (highest quality assays), Cat-
        CO




formation of DNA adducts in the kidneys and liver of mice (Peluso et                   egory B (good assays), and Category C (poor quality assays). Overall,
al., 1998).                                                                            our primary analysis included N = 40 papers that reported n = 184
    While these data are suggestive, both experimental studies were                    outcomes relevant to KC2 evenly divided between humans (n = 90)
performed in one animal species, indicating that the evidence for KC1 is               and non-human mammals (n = 94) (Table 2).
“limited” for both glyphosate and GBF.
                                                                                       4.2.1. Human studies
4.2. KC2: is genotoxic                                                                     Among the 90 total outcomes reported in human studies, 84% were
                                                                                       positive and statistically significant. Of the studies conducted with ex-
    Genotoxicity refers to the ability of an agent to induce mutations                 posures to GBF (n = 41), 88% were positive and statistically significant
and/or DNA damage. Mutations include gene mutations (such as base                      versus 80% of those with glyphosate exposure (n =49, Figure 3). When
substitutions or small deletions within a gene), chromosomal mutations                 stratified by study design, positive findings (p < 0.05) were reported in
(multi-locus mutations such as large deletions, duplications, or re-                   78% of outcomes conducted in human in vivo systems (n = 9), 93% of
arrangements that span more than one gene), and mutations involving                    outcomes in ex vivo human primary cells and tissue (n = 42), and 77%
whole chromosomes (such as aneuploidy). Mutations involve a change                     of outcomes in human in vitro systems (n = 39). On average, the dose-
in the order or number of nucleotides in the DNA. In contrast, DNA                     dependent exposure-response relationship is observed in most of the



                                                                                                                          Exhibit A Page - 56
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Table 2
Summary of KC2 outcomes in humans and mammals.
 Species     Study design        Category A (highest quality)         Category B (good quality)             Category C (poor quality)            All outcomes combined

                            n [REF]    (+)*          D-R (n)       n [REF]    (+)*       D-R (n)    n [REF]      (+)*           D-R (n)    n     (+)*          D-R (n)

  Human
             in vivo        7 [A]      86%           100% (1)      1 [B]      100%       –          1 [C]        0%             –          9     78%           100% (1)
             ex vivo        24 [D]     88%–92%       95% (23)      15 [E]     100%       93% (15)   3 [F]        100%           100% (3)   42    93%–95%       95% (41)
             in vitro       4 [G]      100%          100% (4)      35 [H]     74%        68% (19)   0            -              –          39    77%           74% (23)
             All            35         89%-91%       97% (28)      51         82%        79% (34)   4            75%            100% (3)   90    84%–86%       88% (65)




                                                                                                              F
  Mammal
             in vivo        43 [I]     40%–58%       57% (20)      14 [J]     50%        33% (6)    16 [K]       25%–38%        100% (3)   73   38%–52%        59% (29)
             ex vivo        1 [L]      100%          100% (1)      0          -                     2 [M]        50%-100%       0% (2)     3    67%-100%       33% (3)




                                                                                             OO
             in vitro       12 [N]     17%–83%       100% (12)     0          -          –          6 [O]        100%           100% (6)   18   44%–89%        100% (15)
             All            56         36%–64%       76% (33)      14         50%        33% (6)    24           46%-58%        82% (11)   94   40%–61%        72% (50)

Abbreviations: D-R, dose-response defined as a KC2 outcome reporting >2 exposure groups; n, number of KC2 outcomes; REF, reference.
*Range of positive studies reported as the percent of positive statistically significant (p < 0.05) results in bold to the percent of positive results with at least 75% dif-
ference between control and exposed groups.
[A] Balderrama-Carmona et al. (2020), Bolognesi et al. (2009).
[B] Paz-y-Mino et al. (2007).
[C] Paz-y-Mino et al. (2011).




                                                                             PR
[D] Mladinic et al. (2009a), Mladinic et al. (2009b), Manas et al. (2009), Santovito et al. (2018), Nagy et al. (2021).
[E] Mladinic et al. (2009b), Wozniak et al. (2018), Suarez-Larios et al. (2017), Kwiatkowska et al. (2017), Alvarez-Moya et al. (2014).
[F] Vigfusson and Vyse (1980), Bolognesi et al. (1997).
[G] Kasuba et al. (2017), Koller et al. (2012).
[H] Manas et al. (2009), De Almeida et al. (2018), Hao et al. (2019, 2020), Kasuba et al. (2017), Koller et al. (2012), Luo et al. (2017),Monroy et al. (2005), Nagy et al.
(2019), Townsend et al. (2017), Gasnier et al. (2009).
[I] Manas et al. (2009), Chan and Mahler (1992), Li and Long (1988), Cavusoglu et al. (2011), Rank et al. (1993), Dimitrov et al. (2006), Prasad et al. (2009),
Bolognesi et al. (1997), de Maria Serra et al. (2021), Schnabel et al. (2020), Grisolia (2002).
[J] Milic et al. (2018), Bolognesi et al. (1997), Ganesan and Keating (2020), Schnabel et al. (2020).
                                                                 D
[K] Li and Long (1988), Cavusoglu et al. (2011), Prasad et al. (2009).
[L] Lioi et al. (1998).
[M] Lioi et al. (1998), Li and Long (1988).
[N] Sivikova and Dianovsky (2006), Li and Long (1988), Roustan et al. (2014).
                                                     TE

[O] Sivikova and Dianovsky (2006).

genotoxic outcomes, particularly, in the human ex vivo studies (95%).                      4.2.2. Animal studies
To assess the quality of these findings, we followed the OECD (2017b)                          Studies in animals have reported mixed findings regarding genotox-
for classification guidelines and compared outcomes for Category A                         icity (Table 2). However, when we stratified by exposure type, KC2 out-
(highest quality tests, n = 35), Category B (good quality, n = 51), and                    comes with GBF exposure were far more positive (59%, n = 41) than
                                      EC



Category C (poor, not recommended tests with low sensitivity and                           outcomes of glyphosate alone (26%, n = 53, Fig. 3).
specificity, n = 4). A summary of our findings across all three cate-                          A study from June 2021 reported that Roundup increases micronu-
gories is presented in Table 2.                                                            clei in the mouse bone marrow (de Maria Serra et al., 2021). This con-
                                                                                           firms the earlier finding of Prasad and co-workers who showed that
4.2.1.1. Highest quality assays. All outcomes using Category A assays                      Roundup increased frequencies of chromosomal aberrations and mi-
reported in human in vivo systems assessed for micronuclei (n = 7), of                     cronucleated polychromatic erythrocytes (MNPCEs) in the mouse bone
                        RR




which 86% were positive and statistically significant. Similarly, there                    marrow in a dose-dependent manner (Prasad et al., 2009).
were highly positive findings for Category A assays among human ex                             Milic and co-workers performed a 28-day genotoxicity study in rats
vivo outcomes (88% positive, p < 0.05, n = 24), most of which re-                          (Milic et al., 2018). They administered glyphosate by gavage daily at
ported micronuclei (91% positive, p < 0.05, n = 22). Both of the two                       four different doses. DNA damage in leukocytes and liver tissue was es-
human ex vivo outcomes that reported chromosome aberrations as the                         timated using the alkaline comet assay. Treatment with glyphosate re-
outcome reported positive findings, though only one of these was statis-                   sulted in significantly higher primary DNA damage in both the liver
tically significant. Of note, a dose-dependent exposure-response rela-                     cells and leukocytes (Milic et al., 2018).
        CO




tionship was detected in 95% of outcomes in human peripheral blood
mononuclear cells (PBMCs) and whole blood (ex vivo) with greater than                     4.2.3. Overall KC2 conclusion
two exposure groups (n = 23). All four Category A assay outcomes in                           Our analysis yielded several key findings. Studies conducted in hu-
human in vitro systems reported positive findings with micronuclei as                     mans provided stronger positive evidence than their animal counter-
the endpoint (p < 0.05).                                                                  parts (Fig. 3 and Table 2). It is possible that some factors relating to in-
                                                                                          trinsic validity of experimental animal studies (i.e. variations in experi-
4.2.1.2. Good quality assays. All human in vivo (n = 1) and ex vivo                       mental design, exposure route, concentrations, among others) may play
(n = 15) studies with a Category B outcome reported positive find-                        a role. For example, a 2016 meta-analysis confirmed that glyphosate ex-
ings using the comet assay (100% positive, p < 0.05). Human in vitro                      posure via intraperitoneal administration but not via oral exposure was
studies similarly reported largely positive findings (74% positive,                       associated with a statistically-significant increase in micronuclei (Ghisi
p < 0.05, n = 35).                                                                        Nde et al., 2016). These findings suggest that glyphosate's genotoxic po-
                                                                                          tential in experimental animals may be related to exposure type and
4.2.1.3. Poor quality assays. While Category A and Category B assays in                   concentrations, though further investigation is warranted.
humans overall hovered at 89% and 82% positive respectively, Cate-                            Additionally, the formulation elicited a stronger effect in both hu-
gory C assays were slightly lower at 75%.                                                 man and animal studies when compared to glyphosate alone. Interest-


                                                                                                                                   Exhibit A Page - 57
                                                                                     6
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                                                                                    tumor-related genes, contributing to malignant transformation
                                                                                    (Shimizu et al., 2012). A recent study reported that glyphosate in-
                                                                                    creased AID expression in the bone marrow, spleen, and lymph nodes of
                                                                                    exposed mice (Wang et al., 2019b).
                                                                                        AID-induced DNA strand breaks engage the non-homologous end-
                                                                                    joining repair pathway. In a supporting finding, Suarez-Larios et al.
                                                                                    (2017) reported increased DNA double-stand breaks and phosphory-
                                                                                    lated Ku80, a critical protein downstream of AID required for the repair
                                                                                    of the ends of CSR DNA strand breaks in whole blood from healthy vol-
                                                                                    unteers exposed to glyphosate ex vivo.




                                                                                                     F
                                                                                        Other studies have also reported glyphosate-induced altered DNA
                                                                                    repair mechanisms. Glyphosate exposure ex vivo in PBMCs donated by
                                                                                    healthy volunteers induced DNA damage that did not fully repair after




                                                                                     OO
                                                                                    120 min—a finding that was statistically significant in the lowest dose
                                                                                    group (0.5 mM) (Kwiatkowska et al., 2020). A different study reported
                                                                                    that exposure to a 50-fold lower concentration of GBF (0.01 mM) in
                                                                                    PBMCs induced single and double DNA strand breaks (p < 0.05)
                                                                                    (Wozniak et al., 2018). Transcriptome profiling and enrichment analy-
                                                                                    sis revealed that exposure to Roundup downregulated genes related to
                                                                                    DNA damage repair, nucleotide excision repair, mismatch repair, and




                                                                       PR
                                                                                    base excision repair pathways in breast cancer cell lines (Stur et al.,
Fig. 3. Comparison of KC2 outcomes (n) for exposures to pure glyphosate ex-         2019). Together, these studies offer support for glyphosate's ability to
posure versus GBF in humans and animals. Among animal studies (blue), pure
                                                                                    suppress cellular DNA repair.
glyphosate exposure was reported in 53 KC2 outcomes (in vivo: n = 40, ex
                                                                                        Overall, while the animal in vivo and human in vitro data provide im-
vivo: n = 3, and in vitro: n = 10), whereas GBF exposure was employed in 41
KC2 outcomes (in vivo: n = 33 and in vitro:n = 8). In human studies (red),
                                                                                    portant supporting evidence that glyphosate and GBF could exhibit
pure glyphosate exposure accounted for 49 KC2 outcomes(ex vivo: n = 22 and          KC3, most of the data evidence is indirect. Given that there is only one
in vitro: n = 27), whereas GBF exposure was used in 41 KC2 outcomes (in vivo:       outcome from one paper in one species providing direct evidence, the
n = 9, ex vivo: n = 20, in vitro: n = 12).                                          overall strength of evidence for KC3 is currently “limited.”
                                                            D
                                                                                    4.4. KC4: induces epigenetic alterations
ingly, the disparity in positive statistically significant studies between
GBF and glyphosate was less pronounced in human data compared to
                                                                                        A wide range of carcinogens exhibit epigenetic alterations, which
                                                TE

animal data. These findings indicate that the human data for both
                                                                                    are changes made to DNA or chromatin that alter gene expression. Dys-
glyphosate and GBF outcomes were more positive, consistent, and dis-
                                                                                    regulation of the epigenome includes: 1) DNA methylation, 2) alter-
played less heterogeneity than findings in animal models (Fig. 3).
                                                                                    ations in levels of non-coding RNAs that result in altered gene expres-
    Lastly, the highest quality assays (Category A) in humans revealed
                                                                                    sion (e.g. microRNA), and 3) modifications of chromatin architecture
strong, specific, and consistent evidence of KC2. Our findings in Table 2
                                                                                    (e.g. histone acetylation). A summary of glyphosate-induced epigenetic
indicate that the results of the highest quality Category A outcomes are
                                   EC



                                                                                    changes in human cells is provided in Table 3.
86% positive for human in vivo studies, 88–92% positive for human ex
vivo studies, and 100% positive for human in vitro studies. When strati-
                                                                                    4.4.1. DNA methylation
fied by outcome, the frequency of micronucleus formation, a biomarker
                                                                                        Multiple studies reported a statistically significant reduction in
of chromosome damage and genotoxicity was 91% positive in human
                                                                                    global DNA methylation in human PBMCs (Kwiatkowska et al., 2017;
studies (p < 0.05, n = 33). Further, studies of glyphosate and GBF in
                                                                                    Wozniak et al., 2020) and nonneoplastic breast cell line exposed to
exposed humans and human cells (ex vivo and in vitro) have reported
                                                                                    glyphosate (Duforestel et al., 2019). Glyphosate exposure was reported
                     RR




strong consistent evidence of increased cytogenetic alterations in a
                                                                                    to hypermethylate proto-oncogenes BCL2 and CCND1 (Wozniak et al.,
dose-dependent manner.
                                                                                    2020). Additionally, exposure to glyphosate was also reported to alter
    Overall, the findings in humans and human cells provide “strong”
                                                                                    methylation of tumor suppressor genes P53 (Kwiatkowska et al., 2017;
evidence that glyphosate and its formulations exert genotoxicity. How-
                                                                                    Wozniak et al., 2020) and P21 (Wozniak et al., 2020) (p < 0.05) in a
ever, there is consistent evidence that suggests glyphosate and GBF are
                                                                                    dose-dependent manner in the PBMCs. Methylation patterns of the tu-
not mutagenic in bacterial mutation assays and likely do not cause
                                                                                    mor suppressor gene P16 were also reported to be altered, but findings
point mutations (Benbrook et al., 2023; Smith-Roe et al., 2023), but
        CO




                                                                                    were not statistically significant (Kwiatkowska et al. (2017); Wozniak
rather produce larger scale mutations such as chromosomal deletions
                                                                                    et al. (2020).
and rearrangements.
                                                                                        Though published after our literature search was conducted, an
                                                                                    epigenome-wide association study published in 2022 identified DNA
4.3. KC3: alters DNA repair and/or causes genomic instability
                                                                                    methylation loci associated with urinary glyphosate and AMPA (α-
                                                                                    amino-3-hydroxy-5-methyl-4-isoxazole propionic acid) in post-
    Genomic instability, an increased tendency of the genome to acquire
                                                                                    menopausal women living in Southern California. This study reported
mutations, occurs when processes involved in maintaining and replicat-
                                                                                    greater dysregulated methylation status of DNA repair genes MSH4 and
ing the genome become dysfunctional. When DNA damage is not re-
                                                                                    ERCC8 among individuals with higher urinary glyphosate concentra-
paired, these changes play an essential role in carcinogenesis.
                                                                                    tions (Lucia et al., 2022). Urinary AMPA concentrations were also asso-
    Glyphosate exposure may produce genomic instability and alter
                                                                                    ciated with hypomethylation of the estrogen receptor alpha (ESR1) pro-
DNA repair through altered expression and induction of activation-
                                                                                    moter (Lucia et al., 2022).
induced deaminase (AID), an endogenous enzyme normally required
for class-switching recombination (CSR), in which large scale alter-
ations of DNA are used to generate diverse antibodies. Aberrant AID ex-
pression can induce somatic mutations and chromosomal aberrations in



                                                                                                                        Exhibit A Page - 58
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Table 3                                                                               Biomarkers of oxidative stress in glyphosate-exposed cells have been re-
Summary of glyphosate-induced epigenetic changes in human cells.                      ported as oxidative DNA damage, ROS and RNS, altered levels of an-
 Measured           Cell line   Methylation/        Reference                         tioxidants, and markers of lipid peroxidation. A summary of
 parameter                      expression                                            glyphosate-induced oxidative stress findings in humans and human
                                                                                      cells is reported in Table 4.
  Global and/or targeted DNA-methylation
  Global 5-mC       PBMCs    Hypomethylationa       Kwiatkowska et al. (2017);
    percentage                                      Wozniak et al. (2020)
                                                                                      4.5.1. Oxidative DNA damage and ROS
                    MCF10A Hypomethylationa         Duforestel et al. (2019)              Oxidative stress can lead to oxidative damage to DNA, including
  Tumor suppressor genes                                                              base modification, DNA-protein crosslinks, and other lesions (Klaunig
  P16               PBMCs    Hypomethylationb       Kwiatkowska et al. (2017);        et al., 2011; Berquist and Wilson, 2012). One in vitro study in human




                                                                                                       F
                             Hypermethylation b     Wozniak et al. (2020)
                                                                                      cells exposed to GBF (but not to glyphosate) reported increased levels of
  P21               PBMCs    Hypomethylationa       Wozniak et al. (2020)
  P53               PBMCs    Hypermethylationa      Kwiatkowska et al. (2017);
                                                                                      8-hydroxydeoxyguanosine (8-OHdG), a DNA base modification that
                                                                                      serves as a biomarker for oxidative stress (Hao et al., 2020). A newly




                                                                                       OO
                                                    Wozniak et al. (2020)
  Proto-oncogenes                                                                     published analysis of farmers in the Agricultural Health Study (AHS) re-
  BCL2            PBMCs    Hypermethylationb        Wozniak et al. (2020)             ported that urinary concentrations of glyphosate were positively associ-
  CCND1           PBMCs    Hypermethylationb        Wozniak et al. (2020)             ated with increased levels of 8-OHdG (ptrend < 0.05) (Chang et al.,
  DNA methylation/demethylation genes
                                                                                      2023). Similarly, in a recent study of primary school children in Cy-
  DNMT1           PBMCs    Increased expressiona    Wozniak et al. (2021)
  DNMT3A          PBMCs    Increased expression     Wozniak et al. (2021)             press, Makris et al. (2022) reported that 8-OHdG was positively associ-
                                a                                                     ated with urinary AMPA concentrations (p < 0.05).
  TET1            MCF10A No change in               Duforestel et al. (2019)              Other in vitro studies in human cells have reported oxidative stress




                                                                               PR
                            expression                                                from glyphosate and/or GBF resulting in increased nitrated proteins
  TET2            MCF10A No change in               Duforestel et al. (2019)
                                                                                      (Chaufan et al., 2014), ROS formation (Heu et al., 2012; George and
                            expression
  TET3            MCF10A Increased expressiona      Duforestel et al. (2019)          Shukla, 2013; Chaufan et al., 2014; Coalova et al., 2014; Luo et al.,
                  PBMCs     Increased               Wozniak et al. (2021)             2017; Gao et al., 2019; Martinez et al., 2020), increased oxidative DNA
                            expressionb                                               damage (Gasnier et al., 2009), Other studies reported similar findings in
  TET activity    MCF10A Increased activitya        Duforestel et al. (2019)          experimental animals (Tang et al., 2017).
  Chromatin remodeling genes
  EHMT1           PBMCs     Increased               Wozniak et al. (2021)
                            expressionb                                               4.5.2. Antioxidant capacity and enzyme levels
                                                                 D
  EHMT2           PBMCs     Decreased expression    Wozniak et al. (2021)                 Human cells exposed to glyphosate in vitro were also reported to
  HDAC3           PBMCs     Increased expressiona   Wozniak et al. (2021)             have altered levels of antioxidant enzymes such as glutathione peroxi-
  HDAC5           PBMCs     Increased               Wozniak et al. (2021)             dase (Gehin et al., 2006; Kasuba et al., 2017; Gao et al., 2019), superox-
                            expressionb
                                                                                      ide dismutase (Gehin et al., 2006; Chaufan et al., 2014; Luo et al., 2017;
                                                    TE

Abbreviations: △: magnitude of change; 5-mC: 5-methylcytosine quantification;
                                                                                      Gao et al., 2019), and catalase (Gehin et al., 2006; Coalova et al., 2014;
BCL2: B-cell lymphoma 2; CCND1: Cyclin D1; DNMT1: DNA methyltransferase
                                                                                      Gao et al., 2019; Abdel-Halim and Osman, 2020), in addition to total
1; DNMT3A: DNA methyltransferase 3alpha; EHMT1: euchromatic histone ly-
sine methyltransferase 1; EHMT2: euchromatic histone lysine methyltrans-
                                                                                      antioxidant capacity and activity (Mladinic et al., 2009a; Kasuba et al.,
ferase 2; HDAC3: Histone deacetylase 3; HDAC5: Histone deacetylase 5; mM-             2017; Barbasz et al., 2020). In a study of male rats, levels of hepatic re-
Tase: methyltransferase; P16: cyclin dependent kinase inhibitor 2A; P21: cyclin       duced glutathione were significantly decreased in glyphosate-exposed
                                      EC



dependent kinase inhibitor 1A; P53: tumor protein p53; TET: ten-eleven                animals (1.98 mmol/g) compared to controls (2.64 mmol/g) (El-
translocationmethyl cytosine dioxygenase; TET1: tet methyl cytosine dioxyge-          Shenawy, 2009). Reduced antioxidant activity limits the defensive abil-
nase 1; TET2: tet methyl cytosine dioxygenase 2; TET3: tet methyl cytosine            ity for inflammation response in cells.
dioxygenase 3.
  a p < 0.05.
                                                                                      4.5.3. Lipid peroxidation
  b A statistically-significant change is not reported, but a △75% or greater
                                                                                          Other cell components, including proteins and lipids, are also sub-
change is observed in any of the dose groups relative to the control group.
                                                                                      ject to oxidative damage with one consequence being lipid peroxida-
                      RR




                                                                                      tion. In a study of humans exposed to glyphosate and other herbicides
4.4.2. Chromatin remodeling                                                           through farming, oxidative stress was measured as the level of malondi-
    Glyphosate exposure was reported to alter expression of genes in-                 aldehyde (MDA) in the urine, a marker of lipid peroxidation, and glu-
volved in methylation and demethylation processes in human PBMCs                      tathione levels (Intayoung et al., 2021). The study reported that post-
(Wozniak et al., 2021) and the human cell line MCF10A (Duforestel et                  work urinary MDA levels in participants using a combination of
al., 2019). Alterations in expression of histone deacetylation genes                  glyphosate and paraquat were significantly higher than those who work
HDAC3 and HDAC5 and histone methylation genes EHMT1 and EHMT2
         CO




                                                                                      with only glyphosate, though differences were not detected among
were also detected (Wozniak et al., 2021).                                            groups using glyphosate or paraquat alone. It is possible that the combi-
    Given consistent findings in studies of human cells demonstrating                 nation of both herbicides synergistically induced MDA (Intayoung et
aberrant methylation of tumor suppressor genes and alteration in gene-                al., 2021), providing some support for the induction of oxidative stress
regulated chromatin architecture in human blood cells, there is                       by glyphosate in humans. However, this study suffered from confound-
“Strong” evidence that glyphosate induces epigenetic alterations.                     ing as the farmers were exposed to mixtures of glyphosate, paraquat
                                                                                      and/or 2,4-D, making it difficult to elucidate the specific effects of each
4.5. KC5: induces oxidative stress                                                    herbicide.
                                                                                          Other biomarkers of oxidative stress have also been reported in hu-
    Oxidative stress is an imbalance between the formation of reactive                man cells in vitro (Martinez et al., 2020). and in various tissues in rats
oxygen species (ROS) and the ability of a cell to detoxify such species.              and mice, including liver, skin, kidney, brain, and plasma. A different
ROS can cause damage to cells, tissues, organs and macromolecules                     study (Astiz et al., 2009) in Wistar rats reported increased lipid peroxi-
such as DNA and proteins, and may be accompanied by the formation                     dation across all tissues studied and reactive nitrogen species in the
of reactive nitrogen species (RNS). Numerous studies indicate                         brain and plasma. A proteomic analysis of Swiss albino mice reported
glyphosate causes oxidative stress (Gehin et al., 2005; Astiz et al., 2009;
Elie-Caille et al., 2010; George and Shukla, 2013; Cattani et al., 2014).



                                                                                                                          Exhibit A Page - 59
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Table 4                                                                             Table 4 (continued)
Studies of key characteristic 5 for glyphosate and formulations in humans and       Outcome                          GBF                              Glyphosate
human cells.
                                                                                                    Positive          Negative         Positive             Negative
 Outcome                       GBF                       Glyphosate
                                                                                     GR                                                                     Abdel-
                 Positive         Negative   Positive          Negative
                                                                                                                                                            Halim and
                                                                                                                                                            Osman
  Oxidative DNA/protein damage
                                                                                                                                                            (2020)
  DNA: 8-       Hao et al.                                     Hao et al.
                                                                                     SOD
    OHdG        (2020)                                         (2020)
                                                                                                    Chaufan et al.    Coalova et al.   Gao et al. (2019) Chaufan et
  Protein       Chaufan et al.                                 Chaufan et
                                                                                                    (2014)            (2014)                             al. (2014)




                                                                                                      F
    oxidation   (2014)                                         al. (2014)
                                                                                                                      (Atanor)
  Reactive oxygen species (ROS) formation
                                                                                                    Gehin et al.      Coalova et al.   Gehin et al.
  ROS: 2,7-                                  Martinez et al.
                                                                                                    (2006)            (2014) (Atanor   (2006)
    DCFH                                     (2020)




                                                                                     OO
                                                                                                                      in mixture)
  ROS: DCFDA                                                   Heu et al.
                                                                                                    Luo et al.
    H2O2                                                       (2012)
                                                                                                    (2017)
                                                               (0.5h)
                                                                                     CAT
                                                               Heu et al.
                                                                                                   Coalova et al.     Chaufan et al.   Gao et al. (2019) Chaufan et
                                                               (2012)(6h)
                                                                                                   (2014)             (2014)                             al. (2014)
                                                               Heu et al.
                                                                                                   (Atanor)
                                                               (2012)(18h)
                                                                                                   Coalova et al.                      Gehin et al.
  ROS: DCFH-     Hao et al.                  Gao et al. (2019) Hao et al.
                                                                                                   (2014)                              (2006)
   DA            (2020)                                        (2020)




                                                                          PR
                                                                                                   (Atanor in
                 Luo et al.                  George and        Kasuba et
                                                                                                   mixture)
                 (2017)                      Shukla (2013)     al. (2017)
                                                                                                   Gehin et al.                        Abdel-Halim and
                                                               (4h)
                                                                                                   (2006)                              Osman (2020)#
                                                               Kasuba et
                                                                                     Small molecule levels
                                                               al. (2017)
                                                                                     MDA           Luo et al.         Intayoung et al. Mladinic et al.
                                                               (24h)
                                                                                                   (2017)             (2021)*          (2009b) (-S9)
  ROS:           Wozniak et al.              Wozniak et al.    Chaufan et
                                                                                                                                       Mladinic et al.
   H2DCFDA       (2018)                      (2018)            al. (2014)
                                                                                                                                       (2009b) (+S9)
                 Chaufan et al.              Kwiatkowska et
                                                               D
                                                                                                                                       Abdel-Halim and
                 (2014)                      al. (2020)
                                                                                                                                       Osman (2020)
                 Coalova et al.              Kwiatkowska et
                                                                                                                                       Barbasz et al.
                 (2014)                      al. (2020) (N-
                                                                                                                                       (2020) (U-937)
                 (Atanor)                    methylG)
                                                                                                                                       Barbasz et al.
                                                TE

                 Coalova et al.
                                                                                                                                       (2020) (HL-60)
                 (2014)
                                                                                                                                       Martinez et al.
                 (Atanor in
                                                                                                                                       (2020)
                 mixture)
                                                                                                                                       Gao et al. (2019)
  ROS: H2R123                                Kwiatkowska et
                                                                                     GSH            Gehin et al.      Intayoung et al. Abdel-Halim and Chaufan et
                                             al. (2014)
                                                                                                    (2006)            (2021)*          Osman (2020)#     al. (2014)
  ROS: DAF-2                                 Martinez et al.
                                                                                                    Luo et al.        Chaufan et al.   Gehin et al.
                                       EC



   DA                                        (2020)
                                                                                                    (2017)            (2014)           (2006)
  ROS: HPF       Wozniak et                  Wozniak et al.
                                                                                                                      Coalova et al.   Kasuba et al.
                 al. (2018)                  (2018)
                                                                                                                      (2014)           (2017) (4h)
                                             Kwiatkowska et
                                                                                                                      Coalova et al.   Kasuba et al.
                                             al. (2020)
                                                                                                                      (2014)           (2017) (24h)
                                             Kwiatkowska et
                                                                                     GSSG           Gehin et al.                       Gehin et al.
                                             al. (2020)
                                                                                                    (2006)#                            (2006)
                                             (N-methylG)
                                                                                     GSH/GSSG       Gasnier et al.
                       RR




  Total antioxidant
                                                                                                    (2010)#
  Capacity                                   Barbasz et al.
                                                                                     TBARS          Gehin et al.      Wijerathna et    Kasuba et al.        Kasuba et
                                             (2020) (U-937)
                                                                                                    (2006)            al. (2020) (8-   (2017)# (4h)         al. (2017)
                                             Barbasz et al.
                                                                                                                      IsoPs)*                               (24h)
                                             (2020) (HL-60)
                                                                                                                                       Gehin et al.
  Activity                                   Kasuba et al.
                                                                                                                                       (2006)
                                             (2017) (4h)#
                                             Kasuba et al.                          Abbreviations:     2,7-DCFH,     2′,7′-dichlorofluorescin    diacetate;    8-
        CO




                                             (2017) (24h)                           hydroxydeoxyguanosine, 8-OHdG; CAT, catalase; DAF-2 DA, Diaminofluores-
                                             Mladinic et al.                        cein-2 diacetate; DCFDA, dichlorofluorescin diacetate; DCFH-DA, di-
                                             (2009b) (-S9)                          acetyldichlorofluorescein; H2DCFDA, 2′,7′-Dichlorodihydrofluorescein diac-
                                             Mladinic et al.
                                                                                    etate; HPF, hydroxyphenyl fluorescein; H2O2, hydrogen peroxide; GR, glu-
                                             (2009b) (+S9)
  Antioxidant enzyme levels
                                                                                    tathione reductase; GSH-peroxidase, glutathione-peroxidase; GSH, glutathione;
  GSH-          Gehin et al.                 Gao et al. (2019) Abdel-               GSSG, glutathione disulfide; MDA, malondialdehyde; ROS, reactive oxygen
   peroxidase (2006)                                           Halim and            species; SOD, superoxide dismutase; TBARs, thiobarbituric acid reactive sub-
                                                               Osman                stances.
                                                               (2020)#
                                             Gehin et al.                           overexpression of CAIII, a cytoplasmic protein that plays a role in cellu-
                                             (2006)
                                                                                    lar response to oxidative stress (George et al., 2010).
                                             Kasuba et al.
                                             (2017)(4h)                                 Multiple studies show that glyphosate and GBF induce oxidative
                                             Kasuba et al.                          stress in humans, human cells, and experimental animals. Hence, there
                                             (2017)(24h)                            is “strong” evidence that glyphosate and GBF possess key characteristic
                                                                                    5 and induce oxidative stress.




                                                                                                                              Exhibit A Page - 60
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4.6. KC6: induces chronic inflammation                                            Table 5
                                                                                  Major chronic inflammation outcomes from in vivo and in vitro human and
    It is well known that repeated exposure to many chemical carcino-             non-human studies of glyphosate or GBF exposure.
gens cause chronic inflammation, though the functional relationship is             KC6 Outcomes                                     Results
difficult to capture through in vitro assay systems, because chronic in-
                                                                                                         Increased                                   No association
flammation occurs over an extended period. Most supporting data are
limited to histopathology following repeated in vivo exposures and                  Human
proinflammatory biomarker measurements, such as C-reactive proteins                 Signaling
(CRP). A summary of the results for KC6 is presented in Table 5.                      biomarkers
                                                                                    CRP                  Mariager et al. (2013); Hamdaoui et al.     Zhang et al.




                                                                                                     F
                                                                                                         (2019)                                      (2016)
4.6.1. Human studies of inflammation
                                                                                    IL-1β                                                            Nakashima et
   Inflammation due to exposure to glyphosate or GBF have been re-                                                                                   al. (2002)
ported in humans in several case reports, in vivo and in vitro studies.             IL-2                                                             Nakashima et




                                                                                    OO
                                                                                                                                                     al. (2002)
4.6.1.1. Inflammatory response in humans with acute/accidental expo-                IL-6                 Martinez et al. (2020)
                                                                                    Nitric oxide         Barbasz et al. (2020)
sure. Individuals acutely exposed to high levels of Roundup were
                                                                                    IFN-γ                                                            Nakashima et
found to have increased CRP (Mariager et al., 2013), leukocytosis                                                                                    al. (2002)
(Mariager et al., 2013; Kawagashira et al., 2017), lymphocytosis                    TNF-⍺                Martinez et al. (2020)                      Nakashima et
(Kawagashira et al., 2017), eosinophilia (Kawagashira et al., 2017),                                                                                 al. (2002)
and thrombocythemia (Mariager et al., 2013), per multiple case re-                  Intercellular biomarkers
                                                                                    Eosinophils          Kawagashira et al. (2017)




                                                                    PR
ports. In one individual, repeated exposures to glyphosate were found
                                                                                    Lymphocytes          Kawagashira et al. (2017)
to trigger allergic cutaneous vasculitis, a rare disease characterized by           Platelets            Mariager et al. (2013)
inflammation of the blood vessels (Zhang et al., 2021a).                            White blood cells    Mariager et al. (2013); Kawagashira et al.
                                                                                                         (2017)
4.6.1.2. Increased levels of CRP among occupationally exposed farmers.              Physical Manifestations
                                                                                    Swelling             Mariager et al. (2013)
The effects of occupational exposure to glyphosate on CRP levels have
                                                                                    Mammals
only recently been elucidated. Previously, a study of farmers that self-            Histopathology
reported exposures to pesticide cocktails that included glyphosate at               Cellular congestion  Kale et al. (2021)
                                                          D
lower levels of 0.60 kg/year did not detect changes in CRP (Zhang et                Cellular swelling    Caglar and Kolankaya (2008) Djaber et al.
al., 2016). The authors noted challenges in exposure assessment, given                                   (2020)
farmers were exposed at lower levels that were not confirmed via bio-               Eosinophils          Kumar et al. (2014)
                                                                                    Focal necrosis       Caglar and Kolankaya (2008); Soudani et
monitoring. These limitations were overcome in a more recent study
                                              TE

                                                                                                         al. (2019); Djaber et al. (2020); Zhang et
which used urinary samples to detect glyphosate levels in conjunction                                    al. (2021a)
with questionnaires, blood tests, and pulmonary function tests                      Inflammatory cell    Caglar and Kolankaya (2008); Djaber et al.
(Sidthilaw et al., 2022). The study reported that CRP levels increased                infiltration       (2020) Zhang et al. (2021a)
post-spraying among farmers with higher exposures to glyphosate of                  Leukocytes           Soudani et al. (2019)
                                                                                    Lymphocytic          de Maria Serra et al. (2021); Pandher et al.
600 L/day when compared to their CRP levels prior to exposure
                                                                                      inflammation       (2021)
                                 EC



(Sidthilaw et al., 2022). This paper was published after our formal lit-            Mast cell            de Maria Serra et al. (2021)
erature search end date but is included here for completeness.                      Neutrophil           Kumar et al. (2014)
                                                                                    Polynuclear giant    Soudani et al. (2019)
4.6.1.3. Pro-inflammatory biomarkers in human cell lines. In human cell               cells
                                                                                    Signaling biomarkers
lines, glyphosate exposure significantly increased interleukin (IL)-6
                                                                                    CRP                  Pandey et al. (2019)
and tumor necrosis factor-α (TNF-α) mRNA expression in SH-SY5Y                      IL-10                Kumar et al. (2014); Pandher et al. (2021)
neuroblastoma cells (Martinez et al., 2020). In another in vitro study,
                    RR




                                                                                    IL-13                Kumar et al. (2014); Pandher et al. (2021)
Barbasz et al. (2020) reported a statistically significant increase in ni-          IL-1β                Pandey et al. (2019); Pandher et al. (2021) Qiu et al.
tric oxide (NO) secretion in the U-937 monocyte cell line, and HL60, a                                   Zhang et al. (2021a)                         (2020)
                                                                                    IL-18                Zhang et al. (2021a)
promyelocyte cell line.
                                                                                    IL-33                Kumar et al. (2014)
                                                                                    IL-4                 Pandher et al. (2021)                        Kumar et al.
4.6.2. Inflammation in animal studies                                                                                                                 (2014)
4.6.2.1. Histopathology in glyphosate-exposed rats and mice.                        IL-5                 Kumar et al. (2014) Pandher et al. (2021)
        CO




Histopathological analysis, the best measure of chronic inflammation,               IL-6                 Pandey et al. (2019); Pandher et al. (2021)
                                                                                                         Qiu et al. (2020)
was conducted in several subacute and subchronic studies where rats
                                                                                    IL-8                                                              Qiu et al.
were exposed between 50 and 560 mg/kg of glyphosate or Roundup                                                                                        (2020)
(Caglar and Kolankaya, 2008; Soudani et al., 2019; Djaber et al.,                   KC                   Pandher et al. (2021)
2020; de Maria Serra et al., 2021; Kale et al., 2021). Following expo-              MCP-1                Pandher et al. (2021)
sure, the rats developed critical signs of inflammation, ranging from               MIP-2                Pandher et al. (2021)
infiltration of mononuclear and mast cells, focal necrosis and lympho-              TNF-⍺                Pandey et al. (2019); Pandher et al. (2021) Qiu et al.
                                                                                                                                                      (2020)
cytic inflammation in the liver, tongue, intestines, kidney, and pan-               TSLP                 Kumar et al. (2014)
creas. Of note, inflammation developed in these rats regardless of                  NLRP3                Zhang et al. (2021a)
route of administration (i.e. oral, inhalation, intraperitoneal injection)          GSDMD                Zhang et al. (2021a)
and in several target organs, potentially indicating systemic toxicity.           Abbreviations: CRP, C-reactive protein; IFN-γ, interferon-γ; IL-10, interleukin
    Similarly, mice that were intranasally and orally exposed to higher           10; IL-13, interleukin 13; IL-1β, interleukin 1 beta; IL-18, interleukin 18; IL-33,
doses of glyphosate developed accumulation of inflammatory cells in               interleukin 33; IL-4, interleukin 4; IL-5, interleukin 5; IL-6, interleukin 6; IL-8,
the lung and kidneys, renal tubule swelling, and proliferation of inter-
stitial fibroblasts in the kidneys (Kumar et al., 2014; Pandher et al.,



                                                                                                                           Exhibit A Page - 61
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interleukin 8; KC, keratinocyte chemoattractant; MCP-1, monocyte chemoat-           of glyphosate and GBF on the microbiome. The results from these stud-
tractant protein-1; MIP-2, macrophage inflammatory protein-2; TNF-⍺, tumor          ies are summarized in Table 6.
necrosis factor alpha; TSLP, thymic stromal lymphopoietin; NLRP3, NOD-, LRR-            While relatively new, studies into the effects of glyphosate and GBF
and pyrin domain-containing protein 3; GSDMD, gasdermin D.                          on the gut microbiome show strong evidence of dysbiosis and can alter
                                                                                    the protective nature of the gut microbiome in several species, causing
                                                                                    extensive inflammation (Kruger et al., 2013; Shehata et al., 2013;
2021; Wang et al., 2021; Zhang et al., 2021b). These effects were seen              Aitbali et al., 2018; Davoren and Schiestl, 2018; Kittle et al., 2018;
regardless of route of administration in acute, subacute, and subchronic            Lozano et al., 2018; Mao et al., 2018; Motta et al., 2018; Nielsen et al.,
exposure studies.                                                                   2018; Blot et al., 2019; Tang et al., 2020).
                                                                                        The balance of pro- and anti-inflammatory effects by the gut micro-




                                                                                                        F
4.6.2.2. Biomarker levels in glyphosate-exposed mammals. Pro-                       biome is sensitive to glyphosate exposure. Most recently, a study by
inflammatory cytokines, some acute phase proteins and intracellular                 Billenkamp et al. (2021) examined the potential diversity and short-
markers are consistent and easily measurable biomarkers of both                     chain fatty acid (SCFA) production by the microbiome in Holstein cows




                                                                                      OO
acute and chronic inflammation. Liver and adipose tissues from rats                 who were exposed to glyphosate contaminated feed. It was found that
orally exposed to various doses of Roundup (0, 5, 10, 25, 50, 100 and               although the microbiome had no significant alpha, beta and taxonomic
250 mg/kg bodyweight [bw] glyphosate) for 14 days had elevated                      changes, there were significant alterations in the SCFA being produced
CRP, IL-1β, IL-6, TNF-α, and prostaglandin-endoperoxide synthase, in-               by the gut microbiome, namely total SCFA and isovalerate (Billenkamp
dicative of an inflammatory phenotype (Pandey et al., 2019). Addi-                  et al., 2021). SCFA products generated by gut bacteria can act as im-
tionally, inhalation of glyphosate-rich air samples by mice increased               mune regulators, playing a passive role in intestinal barrier function
IL-5, IL-10, IL-13, IL-33, and thymic stromal lymphopoietin (TSLP)                  and inhibiting certain kinds of intestinal disease, such as colitis or col-




                                                                      PR
(Kumar et al., 2014). In another study of effects of glyphosate on the
lungs, a cytokine and chemokine panel revealed that glyphosate sig-
nificantly increased the levels of TNF-α, keratinocyte chemoattractant
(KCA), monocyte chemo-attractant protein−1 (MCP-1), macrophage                      Table 6
inflammatory protein-2 (MIP-2), IL-1β, IL-10, IL-13, IL-33, IL-4, IL-5,             Major microbiome outcomes from in vivo non-human studies of glyphosate or
                                                                                    GBF exposure.
and IL-6 (Pandher et al., 2021).
    Most recently, Zhang et al. (2021b) published a paper delving into               Outcomes                                        Results
the effects of glyphosate and its effect on the mitochondrial ROS
                                                           D
                                                                                                           Altered                        Unaltered
(mtROS)-Txnip-Nlrp3 or the inflammasome pathway. This study of
male mice exposed to glyphosate reported that expression of inflamma-                 Dysbiosis
some pathway proteins (Txnip, Nlrp3, c-caspase-1, GSDMD, c-GSDMD)                     Alpha Diversity    Nielsen et al. (2018); Tang et   Mao et al. (2018); Mesnage et
                                                                                                         al. (2020)                       al. (2021)
                                               TE

and related cytokines (c-IL-1b and c-IL-18) were significantly increased
                                                                                      Beta Diversity     Mesnage et al. (2021)            Mao et al. (2018)
in renal tissue in both the glyphosate and glyphosate with hard water
                                                                                      Richness           Tang et al. (2020)
groups, with a synergistic effect seen in the co-exposure group (Zhang                Bacterial          Lozano et al. (2018);
et al., 2021b). This study points to the idea that glyphosate may be act-               composition      Dechartres et al. (2019)
ing on this mtROS-Txnip-Nlrp3 pathway by first generating ROS in the                                     Nielsen et al. (2018); Tang et
target tissue to induce the formation of the NLRP3 inflammasome for                                      al. (2020)
                                                                                      Overall Diversity  Aitbali et al. (2018); Mao et
                                  EC



the release of pro-inflammatory cytokines. Although the results are                                      al. (2018)
promising, further studies are needed to confirm this mechanism.                      Microbiome metabolites
                                                                                      SCFA - acetate     Nielsen et al. (2018)
4.6.2.3. Intestinal inflammation in glyphosate-exposed animals. Several               SCFA - proprionate                                  Nielsen et al. (2018)
studies reported that the inflammatory response in glyphosate-exposed                                                                     Billenkamp et al. (2021)
                                                                                      SCFA - butyrate                                     Nielsen et al. (2018);
animals particularly affected the gut. A study by Qiu et al. (2020) re-                                                                   Billenkamp et al. (2021)
ported that piglets exposed to glyphosate at any of the doses had ele-
                     RR




                                                                                      SCFA - valerate                                     Nielsen et al. (2018);
vated IL-6 mRNA expression in the jejunum, and at the two highest                                                                         Billenkamp et al. (2021)
doses, in the duodenum as well. Other cytokines that were slightly ele-               SCFA - isobutyrate                                  Billenkamp et al. (2021)
vated include IL-1β, IL-8, TNF-α and NFκB, albeit not statistically sig-              SCFA - isovalerate  Billenkamp et al. (2021)
                                                                                      Cysteinylglycine    Mesnage et al. (2021)
nificant. In another study that examined the effects of glyphosate ex-
                                                                                      Prolylglycine       Mesnage et al. (2021)
posure on the intestines, rats were orally exposed to glyphosate (0, 5,               Valylglycine        Mesnage et al. (2021)
50, 500 mg/kg) for 35 days and the mRNA of specific cytokines and                     Linolenoylcarnitine Mesnage et al. (2021)
        CO




intracellular markers were measured (Tang et al., 2020). IL-1β, IL-6,                 Inflammatory cytokines
TNF-α, MAPK3, NFκB, and caspase-3 were detected in the duodenum,                      IL-1β               Tang et al. (2020)
jejunum, and ileum, although each section of the intestines had vary-                 IL-6                                                Tang et al. (2020)
                                                                                      TNF-⍺               Tang et al. (2020)
ing degrees of elevated biomarkers: the duodenum had significantly
elevated levels of TNF-α, MAPK3, NFκB, and caspase-3, the jejunum                   Abbrevations: IL-1β, interleukin 1 beta; IL-6, interleukin 6; SCFA, short chain
had increased IL-1β, TNF-α, MAPK3, NFκB, and caspase-3, and the                     fatty acid; TNF-⍺, tumor necrosis factor alpha.
ileum had elevated NFκB, and caspase-3 (Tang et al., 2020).                         Overall, the evidence that glyphosate and GBF produce chronic inflammation is
                                                                                    “strong.” There is clear human, animal and in vitro data that support that notion
                                                                                    that glyphosate or GBF increases the level of circulating cytokines and the accu-
4.6.3. Glyphosate perturbs the gut microbiome
                                                                                    mulation of pro-inflammatory immune cells, such as eosinophils and neu-
    It is possible that the intestinal inflammation detailed in the previ-          trophils. Furthermore, histopathological examination of target organ tissues
ous section could be influenced by dysregulation of the gut microbiota.             confirms the presence of inflammatory cell types and localized and systemic
Altered microbiomes can cause both local and systemic chronic inflam-               damage, as seen in the liver, lung, kidney, and intestines. Lastly, the variation in
mation and, as a result, produce systemic oxidative stress and genotoxi-            gut microbiome composition, the decreased levels of SCFA, and the increased
city (Yamamoto et al., 2013). Several studies have reported the impact              pro-inflammatory markers associated with changes in the microbiome indicate
                                                                                    another means by which glyphosate and its formulations give rise to chronic in-
                                                                                    flammation.



                                                                                                                            Exhibit A Page - 62
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orectal cancer, through their anti-inflammatory properties (Fan et al.,           Table 7
2021).                                                                            Major hematotoxicity outcomes from in vivo and in vitro human and non-
    The purported safety of glyphosate and GBF in humans is based on              human studies of glyphosate or GBF exposure.
the premise that mammals lack the aromatic amino acid synthesis shiki-            KC7                                            Results
mate pathway that is inhibited by the herbicide. However, this pathway            Outcomes
                                                                                                  Increased               No association        Decreased
is found within commensal micro-organisms found in the mammalian
gut. Using a combination of shotgun-metagenomics and metabolomics,                 WBC            Hamdaoui et al.         Schnabel et al.
Mesnage et al. (2021) investigated the gut microbiome of rats exposed                             (2019)                  (2020)
to increasing doses of glyphosate and the European equivalent of                   Lymphocytes                                                  Hamdaoui et al. (2019)
Roundup, MON 52276. Glyphosate treatment resulted in the accumula-                 Albumin     Turkmen et al.                                   Owagboriaye et al.




                                                                                                    F
                                                                                               (2019a)                                          (2019); Djaber et al.
tion of shikimate pathway intermediates in the ceca, suggesting local-
                                                                                               Turkmen et al.                                   (2020); Almeida et al.
ized inhibition of EPSPS in the cecum microbiome. Additionally, serum                          (2019b)                                          (2021a); Kale et al.
metabolomics suggested that MON 52276 had a more pronounced ef-                                                                                 (2021)




                                                                                   OO
fect on the serum metabolome than glyphosate, indicating potential ad-             Hematocrit     Owagboriaye et al.      Schnabel et al.       Jasper et al. (2012);
ditional systemic effects. Metagenomics of the cecum showed that treat-                           (2019)                  (2020)                Wang et al. (2019a);
                                                                                                                          Hamdaoui et al.       Almeida et al. (2021a)
ment with glyphosate and MON 52276 changed the gut microbial com-
                                                                                                                          (2019)
position with expansions of Eggerthella spp., Shinella zoogleoides, Acine-                                                Owagboriaye et
tobacter johnsonii, and Akkermansia muciniphila, which could potentially                                                  al. (2019)
trigger an inflammatory response.                                                  Hemoglobin                             Schnabel et al.       Hamdaoui et al. (2019)
                                                                                                                          (2020)                Jasper et al. (2012)
    Glyphosate or GBF exposure has also been shown to alter gut micro-
                                                                                                                          Owagboriaye et        Owagboriaye et al.




                                                                    PR
biota composition. In a study with gestational rats treated with                                                          al. (2019)            (2019); Wang et al.
glyphosate or Roundup, Dechartres et al. (2019) reported that the gut                                                                           (2019a); Almeida et al.
microbiome was significantly altered with dysbiosis at the phylum,                                                                              (2021a)
family and genus levels on postpartum day 22, although this was for-               Erythrocytes                           Schnabel et al.       Hamdaoui et al. (2019)
                                                                                                                          (2020)
mulation-specific. Compositional differences were also reported in a
                                                                                   MCH            Hamdaoui et al.         Schnabel et al.
different study of rats that were exposed to glyphosate. Tang et al.                              (2019)                  (2020)
(2020) reported increased alpha diversity and altered bacterial compo-                            Chan and Mahler         Jasper et al.
sition in the 16s rRNA sequences, potentially explaining the increased                            (1992)                  (2012);
                                                          D
mRNA of pro-inflammatory cytokines (Tang et al., 2020).                                                                   Owagboriaye et
                                                                                                                          al. (2019)
    Overall, the evidence that glyphosate and GBF produce chronic in-              MCV            Chan and Mahler         Schnabel et al.
flammation is “strong.” There is clear human, animal and in vitro data                            (1992); Jasper et al.   (2020)
that support that notion that glyphosate or GBF increases the level of
                                              TE

                                                                                                  (2012); Owagboriaye
circulating cytokines and the accumulation of pro-inflammatory im-                                et al. (2019)
                                                                                   MCHC           Hamdaoui et al.         Schnabel et al.
mune cells, such as eosinophils and neutrophils. Furthermore,
                                                                                                  (2019)                  (2020)
histopathological examination of target organ tissues confirms the pres-                                                  Jasper et al.
ence of inflammatory cell types and localized and systemic damage, as                                                     (2012);
seen in the liver, lung, kidney, and intestines. Lastly, the variation in                                                 Owagboriaye et
                                                                                                                          al. (2019)
                                 EC



gut microbiome composition, the decreased levels of SCFA, and the in-
creased pro-inflammatory markers associated with changes in the mi-               Abbreviations: MCH, mean corpuscular hemoglobin; MCV, mean corpuscular
crobiome indicate another means by which glyphosate and its formula-              volume; MCHC, mean corpuscular hemoglobin concentration; WBC, white
tions give rise to chronic inflammation.                                          blood cell.


4.7. KC7: is immunosuppressive                                                    Djaber et al., 2020; Almeida et al., 2021b; Kale et al., 2021). On the
                                                                                  contrary, both the Turkmen et al. studies indicated that GBF at 375 mg/
                    RR




    As detailed above in Section 4.6, exposure to glyphosate appears to           kg significantly increased albumin in the blood (Turkmen et al., 2019a,
stimulate the immune response rather than suppress it. Only one study             2019b). Furthermore, 134.95 and 269.9 mg/kg of glyphosate and GBF,
reported slightly inhibited cytokine levels in human PBMCs                        respectively, were shown to have no effect on albumin when rats were
(Nakashima et al., 2002).                                                         intraperitoneally exposed.
                                                                                      Decreases in hematocrit (Jasper et al., 2012; Hamdaoui et al., 2019;
4.7.1. Glyphosate-associated hematotoxicity                                       Wang et al., 2019b; Almeida et al., 2021b) and hemoglobin (Jasper et
        CO




    Although most studies reported inflammation, it should be noted               al., 2012; Hamdaoui et al., 2019; Owagboriaye et al., 2019; Almeida et
that immunosuppression may occur due to impaired hematopoiesis, an                al., 2021b) were observed in mammalian studies of rats and mice ex-
outcome which has been linked to glyphosate exposure. We summa-                   posed to GBF, and glyphosate alone only at high concentrations.
rized hematotoxicity outcomes related to glyphosate exposure in Table                 Rats exposed to glyphosate or GBF experienced increased MCH
7.                                                                                (Chan and Mahler, 1992; Jasper et al., 2012; Hamdaoui et al., 2019;
    Hamdaoui et al. (2019) reported that female rats exposed to the               Owagboriaye et al., 2019), MCHC (Jasper et al., 2012; Hamdaoui et al.,
Tunisian GBF formulation Kalach 360 SL experienced increased white                2019; Owagboriaye et al., 2019), MCV (Chan and Mahler, 1992; Jasper
blood cells but decreased percentage of lymphocytes, potentially indi-            et al., 2012; Owagboriaye et al., 2019), though the elevations detected
cating an increase in other myeloid cells such as neutrophils and                 for the latter two parameters were not statistically significant in most of
eosinophils (as previously described in Section 4.6) due to increased             the studies. One study of cows orally exposed to glyphosate reported no
inflammation in the body. However, the study by Schnabel et al.                   changes in MCH, MCV, and MCHC (Schnabel et al., 2020).
(2020) reported no changes in total white blood cell counts nor other                 While the data on hematotoxicity are informative, they may reflect
immune cell types among cows exposed to GBF.                                      toxicity as opposed to immunosuppression. Hence, the evidence for
    Several studies reported significant decreases in albumin when rats           KC7 is “inadequate.”
were orally exposed to glyphosate or GBF (Owagboriaye et al., 2019;



                                                                                                                           Exhibit A Page - 63
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4.8. KC8: Modulates receptor-mediated effects

    A growing body of evidence indicates that glyphosate and its formu-
lations are endocrine-disrupting chemicals that can modulate hormone
signaling in numerous ways (Mnif et al., 2011;(Munoz et al., 2021).
Here, we briefly summarize glyphosate and GBF-associated perturba-
tions in the endocrine system.

4.8.1. Glyphosate alters estrogen synthesis
    Glyphosate and its formulations have been shown to alter estrogen




                                                                                                   F
levels in humans. Newly available data from the National Health and
Nutrition Examination Survey (NHANES) revealed that urinary
glyphosate levels were inversely correlated with serum total estradiol




                                                                                   OO
(p < 0.05) among a representative sample of the general US population
(n = 2310, 81.6% with detectable glyphosate) (Geier and Geier, 2023).
    Glyphosate and GBF can perturb the estrogen pathway by inappro-
priately binding to cytochrome P450 19A1, also known as aromatase,
an enzyme that converts testosterone to estrogen. Indeed, both
glyphosate and GBF inhibited activity of aromatase in human micro-
somes exposed ex vivo (Richard et al., 2005; Zhang et al., 2020), with




                                                                    PR
the formulation notably displaying inhibitory effects at lower concen-
trations than the active ingredient itself (Richard et al., 2005). Roundup
and glyphosate inhibit aromatase at lower concentrations of the sub-              Fig. 4. Varying effects of different doses of glyphosate (G), glyphosate-based
strate androstenedione conversion to estradiol, an effect that is elimi-          formulations (GBF), genistein (a plant-based phytoestrogen), and/or estrogen
nated when the enzyme is saturated at higher levels of substrate and              (E2) alone or in an E2 withdrawal medium (WM) for varying days (d) on es-
that was notably higher for glyphosate alone (Richard et al., 2005;               trogen response element (ERE) activity. Data sources: Thongprakaisang et al.
Zhang et al., 2020). Interestingly, very high concentrations of                   (2013), Mesnage et al. (2017), and Zhang et al. (2020).
glyphosate also alter the catalytic efficiency of aromatase, indicating an
                                                          D
uncompetitive inhibition mechanism in which the inhibitor displays                and Roundup were reported to have lower serum progesterone levels in
unequal affinity to the enzyme and the enzyme-substrate complex                   both treatment groups and increased estrogen concentration in
(Zhang et al., 2020). Other in vitro studies have similarly reported that         glyphosate-only exposure group (Ren et al., 2018). GBF exposure also
both glyphosate and GBF disrupt aromatase activity in human cells
                                                TE

                                                                                  increased expression of LH and decreased expression of gonadotropin-
(Defarge et al., 2018). These findings are supported by in silico molecu-         releasing hormone (GnRH) (Ren et al., 2018). Exposure of ovarian gran-
lar docking studies in which glyphosate was predicted to bind to the ac-          ulosa cells in vitro to glyphosate, and especially GBF, resulted in de-
tive site of aromatase (Zhang et al., 2020).                                      creased estradiol production and cell proliferation (Perego et al.,
                                                                                  2017a, 2017b). Several in vivo studies of pre-pubertal male rats exposed
4.8.2. Glyphosate modulates estrogen receptor activity                            to glyphosate have reported lower testosterone levels, spermatid num-
                                 EC



    The effects of glyphosate at various doses on estrogen receptor (ER)          bers, and altered sperm and testicular morphology (Nardi et al., 2017;
activity have been studied in different human cell lines and are summa-           Pandey and Rudraiah, 2015; Romano et al., 2010). Zhao and colleagues
rized and color-coded in Fig. 4. In T47D human breast cancer cells, the           demonstrated that glyphosate perturbs testosterone synthesis via
presence of glyphosate at low concentrations (<10−3 mg/L = <1 μg/                 NR1D1 mediated inhibition of steroidogenic acute regulatory protein
L) enhances the effects of the known ER ligands estradiol (E2) (Purple            (StAR) expression in mouse Leydig cells present in the testis (Zhao et
data) and genistein (Brown data) on estrogen receptor element expres-             al., 2021). Another study reported increased ESR1 expression and in-
sion, but produces less effect when E2 is not present (Red data)                  creased mast cell infiltration and proliferation among sexually mature
                    RR




(Thongprakaisang et al., 2013). Only at much higher, non-physiological            rats, and greater development of the mammary gland and increased ter-
concentrations was glyphosate itself shown to activate ER in T47D cells           minal end buds among pre-pubertal rats, all of which had been neona-
in the absence of E2 (Yellow data) and GBF had no effect in the same              tally exposed to GBF (Altamirano et al., 2018).
study (Green data) (Mesnage et al., 2017). Glyphosate also had no ef-                 Overall, these findings indicate that glyphosate's ability to modulate
fect on ER activity in MCF7 cells (Zhang et al., 2020). These data show           hormone levels and estrogen receptor activity is complex and sensitive
that glyphosate is unlikely to be an ER ligand at toxicologically relevant        to exposure concentration and formulation. However, the modulations
        CO




concentrations but may enhance the activity of known ligands by bind-             observed are clear evidence that glyphosate interacts with receptors, al-
ing to an allosteric site or otherwise altering the conformation of ER at         ters receptor activation, and modulates the levels and effects of endoge-
lower concentrations.                                                             nous ligands (including hormones). Therefore, the evidence for KC8 is
    This behavior, when interpreted with the findings described above             considered, “strong.”
in Section 4.8.1, support the idea that glyphosate lowers estrogen syn-
thesis through the inhibition of aromatase, but enhances the effects of           4.9. KC9: causes immortalization
natural and synthetic estrogens on ER. The consequences of this form of
endocrine disruption are multiple and will be dependent on dose.                      Our search yielded no studies indicating that glyphosate or GBF
                                                                                  caused immortalization or affected telomeres, indicating the evidence
4.8.3. Glyphosate exposure alters endocrine ligand synthesis                      for KC9 is “inadequate.”
    Experimental studies in rats reported that GBF exposure decreased
estrogen secretion and impaired folliculogenesis (Hamdaoui et al.,                4.10. KC10: alters cell proliferation, cell death, or nutrient supply
2018), and decreased levels of testosterone, follicle stimulating hor-
mone (FSH), luteinizing hormone (LH), and increased serum prolactin                  Most studies reported that glyphosate exposure increased apoptotic
levels (Owagboriaye et al., 2017). Pregnant mice exposed to glyphosate            and necrotic cell death rather than inhibiting them. Some studies re-



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                                                             D
                                                 TE


Fig. 5. Evidence from the key characteristics of carcinogens for glyphosate aids development of a probable mechanism for development of NHL and informs applica-
                                   EC



tion of the adverse outcome pathway (AOP) and hallmarks of cancer framework. The proposed AOP highlights molecular interactions, such as genotoxic effects on
DNA, the increased expression of AID, epigenetic changes, inhibition of the Shikimate pathway in the microbiome, and aromatase inhibition which can lead to subse-
quent key events at higher levels of organization, such as chromosome rearrangements, increased oxidative stress, disrupted hormone levels, and systemic inflamma-
tion. These processes can contribute to progressive acquisition of the hallmarks of cancer and the development of lymphoma from mutated lymphocytes.


ported increases in metabolic activity in certain cell lines (George and            possessing multiple key characteristics of carcinogens has become
                     RR




Shukla, 2013; Thongprakaisang et al., 2013; Mesnage et al., 2017;                   stronger since IARC's evaluation in 2015 and implicates several path-
Sritana et al., 2018), mainly through estrogenic pathways (see Section              ways by which these substances could induce cancer, such as lym-
4.8). Overall, the evidence for KC10 is “inadequate.”                               phoma, in humans.

5. Discussion                                                                       5.1. Highest quality studies indicate GBF are genotoxic and have a greater
                                                                                    effect than glyphosate alone
    We conducted a systematic review of all available mechanistic stud-
        CO




ies in the published literature until August 2021 following all appropri-               One of the greatest areas of debate around glyphosate's potential
ate guidelines. We systematically analyzed the data related to the                  carcinogenicity is whether its formulations and the compound itself are
strength of the evidence for each of the 10 key characteristics of car-             genotoxic (KC2). Therefore, we carefully evaluated these studies using
cinogens using the guidelines in IARC's Preamble (IARC, 2019). We                   Genetic Toxicology TGs developed by OECD (2017b). The TG provides
concluded that there was strong evidence that glyphosate and/or GBF                 definitions for in vivo and in vitro assays that evaluate two types of ge-
possess five key characteristics of carcinogens, namely KC2 (is geno-               netic toxicology endpoints: mutagenicity and, more broadly, genotoxic-
toxic), KC4 (causes epigenetic alterations), KC5 (induces oxidative                 ity. As described in Section 4.2, mutagenicity results in irreversible
stress), KC6 (induces chronic inflammation), and KC8 (modulates re-                 changes to DNA and/or chromosome number/structure that are herita-
ceptor-mediated effects). In 2015, the IARC Working Group reported                  ble. Genotoxicity encompasses mutagenicity but also includes re-
finding strong evidence for KC2 and KC5; however, since that time,                  versible DNA damage that may or may not be passed on to progeny. Us-
many studies have been published which not only provide additional                  ing the TGs as a benchmark, we classified all KC2 results as Category A
data for the aforementioned KC2 and KC5, but also supply strong evi-                (highest quality), Category B (good quality), and Category C (poor qual-
dence for KC4, KC6 and KC8. There is also now limited evidence for                  ity). Tests that were not recommended included deleted TGs that OECD
KC1 and KC3. The evidence for KC7, KC9 and KC10 is considered to be                 advised should “not be used for new testing” for numerous reasons (i.e.
inadequate. Overall, the mechanistic evidence for glyphosate and GBF                “lack of understanding of the mechanism(s) of action of the effect de-


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tected by the test”). Importantly, studies in humans with the highest               ruption (KC8) are strengthened by several new studies published since
quality endpoints were mostly positive and proportionally more so than              the completion of our literature search.
low-quality studies, building confidence that both glyphosate and its                   This includes the abovementioned paper by Lucia et al. (2022)
formulations are genotoxic, as the IARC working group concluded                     which identified DNA methylation loci associated with urinary
(IARC, 2015).                                                                       glyphosate levels in postmenopausal women. Greater dysregulated
    Moreover, our study findings suggest that exposure to GBF exert a               methylation status of DNA repair genes MSH4 and ERCC8 among indi-
higher genotoxic effect compared to glyphosate alone. When we ana-                  viduals with higher urinary GBF concentrations was observed, provid-
lyzed the data by exposure type, we observed that KC2 outcomes asso-                ing additional strong evidence for KC4 and to some extent KC3.
ciated with GBF exposure in humans and in animals had a substantially                   Findings for KC5 were strengthened by a 2023 update to the large
higher rate of positive statistically significant results compared to out-          prospective AHS study of farmers exposed to glyphosate (Chang et al.,




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comes associated with glyphosate alone (Fig. 3). This disparity indi-               2023). The study reported that urinary glyphosate concentrations were
cates that GBF could have a greater propensity to induce genotoxic ef-              found to be positively associated with the DNA oxidative-damage
fects than pure glyphosate. It is noteworthy, however, that both GBF                marker 8-OHdG. These findings were corroborated in Sidthilaw et al.




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and pure glyphosate showed an increase in micronucleus formation,                   (2022), which reported that urinary levels of glyphosate were signifi-
which serves as a biomarker for chromosome damage and genotoxicity,                 cantly associated with various biomarkers of oxidative stress such as in-
with an overall positive rate of 68.3% (p < 0.05, n = 60). These find-              creased MDA and decreased GSH, increased CRP levels, and decreased
ings underscore the potential of both GBF and pure glyphosate to elicit             lung function, providing evidence for KC5 and KC6.
genotoxic effects, but highlight the heightened genotoxicity associated                 Additional evidence for KC6 was reported in Buchenauer et al.
with GBF. Moreover, the observed genotoxic effects (KC2) among hu-                  (2022), which reported transgenerational effects of oral glyphosate ex-
man studies were stronger than their animal counterparts.                           posure, including airway inflammation and altered microbiota, further




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                                                                                    supporting the potential impact of glyphosate on the gut-immune axis.
5.2. Exposure to GBF causes endocrine disruption                                    For example, a recent study assessed the effects of glyphosate on human
                                                                                    microbiota and found that 55% of bacterial strains isolated from the hu-
    There has also been considerable debate over whether or not                     man body are potentially sensitive to glyphosate, and 77.8% of the
glyphosate and its formulations disrupt the endocrine system. Here we               strains have at least one copy of the EPSPS gene. These results demon-
reported that the apparent conflicting findings and subsequent debate               strate that more than one-half of the human microbiome could be in-
were not surprising. This is because glyphosate's ability to modulate es-           trinsically sensitive to glyphosate (Puigbo et al., 2022).
trogen levels as an aromatase inhibitor and also affect ER activity in hu-
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man cells is complex and sensitive to both the concentration and formu-             5.5. Lymphomagenesis may be mediated through altered DNA repair
lation of the herbicide. Overall, our findings are in line with a recent re-
view which concluded that glyphosate possesses several key character-                   All five strong KCs provide evidence supporting the lymphomagenic
istics of endocrine disruption (Munoz et al., 2021), supporting the evi-            potential of glyphosate and its formulations. The relationship between
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dence classification as strong for KC8.                                             glyphosate and KC3 involving the induction of genomic instability and
                                                                                    altered DNA repair is likely significant, given studies in mice have
5.3. Glyphosate induces chronic inflammation and alters the gut                     shown that glyphosate induces inappropriate expression of AID, a key
microbiome                                                                          enzyme in maintaining genomic stability. While the lack of human data
                                                                                    and sparse animal studies restricts the classification of evidence for KC3
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    Perhaps our most novel and surprising finding is that the evidence is           to limited, we encourage further examination of the effects of
strong for KC6, induces chronic inflammation. Numerous studies in hu-               glyphosate and indeed other chemicals on this critical AID enzyme and
man and mammalian in vivo and in vitro systems documented increased                 its relation to lymphoid malignancies. Overall, our understanding of
inflammatory biomarkers and histopathological signs of chronic in-                  glyphosate's effects using the KCs paves the way for exploring the intri-
flammation. Similarly, other studies reported glyphosate-induced dys-               cate mechanisms underlying its potential pathway to lymphoma.
biosis, which could diminish the protective landscape of intestinal mi-
crobiota and give rise to systemic inflammation (Kruger et al., 2013;               5.6. Evidence of KCs exhibited by glyphosate informs potential adverse
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Shehata et al., 2013; Aitbali et al., 2018; Davoren and Schiestl, 2018;             outcome pathway
Kittle et al., 2018; Lozano et al., 2018; Mao et al., 2018; Motta et al.,
2018; Nielsen et al., 2018; Blot et al., 2019; Tang et al., 2020).                      As there is strong evidence for five KCs, a potential adverse outcome
    Over the past decade, accumulating evidence has demonstrated that               pathway (AOP) can be described for lymphoma development caused by
these alterations in the composition and function of the gut microbiome             glyphosate and/or GBF. An AOP describes existing knowledge on the
are closely linked to hematological cancers (Yamamoto et al., 2013;                 toxicity mechanisms at different levels of biological organization,
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D'Angelo et al., 2021), particularly of lymphoid origin (Shi and Zhang,             which lead to an adverse human health effect (Ankley et al., 2010;
2021). Interactions between the gastrointestinal mucosa and commen-                 OECD, 2017a). It is typically represented as a series of boxes with dif-
sal microorganisms of the gut establish a protective defensive barrier.             ferent levels of biological organization as shown in Fig. 5. In the case of
Chronic dysbiosis can cause humans to become more vulnerable to                     glyphosate-induced NHL it seems likely that there are several molecular
pathogenic microbes such as Helicobacter pylori, which is known to                  interactions that lead to molecular initiating events and subsequent key
cause stomach ulcers and gastric mucosa-associated lymphoid tissue                  events. As shown in Fig. 5, these molecular interactions include geno-
(MALT) lymphoma. Perturbations of the microbiome can cause local/                   toxic effects on the DNA resulting in chromosome breakage, which in
systemic inflammation resulting in oxidative stress and genotoxicity                turn leads to chromosome rearrangements in developing lymphocytes;
(Yamamoto et al., 2013), which can in turn promote lymphomagenesis.                 epigenetic changes which lead to altered gene expression; and, inhibi-
                                                                                    tion of the shikimate pathway which alters the gut microbiome.
5.4. Emerging studies strengthen evidence for several KCs                               A series of key events at higher levels of organization result in in-
                                                                                    creased oxidative stress, altered hormone levels, and systemic inflam-
   The strong evidence classifications for genotoxicity (KC2), epige-               mation. This may cause the progressive acquisition of the hallmarks of
netic alterations (KC4), oxidative stress (KC5), chronic inflammation               cancer and the development of lymphoma arising from the mutated
(KC6) and associated gut microbiome perturbations, and endocrine dis-               lymphocytes (Fig. 5). The hallmarks of cancer are the biological capa-



                                                                                                                        Exhibit A Page - 66
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bilities of cancer cells acquired during the multistep development of hu-           Data availability
man tumors (Hanahan and Weinberg, 2011).
                                                                                        This manuscript makes use of publicly available data from pub-
6. Conclusion                                                                       lished studies; therefore, no original data are available for sharing.

    The rise of glyphosate as the most widely used herbicide fosters seri-          Acknowledgements
ous concerns about its properties as a carcinogen and its ability to cause
NHL. The greatest strength of our comprehensive systematic literature                  This project was conceived and initiated from a hands-on project for
review was the exhaustive means of data collection and analysis: we as-             Practical Toxicology graduate level course (PH270C) at the UC Berkeley
sessed and compared the results of every assay reported within each                 School of Public Health. LZ was the instructor and IR, PN, AL, JL, and




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study. The totality of evidence from mechanistic studies in human and               Melina Packer were graduate students in the class. The authors are
animal studies suggest that glyphosate and its formulations possess sev-            grateful to Michael Zhao for his assistance with an early iteration of the
eral of the ten key characteristics of carcinogens (graphical abstract).            R code.




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Overall, as depicted in Fig. 5, our findings of strong evidence of
glyphosate's ability to cause genotoxicity, epigenetic alterations, oxida-          Appendix A. Supplementary data
tive stress, chronic inflammation, and endocrine disruption, as well as
its demonstrated perturbation of the gut microbiota outline several av-                Supplementary data to this article can be found online at https://
enues implicated in lymphomagenesis.                                                doi.org/10.1016/j.chemosphere.2023.139572.

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         Luoping Zhang, Ph.D., M.S. – List of Prior Tes�mony


   1.   Clark vs. Monsanto: Deposi�on (July 2021) and Trial (September 2021)

   2.   Stephens vs. Monsanto: Deposi�on (June & July 2021)

   3.   Jimenez vs. Monsanto: Deposi�on (September 2021)

   4.   Buttry vs. Monsanto: Deposi�on (April 2022)

   5.   Armstrong vs. Monsanto: Deposi�on (February 2023)

   6.   McCostlin vs. Monsanto: Deposi�on (August 2023) and Trial (September 2023)




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